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        EXHIBIT 31-B
    Redacted Version of
Document Sought to be Sealed
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1                          UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5     PRIVACY USER PROFILE LITIGATION) Case No.
6     _______________________________) 18-md-02843-VC
7     This document relates to:                    )
8     ALL ACTIONS                                  )
9     _______________________________)
10
11
12
13     *** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY ***
14
15
16      REMOTE VIDEOTAPED DEPOSITION BY VIRTUAL ZOOM OF
17                    FACEBOOK INC. REPRESENTATIVE,
18                     KONSTANTINOS PAPAMILTIADIS
19                     TUESDAY, FEBRUARY 23, 2021
20
21
22    Reported by:
23    Ashala Tylor, CSR #2436, CLR, CRR, RPR
24    JOB NO. 4473154
25    PAGES 1 - 280

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1                         UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5     PRIVACY USER PROFILE LITIGATION) Case No.
6     _______________________________) 18-md-02843-VC
7     This document relates to:                  )
8     ALL ACTIONS                                )
9     _______________________________)
10
11
12
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14
15
16          Videotaped deposition of FACEBOOK, INC.
17    REPRESENTATIVE, KONSTANTINOS PAPAMILTIADIS taken via
18    virtual Zoom, commencing at 9:10 a.m. and ending at
19    3:58 p.m., on Tuesday, February 23, 2021, before Ashala
20    Tylor, CSR No. 2436, RPR, CRR, CLR.
21
22
23
24
25

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1     APPEARANCES OF COUNSEL:
2     FOR THE PLAINTIFF:
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1     A P P E A R A N C E S (continued)
2     FOR PLAINTIFFS:
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1     A P P E A R A N C E S (continued)
2     FOR THE DEFENDANT FACEBOOK, INC.:
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13               BY:     LAURA MUMM, ESQ.
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15               New York, New York                 10166
16               212.351.4000
17               lmumm@gibsondunn.com
18
19    Also Present:
20             Ian Chen, In-House Facebook Counsel
21             Kimberly Decker, Videographer
22
23
24
25

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1                                  I N D E X
2     WITNESS                EXAMINATION BY                               PAGE
3     KONSTANTINOS PAPAMILTIADIS
4                            Ms. Weaver                              9, 171
5
6                             E X H I B I T S
7     NO.                DESCRIPTION                                      PAGE
8     Exhibit 1          Plaintiffs’ Amended Notice of                      10
9                        Deposition of Defendant Facebook,
10                       Inc. Pursuant to Federal Rule of
11                       Civil Procedure 30(b)(6)
12    Exhibit 2          Discovery Order No. 9                              10
13                       (Dkt. Nos. 515, 526, 537, 548)
14    Exhibit 3          Email from Simone LiTrenta to                      49
15                       Matt Scutari and others, 5-8-14,
16                       FB CA MDL 00213423 - 443
17    Exhibit 4          Email exchange, top one from                      240
18                       Simon Cross to Steven Elia,
19                       1-29-15, FB-CA-MDL-00227697 - 699
20    Exhibit 5          Excel spreadsheet,                                265
21                       FB-CA-MDL-01434884.csv
22    Exhibit 6          Excel spreadsheet,                                266
23                       FB-CA-MDL-01434885.csv
24                    Instruction Not to Answer
25                          Page 91, LIne 9

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1                     Tuesday, February 23, 2021

2                               9:10 a.m.

3                                --o0o--

4

5                  THE VIDEOGRAPHER:     Good morning.     We are         09:10

6     going on the record at 9:10 a.m. on February 23rd of                09:10

7     2021.     All participants are attending remotely.                  09:10

8                  Audio and video recording will continue to             09:10

9     take place unless all parties agree to go off the                   09:10

10    record.                                                             09:10

11                 This is Media Unit 1 of the recorded                   09:10

12    deposition of Facebook, Inc. representative,                        09:10

13    Konstantinos Papamiltiadis, taken by counsel for the                09:10

14    plaintiffs in the matter of Facebook, Inc. Consumer                 09:10

15    Privacy User Profile Litigation filed in the                        09:10

16    United States District Court, Northern District of                  09:10

17    California, Case Number 18-md-02843-VC.                             09:10

18                 My name is Kimberly Decker from Veritext               09:10

19    Legal Solutions and I'm the videographer.           The court       09:10

20    reporter is Ashala Tylor.        I'm not related to any             09:10

21    party in this action, nor am I financially                          09:11

22    interested in the outcome.                                          09:11

23                 Counsel and all present will now state                 09:11

24    their appearances and affiliations for the record.                  09:11

25    If there are any objections to proceeding, please                   09:11

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1     state them at the time of your appearance, beginning                09:11

2     with the noticing attorney.                                         09:11

3                MS. WEAVER:     Good morning, everybody.       I'm       09:11

4     Lesley Weaver, co-lead counsel for plaintiffs and                   09:11

5     from Bleichmar Fonti & Auld.                                        09:11

6                MS. DAVIS:     Good morning.      Anne Davis also        09:11

7     for plaintiffs, Bleichmar Fonti & Auld.                             09:11

8                MR. MONTGOMERY:     Matthew Montgomery for               09:11

9     plaintiffs, Bleichmar Fonti & Auld.                                 09:11

10               MR. MELAMED:     Matt Melamed for plaintiffs,            09:11

11    Bleichmar Fonti & Auld.                                             09:11

12               MS. LAUFENBERG:     Cari Laufenberg for                  09:11

13    plaintiffs from Keller --                                           09:11

14               THE REPORTER:     I'm sorry, one more time,              09:11

15    please.                                                             09:11

16               MS. LAUFENBERG:     Cari Laufenberg for                  09:11

17    plaintiffs from Keller Rohrback.                                    09:11

18               MR. KO:   David Ko of Keller Rohrback also               09:11

19    on behalf of the plaintiffs.       Good morning.                    09:12

20               MR. LOESER:     Good morning.       Derek Loeser         09:12

21    from Keller Rohrback for plaintiffs.                                09:12

22               MS. STEIN:     Are you ready for defendant?              09:12

23               Deborah Stein from Gibson, Dunn on behalf                09:12

24    of defendant Facebook.                                              09:12

25               MS. CLARK:     Martie Kutscher Clark from                09:12

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1     Gibson, Dunn also on behalf of Facebook.                         09:12

2                MS. MUMM:     Laura Mumm from Gibson, Dunn on         09:12

3     behalf of Facebook.                                              09:12

4                MR. CHEN:     And this is Ian Chen.       I am        09:12

5     in-house counsel for Facebook.                                   09:12

6                THE VIDEOGRAPHER:      Would the court                09:12

7     reporter please swear in the witness.                            09:12

8                                                                      09:13

9                      KONSTANTINOS PAPAMILTIADIS,                     09:13

10       being first duly sworn or affirmed to testify                 09:13

11       to the truth, the whole truth, and nothing but                09:13

12       the truth, was examined and testified as follows:             09:13

13               THE REPORTER:     Proceed, Counsel.                   09:13

14                            EXAMINATION                              09:13

15    BY MS. WEAVER:                                                   09:13

16          Q.   Good morning.     And thank you very much for         09:13

17    being here this morning and as we adjust to this new             09:13

18    process.                                                         09:13

19               May I address you as K.P. throughout the              09:13

20    deposition or would you prefer Mr. Papamiltiadis?                09:13

21          A.   I don't need to ask counsel's permission              09:13

22    to answer that question.      I guess you can.                   09:13

23          Q.   All right.     You come prepared.                     09:13

24               I'm going to start by marking a couple of             09:13

25    exhibits, and I think that you've practiced with                 09:13

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1     your counsel about how to pull those down.            These           09:13

2     will be the deposition notice and Discovery Order                     09:13

3     Number 9.                                                             09:13

4                 So, first, we'll mark as Exhibit 1 the                    09:13

5     notice for deposition in this action.            And Ms. Davis        09:13

6     is going to be marking that right now and uploading                   09:13

7     it.                                                                   09:13

8                              (Exhibit 1 was marked for                    09:13

9                              identification and attached                  09:13

10                             hereto.)                                     09:13

11                MS. WEAVER:     And then as Exhibit 2 she                 09:13

12    will mark Discovery Order Number 9.                                   09:13

13                             (Exhibit 2 was marked for                    09:13

14                             identification and attached                  09:13

15                             hereto.)                                     09:13

16    BY MS. WEAVER:                                                        09:13

17          Q.    And I'll direct you to the portions of                    09:13

18    those exhibits I'd like you to review.            Just let us         09:13

19    know when you have those.                                             09:14

20                MS. DAVIS:     They are distributed now.                  09:14

21    BY MS. WEAVER:                                                        09:14

22          Q.    Are you seeing those, K.P., in your --                    09:14

23          A.    Not -- yes, I can see Exhibit 2 now.                      09:14

24          Q.    Okay.   Let's start with 1.                               09:14

25          A.    I don't need to refresh -- I don't need to                09:14

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1     refresh the browser, right?           It's automatic, so...        09:14

2                 MS. DAVIS:     On my end it shows that 1 and           09:14

3     2 are distributing.                                                09:14

4                 THE VIDEOGRAPHER:         And you do need to           09:14

5     refresh.                                                           09:14

6                 THE WITNESS:      Okay.                                09:15

7                 MS. WEAVER:      Yeah, I'm still just seeing           09:15

8     2.                                                                 09:15

9                 THE WITNESS:      Yeah, I can only see 2.              09:15

10                MS. WEAVER:      Do you see it now?                    09:15

11                THE WITNESS:      Let me refresh as well.              09:15

12                Okay.   Great.     Do you want me to open              09:15

13    number 1?                                                          09:15

14    BY MS. WEAVER:                                                     09:15

15          Q.    Yes, please.      Thank you.                           09:15

16                Do you recognize Exhibit 1?                            09:15

17          A.    Can I take a look?                                     09:15

18          Q.    Yes, please.                                           09:15

19                MS. WEAVER:      And, for the record,                  09:15

20    Exhibit 1 is Plaintiffs' Amended Notice of                         09:15

21    Deposition of Defendant Facebook, Inc. Pursuant to                 09:15

22    Federal Rule of Civil Procedure 30(b)(6).                          09:15

23          Q.    K.P., I'll direct your attention just to               09:16

24    page 2 of the document where it says "Matters for                  09:16

25    Testimony."                                                        09:16

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1           A.   Page 2 you said?                                      09:16

2           Q.   Yes.    Have you seen Exhibit 1 before?               09:16

3           A.   I believe I have seen parts of that.                  09:16

4           Q.   Okay.    So do you recognize it as the                09:16

5     notice for the deposition today?                                 09:16

6           A.   Yes.                                                  09:16

7           Q.   And are you here today to testify on                  09:16

8     behalf of Facebook?                                              09:16

9           A.   Yes, I am.                                            09:16

10          Q.   Okay.    And are you here to testify                  09:16

11    regarding the format, nature, and location of                    09:16

12    discoverable user data as defined by Discovery Order             09:16

13    Number 9 as set forth on Topic 1?                                09:17

14          A.   I am not really sure I understand exactly             09:17

15    what that sentence means.                                        09:17

16          Q.   Okay.    Do you understand that you are               09:17

17    testifying in response to Topic 1?                               09:17

18               MS. STEIN:     Objection to form.                     09:17

19               THE WITNESS:     Topic 1 is -- sorry,                 09:17

20    scrolling through the document.                                  09:17

21               MS. STEIN:     I'll just state for the record         09:17

22    that we lodged objections to the description of the              09:17

23    categories in this notice, but, you know, the                    09:17

24    witness is free to describe his understanding as to              09:17

25    what he's going to be testifying about today.                    09:17

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1     BY MS. WEAVER:                                                      09:17

2           Q.   So I'll restate my question, K.P.          Have          09:17

3     you reviewed Topic 1 before today?                                  09:17

4           A.   I'm sorry, I'm having a hard time locating               09:17

5     where is the Topic 1.                                               09:17

6           Q.   Okay.     It's page 2 where it says "Matters             09:17

7     for Testimony" under Roman Numeral III.                             09:17

8                MS. STEIN:     Lesley, I think it may be                 09:17

9     further down in the document.                                       09:18

10               MR. KO:     Yeah, there's a couple page 2s.              09:18

11    K.P., it's page 6 of the PDF.                                       09:18

12               THE WITNESS:     Okay.    Sorry.                         09:18

13    BY MS. WEAVER:                                                      09:18

14          Q.   My apologies.                                            09:18

15          A.   I was like -- I was like, what am I                      09:18

16    missing here?                                                       09:18

17          Q.   I apologize for that.                                    09:18

18               I see.     Yes, it's page 2 of the exhibit.              09:18

19          A.   Wait.     Now, I'm getting confused.       It's          09:18

20    page 2 -- so I have page 2 under Schedule A.           I            09:18

21    have --                                                             09:18

22          Q.   Right.     Go to Schedule A and page 2 of                09:18

23    Schedule A.                                                         09:18

24          A.   Okay.     Matters of testimony.       That's what        09:18

25    you're looking at?                                                  09:18

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1           Q.    Exactly.                                                09:18

2           A.    Okay.                                                   09:18

3           Q.    So do you see where it says "Topic 1:        The        09:18

4     format, nature, and location of 'discoverable user                  09:18

5     data' as defined by Discovery Order Number 9?"        Do            09:18

6     you see that?                                                       09:18

7           A.    Yes, I do see that.                                     09:18

8           Q.    Are you here today to testify regarding                 09:18

9     that topic?                                                         09:18

10                MS. STEIN:     Objection to form.                       09:18

11                THE WITNESS:     Like I said --                         09:18

12    BY MS. WEAVER:                                                      09:19

13          Q.    You may answer.                                         09:19

14          A.    I don't know what "format" means in that                09:19

15    context, or "location," but I'm here to tell you                    09:19

16    about how Facebook has access to user data and how                  09:19

17    this is made available to third parties if that's                   09:19

18    relevant.                                                           09:19

19          Q.    Okay.   Great.    And are you here to discuss           09:19

20    data collected from a user's on-platform activity as                09:19

21    well as off-platform activity?                                      09:19

22          A.    Yes.                                                    09:19

23          Q.    Okay.   Great.    As well as data inferred              09:19

24    from on- or off-platform activity?                                  09:19

25          A.    That's correct.                                         09:19

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1           Q.    Okay.    Great.                                         09:19

2                 What did you do to prepare for your                     09:19

3     deposition today?                                                   09:19

4           A.    Well, part of my job is to -- you know,                 09:19

5     and so my day-to-day job is to work on integrations                 09:19

6     that have access to data, including user data.           I          09:19

7     have been a Facebook employee for the last eight and                09:19

8     a half years, so this is my day-to-day job to some                  09:19

9     extent.    At the same time I had a number of sessions              09:19

10    with my counsels in preparation of this deposition                  09:19

11    to make sure that I familiarize myself with certain                 09:19

12    aspects related to this deposition.                                 09:20

13          Q.    Great.    And looking back at Exhibit 1, if             09:20

14    you turn to the next page, it says "Schedule B"                     09:20

15    after the matters?                                                  09:20

16          A.    Yes.                                                    09:20

17          Q.    Do you see where it says Plaintiffs'                    09:20

18    request for production of certain documents?           There        09:20

19    are two categories of documents.                                    09:20

20          A.    Yeah.                                                   09:20

21          Q.    Did you review any documents or consult                 09:20

22    them to prepare for your deposition today?                          09:20

23          A.    I'm not sure they all documents.         This is        09:20

24    something I can, you know, like suggest that I have                 09:20

25    knowledge of.                                                       09:20

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1                    I reviewed certain documents, yes, but I                      09:20

2     don't know if that was all of them.                                          09:20

3             Q.     Okay.    And what did you review?                             09:20

4             A.     I reviewed this document, for example.               I        09:20

5     reviewed some data policies from the past 10 or so                           09:20

6     years.       I reviewed the contents of the download                         09:20

7     information files.         I reviewed developer                              09:20

8     documentation.         Different things.                                     09:21

9             Q.     Okay.    So when you say you reviewed data                    09:21

10    policies, about how many did you review?                                     09:21

11            A.     I can't remember.     Five or six.                            09:21

12            Q.     Okay.    And you said you also reviewed                       09:21

13    developer documentation; is that right?                                      09:21

14            A.     Yes.                                                          09:21

15            Q.     And what do you mean by that?            What were            09:21

16    those documents?                                                             09:21

17            A.     And so any information with regards to our                    09:21

18    APIs is fully documented on our website,                                     09:21

19    developers.facebook.com.         And so while I spent a                      09:21

20    considerable amount of my time there, I wanted to                            09:21

21    familiarize myself with certain aspects of the API                           09:21

22    that's maybe, you know, the item of your questions                           09:21

23    here.                                                                        09:21

24            Q.     Okay.    And how many developer documents                     09:21

25    did you review?                                                              09:21

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1             A.     I mean the developer website is 5,000             09:21

2     pages.       I reviewed at least, you know, documentation        09:21

3     for the basic APIs.                                              09:21

4             Q.     And when you say "the basic APIs," which          09:21

5     APIs do you mean?                                                09:22

6             A.     The Graph API.                                    09:22

7             Q.     Which version?                                    09:22

8             A.     Well, there is only one version right now.        09:22

9             Q.     You reviewed the current version?                 09:22

10            A.     The current version, yes.                         09:22

11            Q.     Okay.   Did you understand that testimony         09:22

12    today was to be limited to the time period 2012 to               09:22

13    2017?                                                            09:22

14            A.     Yes, I do.                                        09:22

15            Q.     Okay.   So did you review the Graph API           09:22

16    documentation for that time period?                              09:22

17            A.     I don't need to.    I understand.                 09:22

18            Q.     Because --                                        09:22

19            A.     Because I understand Version 1 of the API         09:22

20    as well as I do the current version.                             09:22

21            Q.     And how many developer documents did you          09:22

22    say you reviewed?                                                09:22

23            A.     It's hard to quantify a number of pages.          09:22

24    They're web pages, right?         So I don't know how you        09:22

25    want me to -- I may have reviewed like three or four             09:22

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1     different, you know, like web pages.                                09:22

2           Q.   So you would identify those by hyperlinks;               09:22

3     is that right?                                                      09:22

4           A.   Yes.                                                     09:22

5           Q.   Great.    And then did you say that you                  09:22

6     reviewed a third category of documents as well?                     09:22

7           A.   Yes, the contents of the downloaded                      09:23

8     information file, the fields included, more                         09:23

9     specifically.                                                       09:23

10          Q.   And was that a web page as well?                         09:23

11          A.   That was produced in the form of PDF.                    09:23

12          Q.   And did you review anything else?                        09:23

13          A.   I don't think so.         That's -- that's pretty        09:23

14    much it.                                                            09:23

15               MS. WEAVER:       Okay.    So, Counsel, we               09:23

16    obviously already have requested production and                     09:23

17    identification of those documents.          If they've              09:23

18    already been produced -- we repeat the request.                     09:23

19          Q.   Do you have a current -- current CV?                     09:23

20          A.   You mean a resume?                                       09:23

21          Q.   Yes.                                                     09:23

22          A.   Yes, I do.                                               09:23

23          Q.   Okay.    Great.                                          09:23

24               MS. WEAVER:       We request that as well.               09:23

25          Q.   Okay.    You joined Facebook in 2012; that's             09:23

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1     right?                                                                      09:23

2             A.      Correct.                                                    09:23

3             Q.      And you're a current employee; is that                      09:23

4     right?                                                                      09:24

5             A.      Yes.                                                        09:24

6             Q.      So I hope you'll bear with us.           We're              09:24

7     laying the foundation, and this is our first                                09:24

8     deposition in this case, and so we need to establish                        09:24

9     a few definitions that I'm sure will seem obvious to                        09:24

10    you.                                                                        09:24

11                    What is a Facebook user?                                    09:24

12                    MS. STEIN:   I'm just going to -- I'm just                  09:24

13    going to, you know, object to form, and, you know,                          09:24

14    the witness can testify as to his -- the                                    09:24

15    understanding he'll use today.                                              09:24

16    BY MS. WEAVER:                                                              09:24

17            Q.      So that means you may answer.           Go ahead.           09:24

18                    So what is a Facebook user?                                 09:24

19            A.      So I'll give you the definition that I                      09:24

20    have.        I don't think it's anywhere documented.             But        09:24

21    when we talk about the Facebook user, we are talking                        09:24

22    about the -- the accounts that the human has created                        09:24

23    that represents their presence on the Facebook                              09:24

24    platform.                                                                   09:24

25            Q.      And what is a Facebook platform?                            09:24

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1            A.    Historically that platform has evolved                  09:25

2     from being just facebook.com to include Instagram,                   09:25

3     Messenger, Oculus, and --                                            09:25

4            Q.    And so is the platform the website upon                 09:25

5     which users engage?       Is that fair to say?                       09:25

6            A.    It's not just the website because you most              09:25

7     likely use -- I don't know if you have a Facebook                    09:25

8     account, but I assume that you may have used                         09:25

9     Facebook on your Apple device or your Android                        09:25

10    device.     So it's not just the website.          It used to        09:25

11    be just the website.                                                 09:25

12           Q.    So Facebook now offers products and                     09:25

13    services like Facebook Messenger, Facebook Watch,                    09:25

14    Facebook Portal, Facebook Business Tools and                         09:25

15    Facebook Payments, correct?         Is that correct?                 09:25

16           A.    That's --                                               09:25

17                 MS. STEIN:     Object to form.                          09:25

18                 THE WITNESS:     I think you just listed some           09:25

19    of our products, not every single product.                           09:25

20    BY MS. WEAVER:                                                       09:25

21           Q.    Okay.   For the products that I listed, do              09:25

22    they all collect data from users?                                    09:25

23           A.    I mean depends how you define "collect."                09:26

24           Q.    What does -- what does collect mean to                  09:26

25    you?                                                                 09:26

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1           A.     If we are talking about creating an                   09:26

2     account which requires the user to enter a username,               09:26

3     passwords, first name, last name, I don't think                    09:26

4     that's possible in every single one of those                       09:26

5     products.     I don't know that you can create an                  09:26

6     account on Portal, for example.                                    09:26

7           Q.     Okay.   But regardless of whether or not              09:26

8     you create an account, do all of those services                    09:26

9     collect data about Facebook users?                                 09:26

10                 MS. STEIN:     Objection to form and object           09:26

11    to the extent that some of those products may not be               09:26

12    from the relevant time period.                                     09:26

13                 THE WITNESS:     Yeah.                                09:26

14    BY MS. WEAVER:                                                     09:26

15          Q.     You may answer.                                       09:26

16          A.     I mean that's -- that's probably a good               09:26

17    point.     The products that you're talking about have             09:26

18    not been available to users before 2017, but I'll                  09:26

19    answer the question by --                                          09:26

20          Q.     Thank you.                                            09:26

21          A.      -- saying it depends.        In most cases we        09:26

22    are talking about activity data and not --                         09:27

23          Q.     What is the primary objective of the                  09:27

24    platform when it was originally created?                           09:27

25          A.     By "platform" you mean Facebook or the                09:27

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1     Facebook developer platform?                                     09:27

2           Q.    Facebook -- well, let's start with                   09:27

3     Facebook and then talk about the Facebook developer              09:27

4     platform.                                                        09:27

5                 MS. STEIN:   Objection to form and beyond            09:27

6     the scope of what this witness is authorized to                  09:27

7     testify about on behalf of the company.                          09:27

8                 But you can testify as to your                       09:27

9     understanding just for foundation.                               09:27

10    BY MS. WEAVER:                                                   09:27

11          Q.    I'll ask the question again.                         09:27

12                What was the primary purpose of the                  09:27

13    Facebook platform when it was created, the website?              09:27

14          A.    So Facebook, the -- the Facebook product,            09:27

15    which also is referred as platform, is -- or was                 09:27

16    always meant to allow people to connect with each                09:27

17    other and create a more open and connected world.                09:27

18          Q.    Thank you.                                           09:27

19          A.    Which would help the value of community              09:27

20    and we build a service to basically help people                  09:28

21    connect.                                                         09:28

22          Q.    So it was meant to allow people to connect           09:28

23    socially as well; is that fair?                                  09:28

24          A.    No, that's --                                        09:28

25                MS. STEIN:   Object to form.                         09:28

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1                THE WITNESS:     I mean I don't know of any           09:28

2     other connection.                                                09:28

3     BY MS. WEAVER:                                                   09:28

4           Q.   Okay.    And what was the purpose of the              09:28

5     Facebook developer platform, in your understanding?              09:28

6           A.   The Facebook develop --                               09:28

7                MS. STEIN:     I'm going to object here.              09:28

8     This, you know, is both outside the scope of the                 09:28

9     deposition and what this witness is authorized to                09:28

10    testify about.     And dating -- dating back --                  09:28

11               MS. WEAVER:     I understand your objection.          09:28

12    You can either instruct him not to answer or allow               09:28

13    him to answer.                                                   09:28

14               MS. STEIN:     I will allow him to answer to          09:28

15    his understanding.                                               09:28

16    BY MS. WEAVER:                                                   09:28

17          Q.   So you referenced the Facebook developer              09:28

18    platform earlier.     What's your understanding of its           09:28

19    purpose when it was created?                                     09:28

20          A.   And so our mission to -- you know, to                 09:28

21    connect the world and bring the whole world closer               09:28

22    together is not something that we could do on our                09:28

23    own resources, you know.      So we built the platform,          09:29

24    like a lot of technology companies have done, to                 09:29

25    allow third parties to build on top of our platform              09:29

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1     and bring capabilities and experiences for people to             09:29

2     connect on their surfaces in many ways.                          09:29

3           Q.   And is it fair to say that Facebook has               09:29

4     three constituents then:      Its business partners,             09:29

5     developer partners, and users?                                   09:29

6                MS. STEIN:     Objection to form.                     09:29

7                THE WITNESS:     I'm not sure I understand            09:29

8     exactly the definition of developer -- sorry,                    09:29

9     business partner.     Because, you know, like developer          09:29

10    partners are also businesses.        So I could probably         09:29

11    put them in the same bucket.                                     09:29

12    BY MS. WEAVER:                                                   09:29

13          Q.   I just didn't quite understand your answer            09:29

14    there, and my --                                                 09:29

15          A.   So I -- so I cannot really, you know, like            09:29

16    give a distinction between business partners and                 09:29

17    developer partners.      Developer partners are also             09:29

18    businesses.                                                      09:30

19          Q.   Got it.    So who do you understand to be             09:30

20    encompassed in the business partners?                            09:30

21          A.   Probably --                                           09:30

22               MS. STEIN:     Objection to form.                     09:30

23               THE WITNESS:     Sorry.                               09:30

24    BY MS. WEAVER:                                                   09:30

25          Q.   You may answer.                                       09:30

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1           A.   A business partner is probably anybody                    09:30

2     that is not a developer partner, I would imagine, in                 09:30

3     that definition.                                                     09:30

4           Q.   Can you think of categories of business                   09:30

5     partners that would be included in that?             Would it        09:30

6     include data brokers, for example?                                   09:30

7                MS. STEIN:     Objection to form.                         09:30

8                THE WITNESS:     I'm not sure what you're                 09:30

9     referring to, data brokers.       But I can -- I can give            09:30

10    you a list of different partners in case that helps                  09:30

11    answer the question.                                                 09:30

12    BY MS. WEAVER:                                                       09:30

13          Q.   Yes, that would be helpful, please.                       09:30

14          A.   So historically Facebook has engaged with                 09:30

15    maybe four or five categories of so-called partners.                 09:30

16    One category of them is device manufacturers and                     09:30

17    mobile operators.     They help us build the -- within               09:30

18    that period of time that I think you're talking                      09:31

19    about, they help us build Facebook-like experiences                  09:31

20    in order to reach a wider audience.                                  09:31

21               A second category is what we call                         09:31

22    developer partners.     Those are third-party software               09:31

23    companies that have access to our APIs and they                      09:31

24    build experience for both consumers and other                        09:31

25    businesses.                                                          09:31

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1                   A third category is anybody that is a                  09:31

2     business that is publishing on our platform, from                    09:31

3     news companies to NZOs, the UNICEFs of this world.                   09:31

4     The WHO is using our platform to make sure that                      09:31

5     people have accurate information about COVID; we                     09:31

6     would consider them to be a partner of some sort.                    09:31

7                   And a fourth category would be what, I                 09:31

8     think, other comments may call suppliers.            We -- we        09:31

9     have partners in place with companies like                           09:31

10    Salesforce because we need to maintain a record of                   09:31

11    our, you know, partners.      We work very closely with              09:32

12    Workday because that's where our employee data is                    09:32

13    stored.      My salary and everything related to me                  09:32

14    somehow is stored to like this.         We would still call          09:32

15    them or refer to them as a business partner in that                  09:32

16    sense.                                                               09:32

17                  So those broadly are the four categories               09:32

18    of partners that I can -- I'm not sure if that                       09:32

19    answers your question.                                               09:32

20            Q.    That's very helpful.    No, thank you very             09:32

21    much.                                                                09:32

22                  And so, again, this is rudimentary, but                09:32

23    what do you understand "data" to mean?                               09:32

24                  And let me back up and say every time I                09:32

25    ask you in this deposition -- I refer to "you,"                      09:32

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1     because you're testifying on behalf of Facebook, I                 09:32

2     mean Facebook.       Is that fair?                                 09:32

3            A.   (Unreportable response.)                               09:32

4            Q.   Do you have -- what is your general                    09:32

5     understanding of what data is?                                     09:32

6            A.   I'm waiting for my counsel.          She is not        09:32

7     talking so I can answer, I guess.                                  09:32

8            Q.   Yes, exactly.                                          09:32

9            A.   There is a little bit of lag -- there is a             09:32

10    little bit of lag.       Sorry.   I just want to make sure         09:32

11    I don't talk over about you -- everybody.                          09:33

12                Data is information.                                   09:33

13           Q.   Okay.     And content and code and materials           09:33

14    as well are all information.         Is that all data, in          09:33

15    your understanding?                                                09:33

16           A.   Code is not really information.                        09:33

17    Information in the code, if you are an engineer,                   09:33

18    yes.    But not in a -- for everybody else.                        09:33

19           Q.   Great.     Does Facebook collect information           09:33

20    about how users use Facebook's products?                           09:33

21           A.   It's kind of broad statement, but we do                09:33

22    have an understanding of when people use our                       09:33

23    services, yes.                                                     09:33

24           Q.   Okay.     So Facebook collects -- and so               09:33

25    going forward, when we say "information," we may                   09:33

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1     also mean data and we can ask for clarification.                 09:33

2     But, in general, that's the same concept for                     09:33

3     purposes of this deposition; is that fair?                       09:33

4            A.    Yeah.   I just want to make sure that, you          09:34

5     know, like we don't use those terms very loosely,                09:34

6     because sometime the information that we are talking             09:34

7     about is activity information and not necessarily                09:34

8     user data.                                                       09:34

9            Q.    I understand.     So we'll just clarify so          09:34

10    that we have our meanings correctly.                             09:34

11                 So does Facebook collect information about          09:34

12    when users are using and have last used products,                09:34

13    for example?                                                     09:34

14           A.    Any product, no.     The Facebook products,         09:34

15    yes.                                                             09:34

16           Q.    Okay.   And Facebook collects information           09:34

17    about posts and videos and contents that they                    09:34

18    review; is that right?                                           09:34

19                 MS. STEIN:    I'm just going -- sorry.     I        09:34

20    just want to -- so --                                            09:34

21                 MS. WEAVER:     Please don't coach the              09:34

22    witness.     Just state an objection.                            09:34

23                 MS. STEIN:    No, Lesley, this is to you            09:34

24    actually.     Just so you're framing your questions in           09:34

25    the present, but the time period is 2012 to 2017.                09:34

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1     Do you want to have some sort of agreement so that                    09:34

2     that's --                                                             09:34

3                  MS. WEAVER:    Sure.                                     09:34

4                  MS. STEIN:    You know what I'm saying?       I          09:34

5     just want to have something on the record.            I have a        09:35

6     feeling --                                                            09:35

7                  MS. WEAVER:    That is fair.                             09:35

8                  MS. STEIN:    -- it might go in and out.                 09:35

9     But I don't coach witnesses, so -- you know, for the                  09:35

10    record.                                                               09:35

11                 MS. WEAVER:    Great.                                    09:35

12          Q.     So for purposes of this deposition, K.P.,                09:35

13    we're going to be referring to the time period 2012                   09:35

14    to 2017.     You can assume that.      If you need to                 09:35

15    clarify a question, let's just clarify it.            Is              09:35

16    that -- is that fair?       Okay.                                     09:35

17          A.     That's fine by me.                                       09:35

18                 But can you repeat the question?                         09:35

19          Q.     Yeah, no problem.                                        09:35

20          A.     Thanks.                                                  09:35

21          Q.     So does Facebook also log when users are                 09:35

22    using and have last used Facebook's products?                         09:35

23          A.     Yes, we would know when you open them up                 09:35

24    and when you close it.                                                09:35

25          Q.     And also what posts, videos, and other                   09:35

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1     contents users view?                                              09:35

2           A.   Yes, we would.                                         09:35

3           Q.   Okay.   And do you collect information                 09:35

4     about how users' use features like the camera,                    09:36

5     Facebook camera?                                                  09:36

6           A.   I don't know.    I don't think so.       Unless        09:36

7     it's within the app itself.                                       09:36

8           Q.   Okay.   Does Facebook analyze content                  09:36

9     information about users?                                          09:36

10          A.   I'm not sure I understand the question.                09:36

11    What do you mean "content"?                                       09:36

12          Q.   Well, I'm just trying to introduce a                   09:36

13    couple of topics here, and I'm actually working off               09:36

14    the congressional testimony that Facebook submitted               09:36

15    in 2018.                                                          09:36

16               So it says "We also receive and analyze                09:36

17    content, communications and information that other                09:36

18    people provide when they use our products."                       09:36

19               So I'm just asking you, is it true that                09:36

20    Facebook receives and analyzes content,                           09:36

21    communications and information that other people                  09:36

22    provide?                                                          09:36

23          A.   By "other people," I guess we mean users?              09:36

24          Q.   Yes.                                                   09:36

25          A.   Okay.   I think there's definitely some                09:36

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1     truth to that statement.        I mean just to give you an        09:37

2     idea, if you come to Facebook and you post something              09:37

3     that is against our policies, if -- if it's an                    09:37

4     explicit, you know, something that promotes violence              09:37

5     or something like that, we have a responsibility to               09:37

6     take it down.        So in that sense we do analyze that          09:37

7     content for the purposes of keeping our community                 09:37

8     safe.                                                             09:37

9             Q.   Okay.     Is it true that Facebook collects          09:37

10    information about the computers, phones, connected                09:37

11    TVs and other web-connected devices that users use?               09:37

12            A.   Throughout the -- the activity we would              09:37

13    collect the IP address.        If it's connected -- or if         09:37

14    the user is connected through a mobile phone, we                  09:37

15    probably collect information about the carrier.        If         09:37

16    they are on a desktop, we collect information about               09:37

17    their Internet service provider, yes, the browser                 09:37

18    version, things like this.                                        09:37

19            Q.   Okay.     And does Facebook use the                  09:37

20    information collected about users' use of their                   09:37

21    products to better personalize the content,                       09:38

22    including ads or features they see?                               09:38

23            A.   Yes.                                                 09:38

24            Q.   Okay.     And -- and so also do -- does              09:38

25    Facebook track that information across devices that               09:38

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1     users use?                                                       09:38

2                  MS. STEIN:     Object to the form.                  09:38

3                  THE WITNESS:     I'm not sure I understand          09:38

4     what "tracking" means in that sense.                             09:38

5     BY MS. WEAVER:                                                   09:38

6           Q.     So I'm just again reading to you.                   09:38

7                  "We use information collected about users'          09:38

8     use of our products on their phone to better                     09:38

9     personalize the content they see when they use our               09:38

10    products on another device such as their laptop or               09:38

11    tablet, or to measure whether they took an action in             09:38

12    response to an ad we showed them on their phone on a             09:38

13    different device."                                               09:38

14                 Is that a true statement?                           09:38

15          A.     Yes, that's a true statement.                       09:38

16          Q.     Okay.   Does that include battery level?            09:38

17          A.     I don't think so.                                   09:38

18          Q.     Is it a true statement that Facebook                09:38

19    obtains information from these devices which                     09:38

20    includes information about the operating system,                 09:38

21    hardware and software versions, battery level,                   09:39

22    signal strength, available storage space, browser                09:39

23    type, app and file names and types, and plug-ins?                09:39

24    Is that a true statement?                                        09:39

25          A.     There are certain things there that I               09:39

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1     don't think we have any access to.            But there are          09:39

2     certain others like the browser version like I                       09:39

3     mentioned before that we do.                                         09:39

4             Q.   Again, this is from Congress's                          09:39

5     congressional written testimony.                                     09:39

6                  Does Facebook collect information about                 09:39

7     operations and behaviors performed on devices such                   09:39

8     as whether a window is foregrounded or backgrounded                  09:39

9     or mouse movements?                                                  09:39

10                 MS. STEIN:     Objection to form.                       09:39

11                 THE WITNESS:     I don't know.                          09:39

12    BY MS. WEAVER:                                                       09:39

13            Q.   Does Facebook collect that information?                 09:39

14            A.   I don't know.                                           09:39

15            Q.   You don't know?                                         09:39

16            A.   I don't know.                                           09:39

17            Q.   Okay.   Does Facebook collect identifiers               09:39

18    about users?                                                         09:39

19            A.   Can you explain what you mean by                        09:39

20    "identifiers"?                                                       09:39

21            Q.   Yeah.   What is an identifier?            Do you        09:39

22    know?                                                                09:40

23            A.   Well, I mean the users are locked in when               09:40

24    they are on Facebook, so we already have an                          09:40

25    understanding of who the users are.            Is that an            09:40

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1     identifier?                                                      09:40

2           Q.   Okay.   Is there something called a                   09:40

3     Facebook identifier?                                             09:40

4           A.   There's a Facebook identity.                          09:40

5           Q.   Do you know what a Facebook identifier is,            09:40

6     a user identifier?                                               09:40

7           A.   No.                                                   09:40

8           Q.   Okay.   So is this statement true:                    09:40

9     Facebook collects information about unique                       09:40

10    identifiers, device IDs and other identifiers, such              09:40

11    as from games, apps or accounts users use and family             09:40

12    device identifiers?    Does Facebook collect that                09:40

13    information?                                                     09:40

14          A.   I mean we have an understanding of people             09:40

15    that log in on third-party apps using the Facebook               09:40

16    identity, and we have an ID for that, yes.                       09:40

17          Q.   And, for example, Apple has its own                   09:40

18    identifier; isn't that true?                                     09:40

19          A.   Yes, we have an Apple ID, I guess.                    09:40

20          Q.   And there's an Android ID as well; is that            09:41

21    right?                                                           09:41

22          A.   Yes.                                                  09:41

23          Q.   And a Google ID?                                      09:41

24          A.   It's probably the same as Android, yes.               09:41

25          Q.   Okay.   And so does Facebook use those                09:41

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1     identifiers to collect information about people?                 09:41

2           A.    Those specific ones, no.                             09:41

3           Q.    Okay.   Do they use -- they don't use                09:41

4     those -- are you -- are you testifying today that                09:41

5     Facebook does not use the Apple identifier to                    09:41

6     collect information about people?                                09:41

7           A.    We don't.                                            09:41

8           Q.    Okay.                                                09:41

9           A.    How can we?                                          09:41

10          Q.    Okay.                                                09:41

11          A.    It's impossible.                                     09:41

12          Q.    Does Facebook collect information about              09:41

13    Bluetooth signals and information about nearby Wi-Fi             09:41

14    access points, beacons and cell towers?                          09:41

15          A.    I believe we do, yes.                                09:41

16          Q.    Does Facebook collect data from device               09:41

17    settings, information that users allow us -- let me              09:41

18    try that.    Do they collect data from device settings           09:41

19    when users turn them on, such as their GPS location,             09:41

20    camera or photos?                                                09:41

21          A.    Some of that would require consent, but I            09:42

22    think, broadly speaking, if there is consent, yes,               09:42

23    we do collect.                                                   09:42

24          Q.    For these other categories that we have              09:42

25    been discussing, does Facebook collect that data                 09:42

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1     without consent?                                                  09:42

2                  MS. STEIN:     Object to form.                       09:42

3                  THE WITNESS:     Sorry, I didn't hear the            09:42

4     objection.                                                        09:42

5     BY MS. WEAVER:                                                    09:42

6            Q.    You said that for these kinds of data you            09:42

7     sometimes had to obtain consent.           Are there -- is        09:42

8     there other kinds of data that Facebook collects                  09:42

9     without consent?                                                  09:42

10           A.    No, no, no.                                          09:42

11           Q.    All right.                                           09:42

12           A.    I should probably say that's from                    09:42

13    everything.     But it seems that there was an omission           09:42

14    from my part.        There's no way we can collect any of         09:42

15    that data without users' consent.                                 09:42

16           Q.    Okay.     Does Facebook collect information          09:42

17    about users' connection speed and other devices that              09:42

18    are nearby?                                                       09:42

19           A.    I don't know about the other devices, but            09:42

20    the connection speed is something that we would log,              09:42

21    yes.                                                              09:42

22           Q.    Okay.     Well, is it a true statement that          09:42

23    "Facebook collects information about other devices                09:42

24    that are nearby or on their network so we can do                  09:42

25    things like help users stream a video from their                  09:43

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1     phone to their TV"?       Is that a true statement?                09:43

2             A.   Yes, that's a true statement.                         09:43

3             Q.   Okay.   Does Facebook also collect cookie             09:43

4     data?                                                              09:43

5             A.   We have access to certain cookies, yes.               09:43

6             Q.   Okay.   So it's a true statement that                 09:43

7     Facebook collects data from cookies stored on a                    09:43

8     users' device, including cookie IDs and settings; is               09:43

9     that right?                                                        09:43

10            A.   Yes.                                                  09:43

11                 MS. STEIN:     Object to form.                        09:43

12    BY MS. WEAVER:                                                     09:43

13            Q.   Do you know what a Facebook pixel is?                 09:43

14            A.   Yes, I do.                                            09:43

15            Q.   What is a Facebook pixel?                             09:43

16            A.   How -- okay.     Let me try to make it plain          09:43

17    and simple.                                                        09:43

18                 On a third-party website there is one                 09:44

19    pixel which goes back to the old days of how, you                  09:44

20    know, like the computer screens used to work.          This        09:44

21    Facebook owns, and whenever someone visits that                    09:44

22    website, that pixel will fire an event that will                   09:44

23    effectively confirm to Facebook that a user has                    09:44

24    visited that website.                                              09:44

25            Q.   So do pixels uniquely identify users of               09:44

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1     the platform on and off the platform?                                 09:44

2             A.      No.                                                   09:44

3             Q.      What do they identify?                                09:44

4             A.      The pixels identify someone visiting the              09:44

5     website.        It doesn't identify the user.                         09:44

6             Q.      So is it accurate to say that where a                 09:44

7     website has embedded a Facebook pixel, Facebook                       09:44

8     collects data about user actions on that website,                     09:44

9     even if the user is not signed in to Facebook,                        09:44

10    right?                                                                09:44

11            A.      And so let's say you go to CNN.com -- I               09:44

12    don't know if that's your media provider of choice,                   09:44

13    but for the sake of the argument -- and there is a                    09:44

14    Facebook pixel embedded.           That will fire an event            09:45

15    that will basically say user X has visited CNN.com.                   09:45

16    And that information will come to Facebook, and                       09:45

17    Facebook will actually identify whether it was K.P.                   09:45

18    or Lesley.                                                            09:45

19            Q.      And does data collected from pixels                   09:45

20    include items placed in shopping carts or purchases                   09:45

21    or which pages are viewed?                                            09:45

22                    MS. STEIN:     Objection to form.                     09:45

23                    THE WITNESS:     Can we break it down?    It's        09:45

24    huge.        Maybe.   Depends on whether the third party              09:45

25    has implemented the pixel on different pages.                         09:45

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1                  Things added to the cart.         Not the things        09:45

2     that have been added to the cart but potentially the                 09:45

3     action taken.        It's not relevant for -- for the                09:45

4     third party to share that information but share the                  09:45

5     action.                                                              09:45

6                  What was the third one?                                 09:45

7     BY MS. WEAVER:                                                       09:45

8           Q.     I believe it was which pages are viewed.                09:45

9           A.     Yes.     So, like I said, if there is a pixel           09:46

10    embedded on different pages, we would have an                        09:46

11    understanding that it wasn't just the home page but                  09:46

12    it was, say, the landing page, or it was a product                   09:46

13    page, better say, or the cart page, or something                     09:46

14    like that.                                                           09:46

15          Q.     Okay.     What is the like button?                      09:46

16          A.     It's a plug-in.                                         09:46

17          Q.     And what does that mean?                                09:46

18          A.     It's something that allows the user to                  09:46

19    take action that will be shared on Facebook on a                     09:46

20    third-party website.                                                 09:46

21          Q.     And so in a sense is a like providing                   09:46

22    information about whether a user approves or likes                   09:46

23    an object that it is engaging with?                                  09:46

24          A.     Yeah, if you like -- if you click on the                09:46

25    like button when you are -- again, on a third-party                  09:46

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1     website, and that suggests that you're probably                   09:46

2     liking that story that you just read.                             09:47

3           Q.     Okay.   So there's some content provided by          09:47

4     the like button; is that right?                                   09:47

5           A.     Well, the content is provided by the third           09:47

6     party.     The like button captures your affinity with            09:47

7     that company.                                                     09:47

8           Q.     Understood.                                          09:47

9                  You mentioned APIs earlier.         Could you        09:47

10    just for the record define an API and explain how it              09:47

11    works.                                                            09:47

12          A.     An API is basically an industry-wide                 09:47

13    standard that allows two applications to communicate              09:47

14    with each other.      And what I mean by applications,            09:47

15    I'm talking about pieces of software.                             09:47

16          Q.     Okay.   And what is an SDK?                          09:47

17          A.     An SDK is a way to, you know, access the             09:47

18    APIs without necessarily writing code that would                  09:47

19    make it a little bit harder.                                      09:47

20                 So, in other words, I guess, what I'm                09:47

21    trying to say is that the -- the SDK is a piece of                09:47

22    software that would allow a third-party developer to              09:48

23    access the Facebook APIs through the SDK, whereas in              09:48

24    the old days if you want to really access the API                 09:48

25    you have to double the amount of code or maybe even               09:48

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1     more to access the same AP.                                            09:48

2             Q.   Got it.     And what are Facebook business                09:48

3     tools?                                                                 09:48

4             A.   It's a very broad definition, but it                      09:48

5     refers to the different tools that businesses use to                   09:48

6     monitor their presence manage on the Facebook                          09:48

7     platform.                                                              09:48

8             Q.   Okay.     So is it a true statement that                  09:48

9     advertisers, app developers, and publishers can send                   09:48

10    Facebook information through Facebook business tools                   09:48

11    they use, including social plug-ins, like the like                     09:48

12    button, Facebook log-in, Facebook's APIs and SDKs or                   09:48

13    the Facebook pixel?        Is that a true statement?                   09:48

14            A.   That -- that's correct.                                   09:48

15            Q.   And you referred to partners earlier.           Do        09:49

16    you recall that discussion?                                            09:49

17            A.   Yes.                                                      09:49

18            Q.   Okay.     So going forward in the deposition              09:49

19    we'll use your definition of partners.             Is that             09:49

20    fair?                                                                  09:49

21            A.   That's okay by me.                                        09:49

22            Q.   So do partners provide information about                  09:49

23    users' activities off Facebook, including                              09:49

24    information about their device, websites they visit,                   09:49

25    purchases they make, the ads they see and how they                     09:49

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1     use their services whether or not they have a                           09:49

2     Facebook account or are logged in to Facebook?                Is        09:49

3     that a true statement?                                                  09:49

4                  MS. STEIN:     Objection to form.                          09:49

5                  THE WITNESS:     This is a very broad                      09:49

6     statement.     So if you want me to answer I think we                   09:49

7     need to break it down a little bit.                                     09:49

8     BY MS. WEAVER:                                                          09:49

9           Q.     Great, go ahead.      So is it true that                   09:49

10    partners provide information about users' activities                    09:49

11    off Facebook?                                                           09:49

12          A.     Again --                                                   09:49

13                 MS. STEIN:     Objection to form.                          09:49

14                 THE WITNESS:     Okay.    Based on my                      09:49

15    definition of what a partner is, we're only talking                     09:50

16    about a subset for those partners that use any of                       09:50

17    the products that you just listed before.              They             09:50

18    either use the pixel or the SDK or the -- to the API                    09:50

19    or they advertise on Facebook.                                          09:50

20                 Okay.   So for those four scenarios,                       09:50

21    anybody, any business out there that uses any of                        09:50

22    those products, they do send some information back                      09:50

23    to Facebook.                                                            09:50

24    BY MS. WEAVER:                                                          09:50

25          Q.     Okay.   And that can include information                   09:50

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1     about users' devices; is that right?                              09:50

2           A.     I'm not sure about the pixel or the API              09:50

3     or -- the SDK, most likely, yes, in certain                       09:50

4     scenarios.                                                        09:50

5           Q.     Okay.   Do partners -- those partners in             09:50

6     general provide information about websites users'                 09:50

7     visits and purchases they make?                                   09:50

8                  MS. STEIN:     Objection to form.                    09:50

9                  THE WITNESS:     Okay.    So that would mean         09:50

10    that they use the pixel and they would have to fire               09:50

11    an event when the user visits their website, and                  09:51

12    that means that they will do that after the user has              09:51

13    probably seen an ad and they will probably -- and                 09:51

14    it's up to them about how they're going to implement              09:51

15    it if the user decides to buy something.                          09:51

16                 But that's not necessarily how the whole             09:51

17    thing works.     This is just one specific                        09:51

18    implementation.                                                   09:51

19    BY MS. WEAVER:                                                    09:51

20          Q.     Yeah, I'm just asking at a very high                 09:51

21    level.     It's a pretty simple question.                         09:51

22          A.     Okay.   At a very high level, if you want            09:51

23    to, you know, like talk about how the systems work,               09:51

24    if you are an advertiser on Facebook, you want to                 09:51

25    make sure that your dollars are well spent.            And        09:51

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1     what you would do is implement the pixels because                   09:51

2     you want to track the performance of your ad                        09:51

3     campaigns.     And how do you track the performance of              09:51

4     your ad campaigns?        It's a function of what business          09:51

5     you're running.                                                     09:51

6                  If you're in the service provider, you                 09:51

7     would probably fire a pixel when somebody makes an                  09:51

8     appointment, or, you know, books a test drive.          If          09:51

9     you are a product company or a commerce side and you                09:51

10    are selling products, you'll fire a pixel when                      09:52

11    someone completes a purchase.          And like that you can        09:52

12    track the investment that you made on your ad                       09:52

13    campaign.                                                           09:52

14          Q.     Let's talk, for example, about a game                  09:52

15    developer.     If a game developer has a Facebook user              09:52

16    on it, do they use Facebook's API to tell Facebook                  09:52

17    what games a user plays, for example?                               09:52

18                 MS. STEIN:     Objection to form.                      09:52

19                 THE WITNESS:     Okay.    This is again a very         09:52

20    broad scenario.     But let me spell it out, right?                 09:52

21                 So let's say I want to play Word With                  09:52

22    Friends.     I have options.     I can log in with                  09:52

23    Facebook or I can create an account directly.                       09:52

24                 If I log in with Facebook, then, you know,             09:52

25    the developer will request my consent to access                     09:52

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1     certain pieces of my identity that will come from                09:52

2     Facebook, like my first name, like my last name,                 09:52

3     like my profile picture.      To the extent that I               09:52

4     provide consent to that developer, the developer                 09:53

5     will have access to that information.                            09:53

6                From then on every time I log in to play              09:53

7     Words with Friends, Facebook will have to reconfirm              09:53

8     the identity of that user and make sure that the                 09:53

9     user remains logged in with Words with Friends.                  09:53

10    BY MS. WEAVER:                                                   09:53

11          Q.   Okay.    So, again, this is from the                  09:53

12    congressional testimony, and I just want to                      09:53

13    understand it.     It says "Facebook also receives               09:53

14    information about users' online and offline actions              09:53

15    and purchaser -- purchases from third-party data                 09:53

16    providers who have the rights to provide us with                 09:53

17    users' information."                                             09:53

18               Do you agree with that sentence?                      09:53

19               MS. STEIN:    Object to form.                         09:53

20    BY MS. WEAVER:                                                   09:53

21          Q.   Is that correct?                                      09:53

22          A.   Well, if it's on the congressional and                09:53

23    it's validated by Facebook, I would say, yes, I                  09:53

24    agree.                                                           09:53

25          Q.   Okay.    So do the third-party data                   09:53

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1     providers provide Facebook information about the                 09:53

2     activities on the third-parties' apps or sites at a              09:53

3     high level?                                                      09:54

4           A.   I think -- at a high level, it would be               09:54

5     the same business that would provide information,                09:54

6     not anything Facebook.                                           09:54

7           Q.   Got it.                                               09:54

8                MS. WEAVER:     Okay.   I'll mark now as              09:54

9     Exhibit 2 -- or I say I will, but I am asking my                 09:54

10    colleague, Anne Davis, to do that.          This is a            09:54

11    document bearing Bates numbers FB-CA-MDL-00213423                09:54

12    through 443.                                                     09:54

13          Q.   And while we're waiting, have you been                09:54

14    deposed before?                                                  09:54

15          A.   Yes.                                                  09:54

16          Q.   Okay.     So I'm asking partly just if you            09:54

17    know what a Bates number is.                                     09:54

18               There are documents -- and there actually             09:54

19    was a man named Bates in 1899 who created a stamp                09:54

20    that he put on these documents in the lower                      09:54

21    right-hand corner.      So it's just a way of                    09:54

22    consecutively numbering hard copy documents that                 09:54

23    would probably be obsolete in your world, but that               09:55

24    is what I just read into the record.                             09:55

25          A.   Okay.                                                 09:55

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1           Q.   Have you testified on behalf of Facebook                09:55

2     before?                                                            09:55

3           A.   No.                                                     09:55

4           Q.   Okay.   How many times have you been                    09:55

5     deposed?                                                           09:55

6           A.   This my fourth one.                                     09:55

7           Q.   And were you deposed on topics similar to               09:55

8     the topics we're discussing today?                                 09:55

9                MS. STEIN:     Objection to form.                       09:55

10               THE WITNESS:     I've been deposed and                  09:55

11    discussing about various topics.         I don't know where        09:55

12    this is going to head to --                                        09:55

13    BY MS. WEAVER:                                                     09:55

14          Q.   Okay.                                                   09:55

15          A.   -- so I can answer that question at the                 09:55

16    end of the day.                                                    09:55

17          Q.   Fair enough.     Were those depositions in              09:55

18    relation to your employment at Facebook?                           09:55

19          A.   Yes.                                                    09:55

20          Q.   Okay.   And did they occur in the last four             09:55

21    years?                                                             09:55

22          A.   I can't remember the first one, but I                   09:55

23    assume it would be in the last four years, but they                09:55

24    are the last two years.                                            09:55

25          Q.   Okay.   Do you know if any of those                     09:55

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1     depositions were conducted by regulators?                           09:55

2            A.   Yes.                                                    09:55

3            Q.   Which regulators?                                       09:56

4




                                                                          09:56

12           Q.   Okay.   And what were the other two                     09:56

13    depositions or three depositions that you have sat                  09:56

14    for?                                                                09:56

15           A.   So there are another two.       One was a               09:56

16    private litigation in Canada.       The other was a                 09:56

17    private litigation in the U.S.                                      09:56

18           Q.   Okay.   Do you recall what each of those                09:56

19    litigations were about?                                             09:56

20           A.   Let me think.   The first one, which was --             09:56

21    I don't remember exactly when it was, three or four                 09:56

22    years ago -- was around the Facebook platform and                   09:56

23    access to the APIs.     And the deposition in Canada                09:56

24    was around, I think, access to user data.           But very        09:56

25    broadly.                                                            09:57

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1




11          A.     I believe so, yes.                                  09:57

12          Q.     Okay.   And do you recall how many there            09:57

13    were, roughly?                                                   09:57

14          A.     I have no idea.     I'm sorry.                      09:57

15          Q.     That's okay.    It's not a memory test, but         09:57

16    I'm just asking in general.                                      09:57

17



                                                                       09:57

20          Q.     Okay.   Why don't we pull up -- is it               09:57

21    there?     I need to refresh my Marked Exhibit set.     I        09:57

22    have an Exhibit 3.                                               09:57

23                            (Exhibit 3 was marked for                09:57

24                            identification and attached              09:57

25                            hereto.)                                 09:57

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1     BY MS. WEAVER:                                                        09:57

2            Q.   Do you have an Exhibit 3?                                 09:57

3            A.   So we're going to 3?                                      09:57

4            Q.   We are going to 3.                                        09:58

5            A.   Okay.   I don't see it yet.                               09:58

6            Q.   I think you might need to refresh.                        09:58

7                 Do you have Exhibit 3 yet?                                09:58

8            A.   Yes.                                                      09:58

9            Q.   Okay.                                                     09:58

10                MS. WEAVER:      For the record, Exhibit 3 is             09:58

11    an email dated May 8, 2014, with some attachments.                    09:58

12           Q.   Have you seen Exhibit 3 before?                           09:58

13           A.   No, I haven't.                                            09:58

14           Q.   Okay.   Did --                                            09:58

15                MS. STEIN:     Why don't you give the witness             09:58

16    an opportunity to review the document.                                09:58

17                MS. WEAVER:      Okay.   Thanks, Deb.     You were        09:58

18    about to get in trouble.                                              09:58

19           Q.   So there's the cover email, K.P., but if                  09:58

20    you look at the attachment, and I direct your                         09:58

21    attention to the Bates number that ends with 424.                     09:58

22    Remember the -- if you look at the bottom there.                      09:58

23                THE WITNESS:      Yes, I've seen those pages,             09:58

24    yes.                                                                  09:59

25

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1     BY MS. WEAVER:                                                       09:59

2           Q.    Okay.     And when did you last see them?                09:59

3           A.    Either yesterday or Friday.                              09:59

4           Q.    When did you first see them?                             09:59

5           A.    Maybe Friday.                                            09:59

6           Q.    Okay.     You hadn't seen them before Friday?            09:59

7           A.    No.                                                      09:59

8           Q.    Is that right?     Okay.                                 09:59

9                 Do you have an understanding as to what                  09:59

10    Exhibit 3 is?                                                        09:59

11          A.    I don't know the contents of the email,                  09:59

12    but I think I can understand the page that you asked                 09:59

13    me to look at, what it meant to be.                                  09:59

14          Q.    Okay.     And what is your understanding?                09:59

15          A.    It's definition of different data that                   09:59

16    Facebook may have accessed.                                          09:59

17          Q.    Okay.     And let me back up again.       This is        09:59

18    foundational.       Do people communicate by email at                09:59

19    Facebook?                                                            09:59

20          A.    It's one of the ways to communicate, yes.                09:59

21          Q.    How else do people communicate in the                    09:59

22    course of doing business at Facebook?                                09:59

23          A.    We use a version of the product that is                  09:59

24    designed for the business world called Workplace.                    09:59

25    We use a version of our Messenger product, which is                  10:00

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1     also an example, a device called Workset.                We use            10:00

2     emails.     We use Zoom.     We use other                                  10:00

3     videoconferencing facilities.          We use our telephones               10:00

4     to call each other.        Different ways.                                 10:00

5            Q.    And people text as well; is that right?                       10:00

6            A.    We don't like text messaging.             We have our         10:00

7     own messaging apps.                                                        10:00

8            Q.    Just out of curiosity, is the Facebook                        10:00

9     Messenger that people that work at Facebook use, is                        10:00

10    that different than the Facebook Messenger that                            10:00

11    users on the platform use, or is it the same?                              10:00

12           A.    I mean I use Messenger the same way you                       10:00

13    would use it.        But internally I don't use that                       10:00

14    version of the product.        I use an Enterprise                         10:00

15    personal product --                                                        10:00

16           Q.    Okay.                                                         10:00

17           A.    -- which is called Workset.                                   10:00

18           Q.    And what's the difference functionally                        10:00

19    between those two?                                                         10:00

20                 MS. STEIN:     Objection.     This is like way                10:00

21    beyond the scope about what employees at Facebook                          10:00

22    use.                                                                       10:01

23                 MS. WEAVER:     Okay.   Fine.     It's fine.         I        10:01

24    was trying to establish a foundation, but I guess we                       10:01

25    can come back to that in another deposition.                               10:01

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1            Q.    So, K.P., back to Exhibit 3.        Do you who        10:01

2     Simone LiTrenta is?                                                10:01

3            A.    No.                                                   10:01

4            Q.    Okay.   Looking at just the cover email, do           10:01

5     you recognize the names of anybody on this email as                10:01

6     individuals who work at Facebook?                                  10:01

7            A.    I recognize Matt Scutari, Rob Sherman, and            10:01

8     Erin Egan.                                                         10:01

9            Q.    And you understand that those are                     10:01

10    employees of Facebook during the time this email was               10:01

11    written; is that right?                                            10:01

12           A.    That is 2014?   Yes, I believe so.                    10:01

13           Q.    Okay.   And do you believe Exhibit 3 to be            10:01

14    an email sent by employees at Facebook in the                      10:01

15    regular course of business?                                        10:01

16           A.    Yes, that looks like.                                 10:01

17           Q.    Okay.   Do you have an understanding as to            10:01

18    what the materials that are attached to this email                 10:02

19    are?                                                               10:02

20           A.    I think it's a set of definitions that --             10:02

21    or slides that were meant to be presented at an                    10:02

22    off-site.                                                          10:02

23           Q.    Okay.   And what is -- do you know what the           10:02

24    global policy team is?                                             10:02

25           A.    Yes.                                                  10:02

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1           Q.   What is it?                                              10:02

2           A.   It's a team that is responsible for our                  10:02

3     relationships with governments and regulators.                      10:02

4           Q.   Okay.   And just again by way of                         10:02

5     understanding how Facebook functions, you see                       10:02

6     there's a Dropbox hyperlink here in the email?                      10:02

7           A.   Yes.                                                     10:02

8           Q.   Does Facebook also use Dropbox?                          10:02

9                MS. STEIN:    Objection to form.         This            10:02

10    isn't -- not an ESI depo and he is not testifying                   10:02

11    about what Facebook uses internally.          Let's focus on        10:02

12    the subjects that he's here for.                                    10:02

13               MS. WEAVER:     I'm trying to understand if              10:02

14    this document is complete, and that's a little bit                  10:02

15    difficult to do.    So are you going to instruct him                10:03

16    not to answer?                                                      10:03

17               MS. STEIN:    Is there a reason why you                  10:03

18    think the document is not complete?                                 10:03

19               MS. WEAVER:     Okay.   Let me question.                 10:03

20          Q.   So is it true that Facebook -- people use                10:03

21    Dropbox at Facebook to share document files?                        10:03

22          A.   Can I answer?                                            10:03

23          Q.   Yes.                                                     10:03

24          A.   Sorry, I was looking at the document.                    10:03

25          Q.   No problem.                                              10:03

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1             A.      It's -- it's true that for files that are            10:03

2     concise that are too big to send by email we would                   10:03

3     use Dropbox.                                                         10:03

4             Q.      Okay.   Is there any way to know whether or          10:03

5     not a hard copy version of a document like this was                  10:03

6     everything that was contained in the hyperlink or                    10:03

7     would you have to see it in native form?                             10:03

8                     MS. STEIN:    Objection to form.                     10:03

9                     Lesley, next.                                        10:03

10    BY MS. WEAVER:                                                       10:03

11            Q.      Please answer the question.                          10:03

12            A.      I'm not sure I understand exactly what you           10:03

13    saying.        I don't even know what you have printed               10:03

14    out, so I cannot really establish whether it's a                     10:03

15    complete document or not.                                            10:03

16            Q.      Okay.   Is there -- normally -- let me ask           10:03

17    this.        Does Facebook maintain document like --                 10:04

18    documents like this in PDF form or are they native?                  10:04

19                    MS. STEIN:    Objection to form.                     10:04

20                    Lesley, move on.                                     10:04

21    BY MS. WEAVER:                                                       10:04

22            Q.      Please answer the question.                          10:04

23                    MS. STEIN:    It's not an ESI deposition.            10:04

24    Move on.                                                             10:04

25                    MS. WEAVER:     I'm trying to understand this        10:04

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1     document, which we gave to you ahead of time, and                10:04

2     whether or not it's complete.        So please allow him         10:04

3     to answer.                                                       10:04

4                  MS. STEIN:   Ask him if he knows whether            10:04

5     it's complete.      Don't ask him about things that have         10:04

6     nothing to do with what he's here to testify about               10:04

7     here today.     He's not authorized on behalf of                 10:04

8     Facebook to talk about Dropbox, email, messaging                 10:04

9     that gets used internally.                                       10:04

10    BY MS. WEAVER:                                                   10:04

11          Q.     So, K.P., can I ask you, is there any kind          10:04

12    of -- for Dropbox is there any -- well, just -- I'll             10:04

13    move on.     I'll come back to it.                               10:04

14                 So looking back at Exhibit 3, and turning           10:04

15    to the first page ending at Bates number 424 --                  10:04

16          A.     424, yes.                                           10:05

17          Q.     -- it says "Ads and Measurement" on top.            10:05

18    Do you see that?                                                 10:05

19          A.     Yes.                                                10:05

20          Q.     And you said earlier that you know who Rob          10:05

21    Sherman is; is that right?                                       10:05

22          A.     Yes, I do.                                          10:05

23          Q.     And who is he?                                      10:05

24          A.     He's the VP of privacy.                             10:05

25          Q.     And he's still at Facebook; is that right?          10:05

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1           A.   Yes, he is.                                           10:05

2           Q.   Okay.   And do you have an understanding as           10:05

3     to what this page represents?                                    10:05

4           A.   I think that's a list of things that                  10:05

5     supposing Facebook receives about people.                        10:05

6           Q.   Okay.   And, in fact, it says at the top of           10:05

7     the document "What kinds of information does                     10:05

8     Facebook receive about people?"         Is that correct?         10:05

9           A.   Uh-huh, that's what it says, yes.                     10:05

10          Q.   Fair enough.                                          10:05

11               So did you talk to Mr. Sherman to prepare             10:05

12    for your deposition today?                                       10:05

13          A.   No, I haven't spoken to him.                          10:05

14          Q.   Did you speak to anybody other than your              10:06

15    counsel to prepare for your deposition today?                    10:06

16          A.   No, I haven't.                                        10:06

17          Q.   And how long did you take to prepare for              10:06

18    your deposition?                                                 10:06

19          A.   I think I already answered that question.             10:06

20    I been preparing for this deposition for as long as              10:06

21    I have been at Facebook.                                         10:06

22          Q.   Fair enough.                                          10:06

23          A.   It's a collective -- collective knowledge             10:06

24    of my last 8 and a half years of being employed at               10:06

25    this company.                                                    10:06

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1           Q.    Okay.   And specifically to prepare for              10:06

2     this deposition in response to this notice, how much             10:06

3     time did you spend preparing?                                    10:06

4           A.    I don't know.     Between, you know, calls           10:06

5     with my counsels and homework that I have done for               10:06

6     myself, I would say 15-20 hours.                                 10:06

7           Q.    Okay.   Thank you.                                   10:06

8                 And looking back now at the page that we             10:06

9     were looking at ending in Bates number 424, do you               10:06

10    see that it describes three categories of data on                10:06

11    the left?                                                        10:06

12          A.    Yes.                                                 10:06

13          Q.    And it says "Native Data, Appended Data              10:07

14    and Behavioral Data."       Do you see that?                     10:07

15          A.    Yes.                                                 10:07

16          Q.    Do you have an understanding as to what              10:07

17    native data is?                                                  10:07

18          A.    I can see that the definition of that is             10:07

19    data collected through our website apps and branded              10:07

20    products.                                                        10:07

21          Q.    Okay.   And is that consistent with your             10:07

22    understanding?                                                   10:07

23          A.    Yes, it makes sense.                                 10:07

24          Q.    Okay.   And then what is appended data?              10:07

25                MS. STEIN:   Object to form.                         10:07

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1                THE WITNESS:     Data that is -- what?                     10:07

2                MS. STEIN:     Objection to form.                          10:07

3     BY MS. WEAVER:                                                        10:07

4           Q.   I'll repeat the question.         What is                  10:07

5     appended data?                                                        10:07

6                MS. STEIN:     Same objection.                             10:07

7                THE WITNESS:     It's -- sorry.        I have to           10:07

8     look at the document while you're talking.             I don't        10:07

9     mean to talk over you.                                                10:07

10               It's okay I answer the question now?                       10:07

11    BY MS. WEAVER:                                                        10:07

12          Q.   Yes.                                                       10:07

13          A.   Okay.   It's data provided by third                        10:07

14    parties.                                                              10:07

15          Q.   I'm sorry, data provided by -- I just                      10:07

16    didn't hear you.                                                      10:07

17          A.   Third parties.                                             10:08

18          Q.   Okay.   So for the record, appended data is                10:08

19    data provided by third parties; is that correct?                      10:08

20          A.   Yes, as it is defined here, yes.                           10:08

21          Q.   Okay.   And what is behavioral data?                       10:08

22               MS. STEIN:     Objection to form.                          10:08

23               THE WITNESS:     Sorry, I need to switch back              10:08

24    to see -- you don't want to talk.         Okay.                       10:08

25               So it's data collected for activity on                     10:08

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1     third parties using the Facebook product.                               10:08

2     BY MS. WEAVER:                                                          10:08

3             Q.      Okay.   And as you sit here today, are                  10:08

4     there any other kinds of information Facebook                           10:08

5     receives about people other than these three                            10:08

6     categories?                                                             10:08

7             A.      I don't think so.                                       10:08

8             Q.      Okay.   Let's return to our discussion of               10:08

9     native data.        Do you have an understanding as to why              10:08

10    the word "native" is being used?              What does that            10:08

11    mean?        Is it the same as raw data?                                10:09

12                    MS. STEIN:     Objection to form.                       10:09

13                    THE WITNESS:     Every piece of data has a              10:09

14    degree of rawness associated with it.                Depends how        10:09

15    you define raw.                                                         10:09

16    BY MS. WEAVER:                                                          10:09

17            Q.      Okay.   I just didn't quite hear.         Every         10:09

18    piece of data has a particular --                                       10:09

19            A.      (Indecipherable).      I'm joking.                      10:09

20                    They -- if you are talking about raw data,              10:09

21    what do you mean?                                                       10:09

22            Q.      Okay.   Well, I'm trying to learn from you,             10:09

23    so let me ask you.                                                      10:09

24            A.      The IP address -- the IP address is raw                 10:09

25    data.                                                                   10:09

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1           Q.   Uh-huh, okay.    Good.                                10:09

2           A.   But it comes through activity that happens            10:09

3     on a native Facebook app.     The "native" means, in my          10:09

4     mind, the way I see the definition there, as                     10:09

5     activity that's happening on Facebook platform.                  10:09

6           Q.   Okay.   So for the record, native data is             10:09

7     data relating to activity on the Facebook platform;              10:09

8     is that right?                                                   10:09

9           A.   Correct.                                              10:09

10          Q.   Okay.   And so when we --




                                                                       10:10

14          A.                                                         10:10

15          Q.                                                         10:10

16          A.




                                                                       10:10

22          Q.   Okay.   Can you think of any other branded            10:10

23    apps in the United States that were used during 2012             10:10

24    to 2017?                                                         10:10

25          A.   Facebook branded apps?       Messenger,               10:10

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1     Instagram.                                                          10:10

2             Q.   Great.     Thank you.                                  10:10

3                  And then on the right it seems -- this                 10:10

4     chart seems to further break down categories of                     10:10

5     native data.        Do you see that?                                10:10

6             A.   Yes.                                                   10:10

7             Q.   Okay.     And there's a column or really a             10:10

8     box that says "Explicitly collect."            Do you see           10:10

9     that?                                                               10:11

10            A.   Yes.                                                   10:11

11            Q.   And then it lists profile info, email                  10:11

12    address, phone number, et cetera.           And then below          10:11

13    that it says "Implicitly collect."            And it lists a        10:11

14    number of data.        And then under that it says "Infer           10:11

15    from engagement on the site."          Do you see all of            10:11

16    those boxes?                                                        10:11

17            A.   Yes.                                                   10:11

18            Q.   Okay.     Do you have an understanding as to           10:11

19    what "Explicitly collect" means?                                    10:11

20            A.   Explicitly collect -- I'm sorry, I'm                   10:11

21    looking back.        Explicitly collect is something the            10:11

22    user has submitted on their own.                                    10:11

23            Q.   Okay.     And so that means that a user has            10:11

24    taken an action to share the data; is that fair?                    10:11

25            A.   Correct.                                               10:11

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1           Q.   Okay.    And so what does "Implicitly                       10:11

2     collect" mean?                                                         10:11

3                MS. STEIN:     Object to form.                              10:11

4                THE WITNESS:     So that would mean                         10:11

5     activities related to data.                                            10:11

6     BY MS. WEAVER:                                                         10:11

7           Q.   I'm sorry, did you --                                       10:11

8           A.   So -- so -- just to draw the distinction,                   10:12

9     right, this is data that we collect during someone's                   10:12

10    use of the Facebook app.      So the IP address or the                 10:12

11    device information is not something that the user                      10:12

12    would have to type in and say, hey, this is my IP                      10:12

13    address.   It's something that we would collect when                   10:12

14    a user uses Facebook because we would know which IP                    10:12

15    address they are accessing Facebook from.                              10:12

16          Q.   Is it fair to say that the kinds of data                    10:12

17    that Facebook implicitly -- implicitly collects is                     10:12

18    data that Facebook observes?                                           10:12

19          A.   Observes?    It's confusing me.           So what do        10:12

20    you mean by that?                                                      10:12

21          Q.   Okay.    No, I'm just trying to understand                  10:12

22    and put it in English for a layperson by -- so you                     10:12

23    understand what I'm trying to do here.           So let me             10:12

24    try to ask a better question.                                          10:12

25               Is it fair to say that the data that is                     10:12

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1     implicitly collected by Facebook is not expressly                10:12

2     shared by users?                                                 10:12

3                MS. STEIN:     Objection to form.                     10:12

4                THE WITNESS:     So they may not be explicit          10:13

5     shared because they submit the data to us, but they              10:13

6     have agreed to share that data because they have                 10:13

7     agreed to the privacy policies --                                10:13

8     BY MS. WEAVER:                                                   10:13

9           Q.   Okay.                                                 10:13

10          A.   -- that make it clear that we will have               10:13

11    access to this kind of data.                                     10:13

12          Q.   Okay.   And do you see where it says                  10:13

13    "Device identifiers" here?                                       10:13

14          A.   Yes.                                                  10:13

15          Q.   And it lists a number of identifiers.      Do         10:13

16    you see that?                                                    10:13

17          A.   Yes.                                                  10:13

18          Q.   Okay.   And what is UDID?                             10:13

19          A.   I think it's another way of calling the               10:13

20    Android ID.                                                      10:13

21          Q.   And then what is IDFA?                                10:13

22          A.   It's an Apple identifier.                             10:13

23          Q.   And Google Ad ID, do you see that?                    10:13

24          A.   Yes.                                                  10:13

25          Q.   And what is that?                                     10:13

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1           A.   I think that's an ID used specifically                10:13

2     around Google ads.                                               10:13

3           Q.   Okay.   So does Facebook implicitly collect           10:13

4     device identifiers?                                              10:13

5           A.   We have access to those identifiers.                  10:14

6           Q.   Okay.   And it also collects location                 10:14

7     device, GPS, Wi-Fi, IP address, phone number,                    10:14

8     carrier and device type; is that right?                          10:14

9           A.   Yes.                                                  10:14

10               MS. STEIN:   Object.     Objection to form.           10:14

11    BY MS. WEAVER:                                                   10:14

12          Q.



                                                                       10:14

15          A.   Yes, I do.                                            10:14

16          Q.   What does that refer to?                              10:14

17




                                                                       10:14

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6           Q.   How did you know?                                     10:15

7                So how does Facebook retain that                      10:15

8     information once it draws that inference?                        10:15

9           A.   You know, there would be --                           10:15

10               MS. STEIN:     Objection.                             10:15

11               THE WITNESS:     There would be a list of             10:15

12    potential interest that would be derived by your                 10:15

13    affinity to certain entities on the platform,                    10:15

14    certain businesses on the platform.                              10:15

15    BY MS. WEAVER:                                                   10:15

16          Q.   And how does Facebook record those                    10:15

17    interests, if you will?                                          10:15

18               MS. STEIN:     Objection to form.                     10:15

19




24    BY MS. WEAVER:                                                   10:16

25

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12               MS. STEIN:     Objection.     Form.                       10:16

13               THE WITNESS:     What do you mean?                        10:16

14    BY MS. WEAVER:                                                       10:16

15          Q.   Well, I'm trying to understand.           Facebook        10:16

16    receives explicitly collected data; is that right?                   10:16

17          A.   Yes.                                                      10:16

18          Q.   And where does it receive it and where                    10:16

19    does it go?   Where does the data go?                                10:16

20          A.   It's a -- it's a very complicated                         10:16

21    question, so let me try to answer it may be with,                    10:16

22    you know, like a high-level perspective.                             10:17

23               So when you come to Facebook for the first                10:17

24    time in your life you will create an account, right?                 10:17

25    To create an account you need to provide the                         10:17

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1     username and a password.     And then it will ask you a           10:17

2     couple of questions.     What is your first name?     What        10:17

3     is your last name?     What is your date of birth, and            10:17

4     so on and so on.                                                  10:17

5                All that information lives in some, you                10:17

6     know, database somewhere, right?        The next time you         10:17

7     come to Facebook you decide to post a photo of                    10:17

8     yourself, you know, celebrating your birthday.        That        10:17

9     information lives somewhere in a distributed                      10:17

10    database, right?                                                  10:17

11               Then some people will start liking your                10:17

12    page, saying -- will most likely be your friends.                 10:17

13    That information is captured somewhere about who has              10:17

14    liked your photo.                                                 10:17

15               Then the next day you come in and you --               10:17

16    you like Beyonce's page because you just saw her two              10:17

17    months and you want to keep up with her work.        That         10:18

18    information is captured somewhere.                                10:18

19               But all that information is available                  10:18

20    to -- to you, right?     You can go into your Facebook            10:18

21    settings and you can find all that information.                   10:18

22          Q.   Okay.    When you say it is captured                   10:18

23    somewhere, where is the somewhere?                                10:18

24          A.   It depends on, you know, what is that you              10:18

25    are looking for, right?     It's not a single place.              10:18

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1           Q.    Use your example.    I go on Facebook's              10:18

2     website and I take an action.       Where is that                10:18

3     captured?    You said it's captured somewhere.      Where        10:18

4     is the somewhere?                                                10:18

5           A.

                                                                       10:18

7           Q.    Okay.                                                10:18

8           A.    That's a database.                                   10:18

9           Q.    And what if it's a like?                             10:18

10          A.    Again, it's an activity.                             10:18

11          Q.    Okay.

                                                                       10:18

13                                                                     10:18

14          Q.    Yes.                                                 10:19

15          A.    Probably nowhere.                                    10:19

16          Q.    Okay.




                                                                       10:19

21          A.    Yes.                                                 10:19

22          Q.    Okay.




                                                                       10:19

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1




                                                                       10:19

13          A.   I'm really sorry, but I'm having a hard               10:20

14    time hearing.     Is it me or is it your mic?                    10:20

15               MS. WEAVER:    I'm not having a hard time             10:20

16    hearing.                                                         10:20

17               MS. STEIN:    It's the mic.                           10:20

18               MS. WEAVER:    Oh, okay.     Can you hear me          10:20

19    now or is it --                                                  10:20

20




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1            A.   And by "entities" I mean in most cases --               10:20

2                 THE REPORTER:     I'm sorry, "I mean in most            10:20

3     cases"...                                                           10:20

4     BY MS. WEAVER:                                                      10:20

5            Q.   And --                                                  10:20

6                 THE REPORTER:     I'm sorry, "I mean in most            10:20

7     cases"...                                                           10:20

8                 THE WITNESS:     Pages, Facebook pages.                 10:20

9                 THE REPORTER:     Thank you.                            10:20

10    BY MS. WEAVER:                                                      10:20

11           Q.   Let me move on.     I'm going to return to              10:20

12    that because I think we need to drill down a little                 10:20

13    bit.    But I'll just go to "Appended Data."          Do you        10:21

14    see that category?                                                  10:21

15           A.   Yes.                                                    10:21

16           Q.   And so appended data is data that Facebook              10:21

17    receives from third parties; is that right?                         10:21

18           A.   Yes.                                                    10:21

19           Q.   Okay.    And you see it refers to data                  10:21

20    brokers there?                                                      10:21

21           A.   Yes.                                                    10:21

22           Q.   What is a data broker?                                  10:21

23           A.   It's -- sorry.                                          10:21

24                MS. STEIN:     Are you asking him to read               10:21

25    from the document or are you asking him his                         10:21

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1     understanding?                                                   10:21

2                  MS. WEAVER:    I'm asking Facebook what a           10:21

3     data broker is.                                                  10:21

4                  THE WITNESS:    According to this document          10:21

5     it's a -- a list of third parties, including, you                10:21

6     know, like public records, DMVs or auto                          10:21

7     registration, you know, authorities, supermarkets,               10:21

8     retailers and so on that provide access to certain               10:21

9     information.                                                     10:21

10    BY MS. WEAVER:                                                   10:21

11            Q.   Do you know what a data broker is?                  10:21

12            A.   My definition of data broker?                       10:21

13            Q.   Yes.                                                10:22

14            A.   Anybody that has access to a broad set of           10:22

15    data.                                                            10:22

16            Q.   Okay.    Is Facebook a data broker?                 10:22

17            A.   No.                                                 10:22

18            Q.   Okay.    Did you talk to anybody -- well,           10:22

19    strike that.                                                     10:22

20                 Do you see where it says "Partner                   10:22

21    categories" on this document?                                    10:22

22            A.   Yes.                                                10:22

23            Q.   What does that refer to?                            10:22

24            A.   I guess a list of different categories I            10:22

25    listed myself.       It's also documented here.                  10:22

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1           Q.   And so do you see to the right there it               10:22

2     says "Public records, auto registration data,                    10:22

3     supermarket loyalty cards, retail purchases, credit              10:22

4     card purchases," et cetera, on the right?                        10:22

5           A.   Yes.                                                  10:22

6           Q.   And is it your understanding that those               10:22

7     are examples of the kind -- kinds of data that                   10:22

8     Facebook collects from data brokers?                             10:22

9           A.   Yes.     I don't know if it's exhaustive or           10:23

10    not, but I would imagine that it is exhaustive.                  10:23

11          Q.   Thank you.     And then underneath that do            10:23

12    you see where it says "Advertisers"?                             10:23

13          A.   Yes.                                                  10:23

14          Q.   What is an advertiser?                                10:23

15          A.   Someone that is running marketing                     10:23

16    companies on Facebook.                                           10:23

17          Q.   Okay.     And then there's a parenthetical            10:23

18    that refers to "Custom audiences, offline conversion             10:23

19    measurement."      Do you see that?                              10:23

20          A.   Yes.                                                  10:23

21          Q.   What is custom audiences?                             10:23

22          A.   A custom audience is a reference to a                 10:23

23    products whereby a business can upload and encrypt               10:23

24    its -- a version of their database of customers for              10:23

25    the purpose of running a campaign that targets those             10:23

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1     customers.                                                         10:23

2            Q.    Okay.    I want to break that down a little           10:23

3     bit.                                                               10:23

4                  MS. WEAVER:     I'm not seeing that on my             10:23

5     live feed.                                                         10:23

6                  Could you read his response back, please.             10:24

7                               (The record was read by the              10:24

8                               court reporter, as requested)            10:24

9     BY MS. WEAVER:                                                     10:24

10           Q.    Okay.    And when you say "encrypt," what do          10:24

11    you mean?                                                          10:24

12           A.    They wouldn't upload the raw data.        They        10:24

13    would upload a version of that data.                               10:24

14                 THE REPORTER:     I'm sorry, could you repeat         10:24

15    that last part, please?                                            10:24

16                 THE WITNESS:     They wouldn't upload raw             10:24

17    customer data.       They would upload encrypted personal          10:24

18    or hashed personal data.                                           10:24

19    BY MS. WEAVER:                                                     10:24

20           Q.    Thank you.     And when you say "raw customer         10:24

21    data," what do you mean?                                           10:24

22           A.    Email addresses.                                      10:24

23           Q.    Anything else?                                        10:24

24           A.    No.                                                   10:24

25           Q.    And what does "offline conversion                     10:24

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1     measurement" mean?                                                  10:24

2           A.     So imagine that you see an ad campaign                 10:24

3     from Walmart, but you don't necessarily click on                    10:25

4     that to buy the specific thing that they advertise.                 10:25

5     But eventually you visit the Walmart and you end up                 10:25

6     purchasing something, not necessarily the same item                 10:25

7     from Walmart.                                                       10:25

8                  If Walmart wanted to track the offline                 10:25

9     conversion, the fact that you purchased something                   10:25

10    from them in their retail location, they could                      10:25

11    actually made available some encrypted data again                   10:25

12    back to us, and we would confirm to them that a                     10:25

13    certain percentage of people that have interacted                   10:25

14    with Walmart offline have actually seen the ads that                10:25

15    Walmart has run.                                                    10:25

16          Q.     So what does "conversion" mean in that                 10:25

17    sentence?     Purchase?                                             10:25

18          A.     It's defined by the advertiser.         Because        10:25

19    the -- the advertiser may optimize for store visits                 10:25

20    versus others that may optimize for purchases,                      10:26

21    right?     So --                                                    10:26

22          Q.     So conversion is taking some action as                 10:26

23    defined by the advertiser; is that correct?                         10:26

24          A.     Correct.                                               10:26

25          Q.     And that could also include engaging in --             10:26

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1     well, strike that.                                                       10:26

2                 Could conversion also include a like or                      10:26

3     agreeing to become a member of a group?                                  10:26

4            A.   "No" in that context because we are                          10:26

5     talking about offline conversion.                                        10:26

6            Q.   Got it.     Does advertisers here also                       10:26

7     include political campaigns?                                             10:26

8            A.   I'm looking at the -- sorry.          Sorry.   I             10:26

9     need to answer that, I guess.         What do you mean?        In        10:26

10    what context?                                                            10:26

11           Q.   Do political campaigns advertise?                            10:26

12           A.   Yes, they do.                                                10:26

13           Q.   Okay.     And when they are seeking                          10:26

14    conversion, are they seeking to encourage certain                        10:26

15    actions by Facebook users?                                               10:26

16                MS. STEIN:     Objection to form.                            10:27

17                THE WITNESS:     Yeah, but that wouldn't                     10:27

18    include, you know, like what people voted.            It would           10:27

19    probably include if they read, or if they donated,                       10:27

20    or if they took an action on their website,                              10:27

21    depending on what the campaign is actually optimized                     10:27

22    for.                                                                     10:27

23    BY MS. WEAVER:                                                           10:27

24           Q.   Got it.                                                      10:27

25           A.   But, no, the conversion wouldn't be that I                   10:27

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1     voted for Biden or I voted for Trump.             That's not --        10:27

2                  THE REPORTER:     I'm sorry, could you please             10:27

3     slow down.     The last part?                                          10:27

4                  THE WITNESS:     Oh, sorry.                               10:27

5                  THE REPORTER:     "The conversion"...                     10:27

6                  THE WITNESS:     The conversion that                      10:27

7     political campaigns are tracking have to do with                       10:27

8     fundraising, donations, registration, this kind of                     10:27

9     things.                                                                10:27

10    BY MS. WEAVER:                                                         10:27

11          Q.     Okay.   And so Facebook provides conversion               10:27

12    measurement information back to the advertisers                        10:27

13    which could include political campaigns; is that                       10:27

14    right?                                                                 10:27

15                 MS. STEIN:     Objection to form.                         10:27

16                 THE WITNESS:     Yes.                                     10:27

17    BY MS. WEAVER:                                                         10:27

18          Q.     And then do you see on the right of                       10:27

19    Advertisers it says "Existing customer                                 10:27

20    relationships"?      Do you see that?       It's to the right          10:27

21    of Advertisers.                                                        10:28

22          A.     Yes.                                                      10:28

23          Q.     What does "Existing customer                              10:28

24    relationships," that subcategories of advertisers,                     10:28

25    refer to?                                                              10:28

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1           A.   And so going back to our example earlier,             10:28

2     if -- if you are Walmart again, and you know that --             10:28

3     let's say there are thousands of people that                     10:28

4     attempted to purchase a TV from Walmart's website                10:28

5     and you have an understanding of the email addresses             10:28

6     of those people.    Then you can encrypt those email             10:28

7     addresses, make them available to Facebook to create             10:28

8     what we call a custom audience.                                  10:28

9                And then Facebook will, you know, like --             10:28

10    can target those specific users to the extent that               10:28

11    they are also Facebook users, of course, with an ad              10:28

12    that offers them, let's say, a discount for that                 10:28

13    specific TV.                                                     10:28

14          Q.   What do you mean by "encrypt"?                        10:28

15          A.   Again we -- we want to have access to                 10:29

16    their raw email addresses.      We will have access to           10:29

17    hashed personal email addresses and then we will                 10:29

18    match them with the hashed personal email address we             10:29

19    have on record and find those users that have both a             10:29

20    Walmart account and a Facebook account.                          10:29

21          Q.   So what is the difference between                     10:29

22    encryption and hashing?                                          10:29

23          A.   It's same thing in that sense.                        10:29

24          Q.   It is the same thing?                                 10:29

25          A.   Yeah.                                                 10:29

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1           Q.   Is it true that hashing has two inputs --                 10:29

2     well, let me go back.      Is it fair to say that                    10:29

3     encryption has two inputs so that if you have a key,                 10:29

4     you can associate data point together; is that fair?                 10:29

5                MS. STEIN:     Object to form.       He's not here        10:29

6     as a technical expert, so...                                         10:29

7                You can give your high-level                              10:29

8     understanding, if you have one.                                      10:29

9                THE WITNESS:     Yes, I don't -- I don't                  10:29

10    want -- I don't want to talk about, you know, like                   10:29

11    encryption.   But it's important here, I think, to                   10:29

12    take away is that we don't have access to those                      10:29

13    email addresses and they don't have access to the                    10:30

14    people who we ended up identifying as users who have                 10:30

15    both a Facebook account and a Walmart account.                       10:30

16    BY MS. WEAVER:                                                       10:30

17




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1

                                                                       10:30

3           Q.     So could you, please, explain what hashed           10:30

4     data matching is?                                                10:30

5           A.     If an advertiser has information about a            10:30

6     user, a customer of theirs, like their email                     10:30

7     address -- I didn't realize that we can actually be              10:30

8     based on phone number or home address, but if it                 10:30

9     seems to be the case, then that's basic data that we             10:30

10    can use to match those users on the Facebook site.               10:30

11          Q.     And do you see that there's an arrow here           10:30

12    that goes from "Email address, phone number and                  10:30

13    address," it's a dotted line but goes to "Hashed                 10:31

14    data matching," and then it goes down to "Appended               10:31

15    Data"?     Do you see that?                                      10:31

16          A.     Yes, I do.   I do see that.                         10:31

17          Q.     Okay.   And so what's your understanding of         10:31

18    what those arrows mean?                                          10:31

19          A.     No idea.                                            10:31

20




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1




                                                                       10:32

20          Q.   Okay.   So Facebook is getting data about,            10:32

21    for example, that I had something in my cart that I              10:32

22    didn't purchase; is that right?                                  10:32

23               MS. STEIN:     Object to form.                        10:32

24               THE WITNESS:     No, not that, no.                    10:32

25

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1     BY MS. WEAVER:                                                   10:32

2           Q.   Okay.    Who has it?     You just gave that as        10:32

3     an example.                                                      10:32

4           A.   Yeah, but that is a logic that takes place            10:32

5     on the advertiser's side.                                        10:32

6           Q.   Okay.                                                 10:32

7           A.   The advertiser selects the marketing team             10:32

8     on the advertiser side to decide what kind of                    10:32

9     campaign they want to run.        And they create a              10:33

10    segment of their customers that they want to target              10:33

11    with their ad campaign, and then they will decide                10:33

12    what creative they want to use, like how the ad is               10:33

13    going to look like.                                              10:33

14          Q.   Right.    But this is a list of information           10:33

15    that Facebook receives, right?                                   10:33

16               MS. STEIN:    Objection to form.                      10:33

17



                                                                       10:33

20    BY MS. WEAVER:                                                   10:33

21          Q.   Okay.    Looking at this chart here, it's             10:33

22    labeled, "What kinds of information does Facebook                10:33

23    receive?" correct?                                               10:33

24               MS. STEIN:    Objection to form.                      10:33

25               (Background audio interference.)                      10:33

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1                  MS. WEAVER:     Somebody needs to put their           10:33

2     phones on mute or their computers on mute.                         10:34

3           Q.     Returning to the document, sir, isn't this            10:34

4     page a list of information that Facebook receives                  10:34

5     about people?                                                      10:34

6                  MS. STEIN:     Objection to form.                     10:34

7                  THE WITNESS:     We received information that         10:34

8     an associate hashed email address with a Walmart                   10:34

9     customer.                                                          10:34

10                 MS. WEAVER:     Okay.   Tat's -- I'll just            10:34

11    move to strike as nonresponsive.           We will move on.        10:34

12          Q.     Going back to this category that says                 10:34

13    "Both."     Do you see that, near Appended Data?                   10:34

14          A.     Yes.                                                  10:34

15          Q.     What does "both" mean?                                10:34

16                 MS. STEIN:     Objection to form.                     10:34

17                 THE WITNESS:     A combination of advertisers         10:34

18    and data brokers, I assume.                                        10:34

19                 THE REPORTER:     I'm sorry, could you repeat         10:34

20    that, please.       Information?                                   10:34

21                 THE WITNESS:     A combination of advertisers         10:34

22    and data brokers.                                                  10:34

23    BY MS. WEAVER:                                                     10:34

24




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1                                                                              10:34

2                MS. STEIN:     Objection to form.          The                10:35

3     document speaks for itself.                                              10:35

4                MS. WEAVER:     I'm here to depose him about                  10:35

5     the document, Deb.      It was identified ahead of time.                 10:35

6                Please answer the question.                                   10:35

7                MS. STEIN:     Yeah, Lesley, this document is                 10:35

8     all about targeted advertising, and you've been                          10:35

9     going on for about an hour about targeted                                10:35

10    advertising which isn't even in this case.              It's             10:35

11    outside the scope of this case.                                          10:35

12               MS. WEAVER:     You can instruct him not to                   10:35

13    answer if you want, but I'm actually --                                  10:35

14               MS. STEIN:     Lesley, I've let this witness                  10:35

15    testify for an hour about targeted advertising.                So        10:35

16    if you want to ask him about the scope of this                           10:35

17    deposition, you're free to, but suggesting that just                     10:35

18    because you sent us a document about targeted                            10:35

19    advertising --                                                           10:35

20               MS. WEAVER:     Deb, stop lecturing and                       10:35

21    wasting my minutes with the witness, please.                             10:35

22               MS. STEIN:     Lesley, I am stating my                        10:35

23    position for the record.      This is a 30(b)(6)                         10:35

24    deposition on a specific set of topics.              You've gone         10:35

25    beyond the scope.    I've been very liberal in that.                     10:35

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1                  I will let the witness continue answering            10:35

2     some more questions, but if it continues focusing on              10:35

3     targeted advertising, then we're going to have to                 10:36

4     move on.                                                          10:36

5     BY MS. WEAVER:                                                    10:36

6             Q.   So the question -- I'm sorry, K.P. -- the            10:36

7     question is this:




                                                                        10:36

11                 MS. STEIN:     Objection to form.                    10:36

12                 THE WITNESS:     I don't know the definition         10:36

13    of an                                                             10:36

14    BY MS. WEAVER:                                                    10:36

15            Q.   Okay.                                                10:36

16            A.




                                                                        10:36

20            Q.   Thank you.                                           10:36

21                 And does Facebook also receive behavioral            10:36

22    data?                                                             10:36

23            A.   In what context?                                     10:36

24            Q.   Well, I'm just reading from the chart.     Do        10:36

25    you see where it says "Behavioral Data"?                          10:36

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1             A.   Okay.    In the context of this document --         10:36

2             Q.   Yes.                                                10:36

3             A.   -- not in the context of appended data?             10:36

4     Yes, we do collect.                                              10:36

5             Q.   Yes.    I'm so sorry.    So I'll ask the            10:36

6     question again.       Does Facebook also receive                 10:36

7     behavioral data about people?                                    10:36

8             A.   Yes.                                                10:36

9             Q.   Okay.

                                                                       10:36

11            A.   Yes.                                                10:37

12            Q.   What does that refer to?                            10:37

13            A.



                                                                       10:37

16            Q.   Okay.                                               10:37

17            A.




                                                                       10:37

23            Q.   Okay.    And then "Web SDK," do you see             10:37

24    that?                                                            10:37

25            A.   Yes.                                                10:37

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1           Q.   What does that refer to?                                10:37

2           A.   So this is the version of the SDK that is               10:37

3     used by websites.                                                  10:37

4           Q.   Okay.    And did that change over time?                 10:37

5           A.   Yes, we update the SDKs quite regularly.                10:38

6           Q.   Okay.    And "Mobile SDK," what is that?                10:38

7           A.   This is the SDK that is used by native                  10:38

8     apps, meaning iOS and Android.                                     10:38

9           Q.   Okay.    I just want to go back to                      10:38

10    behavioral data for a minute.        What is behavioral            10:38

11    data as opposed to appended data?                                  10:38

12          A.   I think we discussed about that before.                 10:38

13    So I'll try to repeat my previous response.                        10:38

14               So behavioral data is activities happening              10:38

15    on third-party sites that are being captured through               10:38

16    a Facebook product, a pixel or an SDK.                             10:38

17          Q.   Okay.    I see that I guess the videographer            10:38

18    would like to take a quick break.         So do you want to        10:38

19    just -- is that comfortable for you, K.P., to take a               10:38

20    break for a little bit here?                                       10:38

21          A.   Yes, I need a coffee.                                   10:38

22               MS. WEAVER:    Okay.    So why don't we come            10:38

23    back at, do you want to say, 10:50?                                10:38

24               THE WITNESS:    10 minutes from now?                    10:38

25               MS. WEAVER:    Yeah, does that work?      Well,         10:39

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1      1      11 minutes?   Okay.    Great.                                     10:39

       2                THE VIDEOGRAPHER:       We are off the record           10:39

2                              10:39     3     at         a.m.

      10:39

3      4                (Recess.)                                               10:39

                               10:39     5                   (Off record:      a.m.)

4     10:39

5      6                (On record:     10:53 a.m.)                             10:39

6      7                THE VIDEOGRAPHER:       We are on the record at         10:53

7                              10:53     8            a.m.

8     10:53

9      9      BY MS. WEAVER:                                                    10:53

10    10           Q.   Hello, K.P.     You understand you are still            10:53

11    11      under oath, correct?                                              10:53

12    12           A.   Yes, I do.                                              10:53

13




                                                                                10:53

22    22                MS. STEIN:     Object to form.                          10:53

23    23      BY MS. WEAVER:                                                    10:53

24    24




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1

                                                                        10:54

3           A.    Yes, I do.                                            10:54

4           Q.    Okay.



                                                                        10:54

7                 MS. STEIN:     Objection to form.                     10:54

8                 THE WITNESS:     Yeah.




                                                                        10:54

14    BY MS. WEAVER:                                                    10:54

15          Q.    Okay.   And do you see here where it says             10:54

16    "Explicit actions (likes, logins) off Facebook"?                  10:54

17          A.    Yes.                                                  10:54

18          Q.    Do you see that?      What does that refer to?        10:54

19                MS. STEIN:     Objection.     Asked and               10:54

20    answered.                                                         10:54

21                You can answer.                                       10:54

22                THE WITNESS:     This is in relation to the           10:54

23    web SDK and refers to activities captured in -- this              10:54

24    is for the purpose of those examples via the                      10:55

25    Facebook log-in button and a like button.                         10:55

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1     BY MS. WEAVER:                                                       10:55

2            Q.   Okay.

                                                                           10:55

4            A.   Yes.                                                     10:55

5            Q.                                                            10:55

6            A.




                                                                           10:55

11           Q.   So it was called                          is that        10:55

12    correct?                                                             10:55

13           A.   I don't remember the exact name of the                   10:55

14    app.                                                                 10:55

15           Q.   Do you recall that it was a VPN, a virtual               10:55

16    private network?                                                     10:55

17                MS. STEIN:     Objection to form.                        10:55

18                THE WITNESS:     Yes.                                    10:55

19    BY MS. WEAVER:                                                       10:55

20           Q.

                                                                           10:55

22                MS. STEIN:     Object to form.                           10:55

23                THE WITNESS:                                             10:55

24    BY MS. WEAVER:                                                       10:55

25           Q.   Uh-huh.                                                  10:56

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1           A.     I don't think so.

                                                                              10:56

3           Q.     Right.

                                                                              10:56

5                  MS. STEIN:    Objection to form.         Beyond the        10:56

6     scope.                                                                  10:56

7                  MS. WEAVER:    It relates directly to the                  10:56

8                                                                             10:56

9           Q.

                                                                              10:56

11                 MS. STEIN:    Objection to form.         Beyond the        10:56

12    scope.     This witness is not testifying about --                      10:56

13                 MS. WEAVER:    Are you instructing him not                 10:56

14    to answer my question about                                             10:56

15                 MS. STEIN:    That it's not subject to this                10:56

16    testimony.     He's not here -- he knows it -- he's not                 10:56

17    designated --                                                           10:56

18                 MS. WEAVER:    State an objection to form or               10:56

19    instruct him not to answer.        Please don't fill my                 10:56

20    record with your speeches.                                              10:56

21                 MS. STEIN:    Okay.   It's not a speech.        I'm        10:56

22    explaining that this witness came prepared to                           10:56

23    testify about certain things.         He's not a company                10:56

24    witness on                   so he's not answering the                  10:56

25    question.                                                               10:56

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1     BY MS. WEAVER:                                                   10:56

2           Q.



                                           Do you see that?            10:57

5           A.   Yes, I see that.                                      10:57

6           Q.   What does that refer to?                              10:57

7           A.   Again, only guess.                                    10:57

8           Q.   What -- what do you believe it means?                 10:57

9                MS. STEIN:     The witness should not guess.          10:57

10    If he knows, he can answer.       If he does not know, he        10:57

11    should not answer.                                               10:57

12               THE WITNESS:     I don't know.                        10:57

13    BY MS. WEAVER:                                                   10:57

14          Q.   Okay.



                                                                       10:57

17               MS. STEIN:     Objection.     The witness just        10:57

18    said he doesn't know.                                            10:57

19    BY MS. WEAVER:                                                   10:57

20          Q.   You can answer the question.                          10:57

21          A.   I don't know.                                         10:57

22          Q.   Okay.

                                                                       10:57

24          A.   No, I didn't.                                         10:57

25          Q.   Okay.   Do you know who did?                          10:57

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1           A.    It's a very broad question.          So in what             10:57

2     capacity?                                                               10:57

3           Q.    Who oversaw the Onavo project from within                   10:57

4     Facebook?    It was a partnership, correct?                             10:57

5           A.    No, it's not a partnership.          It's an                10:57

6     acquisition.                                                            10:57

7           Q.    Okay.     So who oversaw that acquisition?                  10:57

8           A.    On the Facebook side or --                                  10:57

9           Q.    Yes.                                                        10:58

10          A.    -- after the acquisition?                                   10:58

11          Q.    On the Facebook side.                                       10:58

12          A.    I don't know.                                               10:58

13          Q.    Okay.     What about after the acquisition?                 10:58

14          A.    The -- I guess the CEO of Onavo.                            10:58

15          Q.    Okay.     Move on.                                          10:58

16                Do you know what an opt-in panel is?                        10:58

17          A.    I don't know.                                               10:58

18          Q.    So I'll turn to the next page on this                       10:58

19    document.    And that's the one beginning at 425.             Do        10:58

20    you see that?       It says "Hard Questions" at the top?                10:58

21          A.    Yes.                                                        10:58

22          Q.    Okay.     And then do you see where it says                 10:58

23    "Does Facebook share my data with advertisers?"               Do        10:58

24    you see that?                                                           10:58

25          A.    I see that.                                                 10:58

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1           Q.   And in quotes it says "We don't share the               10:58

2     private information that you put on Facebook with                  10:58

3     advertisers without your consent."         Do you see that?        10:58

4           A.   I see that.                                             10:58

5           Q.   And do you see that it's in quotations?                 10:58

6           A.   Yes.                                                    10:59

7           Q.   And is that in quotations because that was              10:59

8     Facebook's policy at the time?                                     10:59

9                MS. STEIN:    Objection to form.         If the         10:59

10    witness knows what the people who wrote this --                    10:59

11               MS. WEAVER:    Please stop coaching him and             10:59

12    telling him to say that he doesn't know.                           10:59

13               MS. STEIN:    Lesley -- Lesley, do not                  10:59

14    accuse me of coaching.     You've gotten --                        10:59

15               MS. WEAVER:    That's strike one.                       10:59

16          Q.   Okay.   Go ahead, K.P.                                  10:59

17               MS. STEIN:    Excuse me?                                10:59

18    BY MS. WEAVER:                                                     10:59

19          Q.   I'll ask the question again.         Do you know        10:59

20    at this point in time whether Facebook's policy was,               10:59

21    "We don't share the private information that you put               10:59

22    on Facebook with advertisers without your consent"?                10:59

23          A.   I can only speak at a high level.           This        10:59

24    has always been not just the policy but the way we                 10:59

25    operated as a business.                                            10:59

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1           Q.   Okay.   Thank you.                                    10:59

2                And then do you see it says "Why do we use            10:59

3     that framing?" right below it?                                   10:59

4           A.   Yes, yes.                                             10:59

5           Q.   Okay.   And then there's a bullet point               10:59

6     that says "Though Facebook's policies prohibit                   11:00

7     sharing of data with data brokers or similar                     11:00

8     entities, we only make commitments about what                    11:00

9     Facebook will do."      Do you see that?                         11:00

10          A.   Yes, I do.                                            11:00

11          Q.   Okay.   So is it a true statement that at             11:00

12    this time Facebook's policy prohibited sharing of                11:00

13    data with data brokers or similar entities?                      11:00

14          A.   Yes.                                                  11:00

15          Q.   Okay.   And do you have an understanding as           11:00

16    to what the "We only make commitments about what                 11:00

17    Facebook will do," what does that mean?                          11:00

18          A.   It means that Facebook as a business only             11:00

19    makes public commitments about things that are                   11:00

20    within our control.                                              11:00

21          Q.   Okay.   And so I just want to direct your             11:00

22    attention to the bottom bullet point there in the                11:00

23    second sentence.     Do you see where it says "Also, we          11:00

24    may in the future operate a 'data cooperative,' or               11:01

25    other product allowing exchange of information that              11:01

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1     people haven't given to us directly"?            Do you see        11:01

2     that?                                                              11:01

3             A.   I see that.                                           11:01

4             Q.   Okay.   Do you know what a data cooperative           11:01

5     is as it's expressed here?                                         11:01

6             A.   It would probably mean some sort of a                 11:01

7     partnership with data brokers.                                     11:01

8             Q.   Okay.   And do you know if Facebook did               11:01

9     engage in a data cooperative with data brokers?                    11:01

10            A.   No.                                                   11:01

11            Q.   No, you don't know, or, no, they did not?             11:01

12            A.   No, we haven't.                                       11:01

13            Q.   Okay.   What is -- a little bit lower                 11:01

14    there, do you see "Facebook Exchange" referenced?                  11:01

15            A.   Yes.                                                  11:01

16            Q.   What does that refer to?                              11:01

17            A.   I don't know.                                         11:01

18            Q.   Okay.   There's a question here "How can              11:02

19    people see what you know about them and control                    11:02

20    their ad experiences?"       Do you see that?                      11:02

21            A.   Yes, I see that.                                      11:02

22            Q.   And there's something there that says                 11:02

23    "Context menu."      Do you see it?                                11:02

24            A.   Yes.                                                  11:02

25            Q.   What is that?                                         11:02

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1            A.   Sorry, I'm searching back so I can see                11:02

2     you.                                                              11:02

3



                                                                        11:02

6            Q.   Okay.   And can you -- that was during the            11:02

7     time period in 2012 to 2017?                                      11:02

8            A.   My -- I don't know exactly when that                  11:02

9     option was added, but I believe it was always there.              11:02

10           Q.   Okay.   And "Activity Log and Download Your           11:02

11    Information (DYI)."     Do you see that?                          11:02

12           A.   Yes.

13           Q.   And it says "See the information you've               11:03

14    put on Facebook that may be used for ads."          Do you        11:03

15    see that?                                                         11:03

16           A.   Yes.                                                  11:03

17           Q.   So is it true that -- well, let me back               11:03

18    up.    What is the activity log?                                  11:03

19           A.   It's a list of every single action you                11:03

20    have taken on Facebook.                                           11:03

21           Q.   Okay.   And what is "Download Your                    11:03

22    Information"?                                                     11:03

23           A.   It's a user-friendly way of downloading --            11:03

24    it's a file basically, but it's a user-friendly file              11:03

25    of everything that Facebook held -- all the                       11:03

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1     information that Facebook has for you.                             11:03

2           Q.    Okay.   And going back to the activity log,            11:03

3     it's a list of every single action you have taken on               11:03

4     Facebook.    Do you mean on the platform?                          11:03

5           A.    I believe it's on the platform, yes.                   11:03

6           Q.    Okay.   So is it limited to only the                   11:03

7     activity on the platform?                                          11:03

8           A.    The Facebook activity log, yes.                        11:04

9           Q.    Okay.   And back to the DYI.       You say it's        11:04

10    all the information that Facebook has for you; is                  11:04

11    that correct?                                                      11:04

12          A.    Yes.                                                   11:04

13          Q.    What do you mean by that?                              11:04

14          A.    It includes from things from like the                  11:04

15    information you submitted when you created your                    11:04

16    account, to the photos that you may have uploaded,                 11:04

17    to the pixels of your friends you may have liked, to               11:04

18    the ads you may have seen, the videos you may have                 11:04

19    watched.    It's a -- it's a very lengthy, you know,               11:04

20    like document with different things.                               11:04

21          Q.    Okay.   So going back to the previous page             11:04

22    where we were talking about appended data, does the                11:04

23    DIY tool include appended data?                                    11:04

24          A.    No.                                                    11:04

25          Q.    Okay.   Does it include behavioral data?               11:04

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1                 MS. STEIN:     Objection to form.                       11:04

2                 THE WITNESS:     Yes, it does.                          11:05

3      BY MS. WEAVER:                                                     11:05

4            Q.   Okay.    So it includes the conversions and             11:05

5      purchases off Facebook?                                            11:05

6            A.   I don't know about that, but it includes                11:05

7      the apps that you have logged in.         It includes, I           11:05

8      think, the websites that you may have liked, and so                11:05

9      on.                                                                11:05

10           Q.   Okay.    Does the Do It Yourself network                11:05

11     include the native data that was inferred from                     11:05

12     engagement on the site?                                            11:05

13                MS. STEIN:     Objection to form.                       11:05

14                THE WITNESS:     I think you're referring to            11:05

15     the DYI file?                                                      11:05

16     BY MS. WEAVER:                                                     11:05

17           Q.   Yes.    I'll ask the question again.      Sorry.        11:05

18                Does the DIY file include native data that              11:05

19     is inferred from engagement on the site?                           11:05

20                MS. STEIN:     Objection to form.                       11:05

21                THE WITNESS:     It should include interests,           11:05

22     which are inferred data, so yes.                                   11:05

23     BY MS. WEAVER:                                                     11:05

24           Q.   Does it also include behaviors?                         11:05

25                MS. STEIN:     Objection to form.                       11:05

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1                  MS. WEAVER:     What's the objection?                    11:06

2                  MS. STEIN:     "Behaviors" is a very vague               11:06

3      term, Lesley.                                                        11:06

4                  MS. WEAVER:     No.   It's listed right here             11:06

5      on the document.     So I'm going to restate the                     11:06

6      question.                                                            11:06

7           Q.     Does the DIY tool also include the native                11:06

8      data that's inferred from the engagement on the site                 11:06

9      like behaviors as listed in this document?                           11:06

10                 MS. STEIN:     Objection to form.                        11:06

11                 THE WITNESS:     So I will answer with, you              11:06

12     know, like a high-level understanding that the DYI                   11:06

13     file includes the pages that you liked.               And by         11:06

14     default, that's a behavior.                                          11:06

15     BY MS. WEAVER:                                                       11:06

16          Q.     Does Facebook engage in -- okay.             But         11:06

17     just -- sorry.     Just go back to that question.                    11:06

18                 Do you know, as you sit here today,                      11:06

19     whether the DIY tool includes native data inferred                   11:06

20     from engagement on the site, including interests and                 11:06

21     behaviors as identified on this chart?                               11:06

22                 MS. STEIN:     Objection to form.                        11:06

23                 THE WITNESS:     DYI file includes activities            11:06

24     such as you liking a page that may suggest an                        11:07

25     interest and, by default, explain a behavior or                      11:07

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1      describe a behavior.                                              11:07

2      BY MS. WEAVER:                                                    11:07

3             Q.    Okay.   But is that to be inferred from the          11:07

4      engagement on the site?                                           11:07

5             A.    It's driven by your activities happening             11:07

6      on the Facebook website or the Facebook apps.                     11:07

7             Q.    Okay.   Going back to the page ending in             11:07

8      425.    We were near the bottom of the page there.                11:07

9             A.    Yes.                                                 11:07

10            Q.    Do you see where it says "Centralized                11:07

11     opt-out"?                                                         11:07

12            A.    Yes.                                                 11:07

13            Q.    What does that refer to?                             11:07

14            A.    So this refers to the ability of the user            11:07

15     to turn off any kind of activity around behavioral                11:07

16     data captured through our SDKs --                                 11:07

17                  THE REPORTER:    I'm sorry, "Behavioral              11:08

18     data" --                                                          11:08

19                  THE WITNESS:    -- and pixel.                        11:08

20                  THE REPORTER:    I'm sorry, "Behavioral              11:08

21     data"...                                                          11:08

22                  THE WITNESS:    -- captured through the SDKs         11:08

23     and pixel.                                                        11:08

24                  THE REPORTER:    Thank you.                          11:08

25

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1      BY MS. WEAVER:                                                           11:08

2              Q.     And what is third-party behavioral data                   11:08

3      again?                                                                   11:08

4              A.     I think we exhausted that, but I will go                  11:08

5      back to the definition as it's being offered in a                        11:08

6      previous page:         Website, browser behaviors,                       11:08

7      conversations, explicit actions, mobile apps                             11:08

8      installed, and so on.                                                    11:08

9              Q.     And is that contained in the DYI tool or                  11:08

10     the DYI file?                                                            11:08

11                    MS. STEIN:     Object to form.       Objection to         11:08

12     form.                                                                    11:08

13                    THE WITNESS:     I'm sorry, how can a file                11:08

14     include activities as you have already opted out?                        11:08

15     BY MS. WEAVER:                                                           11:08

16             Q.     Okay.    What I'm asking is whether the DIY               11:08

17     tool collects third-party behavioral data as it's                        11:08

18     referred to there?                                                       11:08

19             A.     I'm sorry, I feel like I'm repeating                      11:08

20     myself.       But the DYI file identified the apps that                  11:09

21     you used, the websites that you may have liked and                       11:09

22     so on.       So it captures behavioral data as per --                    11:09

23             Q.     Okay.                                                     11:09

24             A.     -- the definition of the previous page.                   11:09

25             Q.     Does it collect all third-party behavioral                11:09

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1      data?                                                            11:09

2                   MS. STEIN:      Objection to form.                  11:09

3                   THE WITNESS:      All?   I don't know.              11:09

4      BY MS. WEAVER:                                                   11:09

5              Q.   Yeah.   Okay.                                       11:09

6                   How would you find out?                             11:09

7              A.   I would have to look at the DYI file.               11:09

8              Q.   Okay.   And have you looked at any DYI              11:09

9      files to prepare for your deposition today?                      11:09

10             A.   No, I have not, because that would be a             11:09

11     violation of my commitment to users' privacy.                    11:09

12             Q.   Did you look at DYI files for any of the            11:09

13     named plaintiffs in this action to prepare for the               11:09

14     deposition?                                                      11:09

15             A.   No, because that would be in violation of           11:09

16     my commitment to users' privacy.                                 11:09

17             Q.   To prepare --                                       11:10

18             A.   I would be fired --                                 11:10

19             Q.   If your --                                          11:10

20             A.   -- if I look --                                     11:10

21             Q.   If your lawyers had you look at the                 11:10

22     plaintiffs' DYI files to prepare for deposition in               11:10

23     this action?                                                     11:10

24             A.   I would be fired.                                   11:10

25             Q.   Okay.   Well, we'll table that.                     11:10

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1                   Can you look at your --                              11:10

2           A.      No one here --                                       11:10

3           Q.      Can you look at your own --                          11:10

4           A.      I can only look at mine.                             11:10

5           Q.      -- DYI -- oh, okay.       So can you look at         11:10

6      your own DYI file to determine whether or not all                 11:10

7      third-party behavioral data is included in it?                    11:10

8           A.      I can, but not right now.                            11:10

9           Q.      Okay.   Right.                                       11:10

10                  Okay.   Give me a moment here.                       11:10

11                  Okay.   So let's turn for a moment to the            11:11

12     page ending in 3428.        It says "Location" at top.            11:11

13                  Do you know who Maritza Johnson is?                  11:11

14          A.      No, I don't.                                         11:11

15          Q.      Okay.   And do you see, it says, "Knowing            11:11

16     where people are when they interact with our                      11:11

17     services is useful for designing innovative                       11:11

18     products"?     Do you see that?                                   11:11

19          A.      Yes, I do see that.                                  11:11

20          Q.      So did Facebook track people's -- users'             11:11

21     location?                                                         11:11

22          A.      Facebook will have an understanding of the           11:11

23     user's location based on different signals.                       11:11

24          Q.      Okay.   And you see here it says -- when             11:11

25     you say "different signals," what do you mean?                    11:11

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1           A.      Like if someone is using the app from               11:11

2      their mobile phone and they have allowed us access               11:11

3      to their GPS, we would have a precise, you know,                 11:11

4      understanding of that location.         If someone is            11:12

5      accessing Facebook through their computer, we will               11:12

6      try to determine their location from an IP address               11:12

7      and so on.                                                       11:12

8           Q.      Okay.   And do you see where it says, "Is           11:12

9      derivative data produced (example, ad clusters)?"                11:12

10     It's the last bullet point --                                    11:12

11          A.      Ah.                                                 11:12

12          Q.      -- on the top.                                      11:12

13          A.      Yes.                                                11:12

14          Q.      Okay.   So the question is, what is                 11:12

15     derivative data?                                                 11:12

16          A.      Could I read the whole thing quickly just           11:12

17     to make sure I'm --                                              11:12

18          Q.      Absolutely, of course.                              11:12

19                  (Pause while witness peruses document.)             11:12

20          A.      Okay.                                               11:12

21          Q.      What is derivative data?                            11:12

22                  MS. STEIN:   I will just instruct the               11:13

23     witness to make sure that you only testify about                 11:13

24     things that you know, and that if there are things               11:13

25     in this document that you don't know or are not a                11:13

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1      company term, to please, you know, tell the                        11:13

2      examiner, because you should not be testifying                     11:13

3      beyond the scope of what your -- what's at issue in                11:13

4      this deposition and --                                             11:13

5                   MS. WEAVER:     This is completely within the         11:13

6      scope, Deb, and that's improper coaching.                          11:13

7              Q.   So, sir, do you know what derivative data             11:13

8      is?                                                                11:13

9              A.   I think there is an example for derivative            11:13

10     data there.                                                        11:13

11             Q.   I'm sorry?                                            11:13

12             A.   Ad clusters.     Ad cluster is derivative             11:13

13     data.                                                              11:13

14             Q.   Okay.   That's an example of derivative               11:13

15     data?                                                              11:13

16             A.   Yes.                                                  11:13

17             Q.   Okay.   How is it derived, if you will?               11:13

18     How are ad clusters derived?                                       11:13

19                  MS. STEIN:     Objection to form.                     11:13

20                  THE WITNESS:




                                                                          11:14

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1




                                                                        11:14

12          A.    Those are things that are --                          11:14

13                MS. STEIN:      Objection to form.                    11:14

14                You may answer.                                       11:14

15                THE WITNESS:

                                                                        11:14

17     BY MS. WEAVER:                                                   11:15

18          Q.    Okay.   So --                                         11:15

19          A.



                                                                        11:15

22          Q.    Okay.   So for the record,



                                                                        11:15

25                MS. STEIN:      Objection to form.                    11:15

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1




                                                                         11:15

13             Q.      Okay.   And is it contained in the DYI            11:15

14     file?                                                             11:15

15             A.      That -- how is that relevant for you?             11:15

16             Q.      I get to ask the questions.                       11:16

17             A.      No, I mean -- I'm -- I'm thinking loudly.         11:16

18     That a user's information, when it is -- so the --                11:16

19     okay.        So let me take a step back.                          11:16

20                     That data that we are talking about are           11:16

21     anonymized.        They are not associated with a given           11:16

22     user.        And so it wouldn't show up in a -- in user's         11:16

23     DYI file.                                                         11:16

24             Q.      Okay.   And when --                               11:16

25                     MS. STEIN:   I'm just waiting for my feed

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1      here.

2                   Oh, could you read his answer back,

3      please.                                                               11:16

4                                (The record was read by the                 11:17

5                                court reporter, as requested)               11:17

6      BY MS. WEAVER:                                                        11:17

7              Q.   And what do you mean by "associated"?                    11:17

8              A.   Like we have a broad understanding of who                11:17

9      lives in San Francisco but we don't know exactly who                  11:17

10     lives in San Francisco.                                               11:17

11             Q.   Okay.   But the data's collected from                    11:17

12     individual users, right?                                              11:17

13             A.   It depends.                                              11:17

14             Q.   On what?                                                 11:17

15             A.   It depends on whether the data has been                  11:17

16     collected because some are explicitly said "I live                    11:17

17     in San Francisco."        Some people have their hometown             11:17

18     identified on Facebook, some people don't.                            11:17

19             Q.   Right, but it's still one individual.        The         11:17

20     source of the -- the -- originally is one user,                       11:17

21     right?                                                                11:17

22                  MS. STEIN:     Objection to form.                        11:17

23     BY MS. WEAVER:                                                        11:17

24             Q.   Because either I live in San Francisco or                11:17

25     I indicated -- I mean, all of this data comes from                    11:17

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1      individuals, right?                                                11:17

2           A.    Some of the data -- sorry.         Again, if --         11:17

3      if it's -- according to the previous definition, if                11:17

4      it's native data, that means that you have provided                11:17

5      that information.                                                  11:18

6           Q.    Okay.    So let's -- okay.      Let's talk --           11:18

7           A.    Like you have defined San Francisco --                  11:18

8           Q.    Right.                                                  11:18

9           A.    -- to be your hometown.                                 11:18

10          Q.    Perfect.                                                11:18

11          A.    Okay.                                                   11:18

12          Q.    So it's associated with me initially,                   11:18

13     right?                                                             11:18

14          A.    You have specifically suggested to your                 11:18

15     Facebook friends by basically filling in that                      11:18

16     specific field that Facebook asked you to do that                  11:18

17     your hometown is San Francisco.        You may live in             11:18

18     Denver, but your hometown appears to be                            11:18

19     San Francisco.                                                     11:18

20          Q.    Okay.    So an algorithm runs on this data              11:18

21     and it creates an ad cluster and puts me -- when                   11:18

22     does it become disassociated with me?          Because it          11:18

23     was initially associated, correct?                                 11:18

24          A.    That association will never cease to exist              11:18

25     unless you basically go there and suggest that you                 11:18

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1      move to Denver.                                                          11:18

2           Q.    Okay.    I'm just -- honestly, K.P., I'm                      11:18

3      trying to understand your answer.                                        11:18

4                 You said the data that we are talking                         11:18

5      about is not associated with specific users.              We             11:18

6      just talked about --                                                     11:19

7           A.    Yes, please.                                                  11:19

8           Q.    -- it was associated with an individual                       11:19

9      user because they're from San Francisco.                                 11:19

10          A.    Yes.                                                          11:19

11          Q.    So when does it become disassociated?                         11:19

12          A.    But I'm trying to explain to you the                          11:19

13     distinction between data that comes from native                          11:19

14     data, to use your --                                                     11:19

15          Q.    Okay.                                                         11:19

16          A.    -- the definition in this document, versus                    11:19

17     behavioral data.                                                         11:19

18          Q.    Okay.    And --                                               11:19

19          A.    So -- no, no, no, no.        Sorry.       I have to           11:19

20     be super precise here.                                                   11:19

21                There are two kinds of native data.             There         11:19

22     are native data that come because you have, as a                         11:19

23     user, indicated that your hometown is San Francisco.                     11:19

24          Q.    Right.                                                        11:19

25          A.    And there is native data that comes from                      11:19

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1      your activity.          So if -- hypothetically speaking, I          11:19

2      don't -- I don't know exactly what period of time we                 11:19

3      are going to be looking at, but let's say for the                    11:19

4      last three -- the last 30 days you have accessed                     11:19

5      Facebook from an IP address in -- in San Francisco,                  11:19

6      that is still, according to our definition, native                   11:19

7      data.        But it's -- it's not data that's -- it's                11:19

8      directly explicitly, you know, like, documented by                   11:19

9      the user, but it's in data inferred by their                         11:20

10     activity.                                                            11:20

11             Q.      Okay.    And so the --                               11:20

12             A.      Still native.                                        11:20

13             Q.      I understand.                                        11:20

14                     By the way, would you use a different word           11:20

15     than native data?          Is there another way to reference         11:20

16     that?                                                                11:20

17             A.      I would probably use on-site activity.               11:20

18             Q.      On-site activity?                                    11:20

19             A.      Versus off-site activity.                            11:20

20             Q.      Okay.    Perfect.                                    11:20

21                     Do you -- would you use the -- the words             11:20

22     "appended data" or is there another term for that?                   11:20

23             A.      I haven't heard that term until recently.            11:20

24     Until this --                                                        11:20

25             Q.      Okay.    Do you have another understanding           11:20

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1      of how people at Facebook refer to it?                           11:20

2           A.    Customer data provided by third parties or            11:20

3      something --                                                     11:20

4           Q.    Okay.                                                 11:20

5           A.    -- like that.                                         11:20

6           Q.    All right.    And then what about behavioral          11:20

7      data; is there another term of art at Facebook used              11:20

8      to reference that?                                               11:20

9           A.    That's my definition of offline activity.             11:20

10          Q.    Offline activity.     Okay.                           11:20

11          A.    Oh, sorry, off-site activity.                         11:20

12          Q.    Off-site.    I see.   Okay.                           11:20

13




                                                                        11:21

24          A.    Okay.   At the very high level, if we are             11:21

25     talking about the specific scenario that a business              11:21

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1      that is operating in San Francisco wants to target               11:21

2      users in San Francisco, they will run the campaign               11:21

3      for, let's say, two days; they will target specific              11:21

4      users that live in that area.       They may target only         11:21

5      females or only men, people of a certain age, people             11:21

6      of a certain profession, depending on, you know,                 11:21

7      like, what sort of campaign they want to run, right?             11:21

8                 So that will all be effectively identified            11:21

9      as a potential audience of, let's say for the sake               11:21

10     of the argument, 20,000 users.       They still have no          11:22

11     access to the information.      They only understand             11:22

12     what is the potential audience their ad campaign can             11:22

13     reach.                                                           11:22

14                And then when they start, you know, like,             11:22

15     placing the advertisement, then their advertisement              11:22

16     is going to go into an auction.        That auction may          11:22

17     actually, you know, allow others to beat against                 11:22

18     that same audience.    So if there is a competitor of            11:22

19     this service, or another service that wants to                   11:22

20     target people with similar characteristics that live             11:22

21     in San Francisco, they may or may not see the first              11:22

22     ad.   So it's the highest bidder that will have the              11:22

23     ad show up.                                                      11:22

24

                                                                        11:22

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1                                                                              11:22

2           Q.    Okay.     So let me ask this:       So I'm -- say            11:22

3      I'm being targeted in that ad campaign.              Is there a         11:22

4      way for me to find out that I was targeted by those                     11:22

5      categories that the advertiser chose?                                   11:22

6           A.    You can see it only if that ad campaign                      11:23

7      shows up to you.                                                        11:23

8           Q.    Okay.     And only in realtime?       And there's            11:23

9      no record of it after that?                                             11:23

10          A.    I think you can actually see the -- the                      11:23

11     information in realtime.      But if you go to the DYI                  11:23

12     file, you can see probably ad campaigns that you                        11:23

13     have been displayed -- or you have seen yourself, or                    11:23

14     you have clicked.                                                       11:23

15          Q.    Okay.     But if they were --                                11:23

16          A.    You know --                                                  11:23

17          Q.    -- targeted to me and I didn't take an                       11:23

18     action, it's not in the DYI file; is that right?                        11:23

19          A.    You -- you will see the ad campaigns that                    11:23

20     ended up showing up on your feed, but you wouldn't                      11:23

21     see any ad campaigns that, for whatever reason, you                     11:23

22     haven't seen, because there was another advertiser                      11:23

23     that won the bid.                                                       11:23

24          Q.    Got it.                                                      11:23

25                And so let's talk about the information                      11:23

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1      that is used to create the derived data.             How do you         11:23

2      determine what information can be used to apply                         11:24

3      those algorithms?                                                       11:24

4           A.    I need to clarify that question.                             11:24

5           Q.    Yeah, it's -- so is only public                              11:24

6      information used to create derived data?                                11:24

7                 MS. STEIN:     Objection to form.                            11:24

8                 THE WITNESS:     Okay.    So are you talking                 11:24

9      about derived data in the context of location, or                       11:24

10     you're talking about derived data broadly?                              11:24

11     BY MS. WEAVER:                                                          11:24

12          Q.    Well, what is derived data broadly?                          11:24

13          A.    I mean, I don't know of any use of derived                   11:24

14     data broadly, but I'm trying to understand exactly                      11:24

15     how you want me to answer the question in a                             11:24

16     thoughtful way.                                                         11:24

17




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1           Q.    But at large, is it fair to say that                   11:25

2      derived data is created through algorithms running                11:25

3      on realtime data?                                                 11:25

4                 MS. STEIN:     Objection to form.                      11:25

5                 THE WITNESS:     I cannot talk about that.             11:25

6      But derived data is a -- a broad, you know, like,                 11:25

7      industry term that you can use, and it's a legal                  11:25

8      term as well, as far as I understand.           It can be         11:25

9      used in different context and it doesn't always                   11:25

10     require realtime processing.                                      11:25

11     BY MS. WEAVER:                                                    11:25

12          Q.    Okay.    So let's -- we can stick with your            11:25

13     example then if you like for now.                                 11:25

14                What if I sent a -- a private -- a message             11:25

15     in Facebook Messenger to one friend saying "I used                11:25

16     to live in San Francisco" and I've never posted                   11:25

17     anything publicly about it.       Is that information             11:25

18     used to create the derived data for ad clusters?                  11:26

19          A.    No.                                                    11:26

20          Q.    Why not?                                               11:26

21          A.    That's a private conversation between you              11:26

22     and your friend --                                                11:26

23          Q.    Okay.                                                  11:26

24          A.    -- that --                                             11:26

25          Q.    So how does the algorithm distinguish --               11:26

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1      let me ask this:         When the data is being run on                      11:26

2      algorithms, is it segregated by public or private                           11:26

3      data?                                                                       11:26

4              A.      So your definition of public or private is                  11:26

5      what, if I may say?                                                         11:26

6              Q.      If a user designated something private or                   11:26

7      restricted audience.                                                        11:26

8              A.      Okay.   Let's take a little bit of a step                   11:26

9      back.        Because what we define as public data is                       11:26

10     basically your first name, your last name, your                             11:26

11     profile picture.                                                            11:26

12             Q.      Okay.                                                       11:26

13             A.      Anything else that comes with a -- an                       11:26

14     audience selection doesn't necessarily belong --                            11:26

15     it's not necessarily by default public.                 It may have         11:26

16     a limited audience.         It may be just you, if it's                     11:26

17     things like your birthday, or it may be friends --                          11:27

18     or accessible to your friends.                                              11:27

19                     What we always, you know, like, like to                     11:27

20     suggest that communications that happen over                                11:27

21     messenger is also by default private, meaning that                          11:27

22     it's -- the content of your exchanges with your                             11:27

23     friends belong to you and your friends.                 So that             11:27

24     wouldn't be considered public information.                 But it           11:27

25     wouldn't be considered necessarily private                                  11:27

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1      information because it's not accessible by anybody                   11:27

2      in that -- it's a private conversation but it's not                  11:27

3      private data in that sense.                                          11:27

4           Q.    And when Facebook is, let's say -- we can                 11:27

5      just stick with your ad clusters example.            When it         11:27

6      is using the algorithm to create derived data, such                  11:27

7      as ad clusters, is it using that world of                            11:27

8      information that you just described that is not                      11:27

9      public?                                                              11:27

10          A.    We would be using native data such as your                11:27

11     registered home location and things like your IP                     11:28

12     address to determine where you live.                                 11:28

13          Q.    Okay.   But what I'm trying to say is --                  11:28

14     and I gave you a different example.           So if you              11:28

15     could, just follow my example.        Okay.                          11:28

16          A.    We wouldn't.    I think I made --                         11:28

17          Q.    Okay.                                                     11:28

18          A.    -- that point that --                                     11:28

19          Q.    When I -- when I look --                                  11:28

20          A.    -- you telling your friends you live in                   11:28

21     San Francisco is your business and it's not for us                   11:28

22     to use in any kind of ads.                                           11:28

23          Q.    Okay.   And that's because reading messages               11:28

24     and using that content and making it available to                    11:28

25     advertisers would violate Facebook's policies,                       11:28

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1      right?                                                           11:28

2              A.   Reading private communications between you          11:28

3      and your friends would be a violation of our                     11:28

4      commitment to your privacy.                                      11:28

5              Q.   Okay.   Switching topics just for a second.         11:28

6                   You know what capabilities are; is that             11:28

7      right?                                                           11:29

8              A.   In what --                                          11:29

9              Q.   In connection with -- in connection with            11:29

10     APIs?                                                            11:29

11             A.   Yes, I do.                                          11:29

12             Q.   Okay.   Sorry.                                      11:29

13                  So are you familiar with the read stream            11:29

14     capability?                                                      11:29

15             A.   Read stream is an API but there is an               11:29

16     associated capabilities.                                         11:29

17             Q.   Yeah.   And what is that?                           11:29

18             A.   It's an API that allows a third party to            11:29

19     access someone's News Feed.                                      11:29

20             Q.   Okay.   And what does "read stream" mean in         11:29

21     particular?                                                      11:29

22             A.   It's a very poorly, you know, like,                 11:29

23     defined --                                                       11:29

24             Q.   It should probably be for the period 2012           11:29

25     to 2017.                                                         11:29

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1           A.    Yes.    So the News Feed is also referred as                11:29

2      stream.                                                                11:29

3           Q.    Uh-huh.                                                     11:29

4           A.    And that API and the corresponding                          11:29

5      capability effectively describes the ability to read                   11:29

6      the stream.                                                            11:29

7           Q.    Okay.                                                       11:29

8           A.    In other words, read the News Feed.                         11:29

9           Q.    Okay.     And are you aware at any point in                 11:30

10     time if third parties were allowed to read Facebook                    11:30

11     Messenger messages?                                                    11:30

12                MS. STEIN:     Objection.                                   11:30

13     BY MS. WEAVER:                                                         11:30

14          Q.    Through -- through API capabilities?                        11:30

15                MS. STEIN:     Objection to form.         And we're         11:30

16     talking about 2012 to 2017.                                            11:30

17                You may answer.                                             11:30

18                THE WITNESS:     Between 2012 and 2017, I                   11:30

19     don't think we made the -- the Messenger API -- the                    11:30

20     current version of the Messenger API available.                        11:30

21                THE REPORTER:     I'm sorry.      That -- that...           11:30

22                THE WITNESS:     So I'm -- between 2012 and                 11:30

23     2017, the current version of the Messenger API was                     11:30

24     not available.     I think the only way for third                      11:30

25     parties to access Messenger was through the Inbox                      11:30

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1      API.                                                             11:30

2                   MS. WEAVER:    I'm sorry, I just need to            11:30

3      look really quickly.                                             11:31

4             Q.    What is the Inbox API?                              11:31

5             A.    It's an API that allows a third party to            11:31

6      access a user's Messenger conversation.                          11:31

7             Q.    Okay.    And what do those third parties --         11:31

8      strike that.                                                     11:31

9                   What access were they given to --                   11:31

10            A.    So the third --                                     11:31

11            Q.    -- use Messenger conversation?                      11:31

12            A.    Yeah.    The third parties that had access          11:31

13     to the Inbox API were app third parties that                     11:31

14     replicated core Facebook functionality, including                11:31

15     messaging.     So we call those integrations device              11:31

16     integrations because they were replicating                       11:31

17     Facebook -- the Facebook app.                                    11:31

18            Q.    Are you aware -- are you familiar with the          11:31

19     company Royal Bank of Canada, RBC?                               11:31

20            A.    Yes.    Yes.                                        11:31

21            Q.    Did -- did they have access to Messenger            11:31

22     inboxes during this time period?                                 11:32

23            A.    They had the access to an API that allowed          11:32

24     them to write into someone's inbox.                              11:32

25            Q.    And why?                                            11:32

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1             A.   But -- but not to read.                              11:32

2             Q.   Okay.     And why --                                 11:32

3             A.   Why?                                                 11:32

4             Q.   -- did they have that access?                        11:32

5             A.   Because we were testing the ability for a            11:32

6      Royal Bank of Canada customer that wants to wire                 11:32

7      money to friends to tell them through Messenger that             11:32

8      they have successfully wired the money.                          11:32

9             Q.   So I'm going to turn to the page ending              11:32

10     with 429 now.       It's just the next page of the same          11:32

11     document.                                                        11:32

12                 Oh, strike it.     I will move on.                   11:32

13                 Going, actually, to the page ending in               11:33

14     430.    What is "facial recognition" as used in this             11:33

15     document?                                                        11:33

16            A.   Can I take a quick moment to read the                11:33

17     document?                                                        11:33

18            Q.   Of course.     Sorry.                                11:33

19            A.   Thank you.                                           11:33

20                 (Pause while witness peruses document.)              11:33

21            A.   I'm sorry, there's a little bit of                   11:33

22     background noise.       I don't know where it's coming.          11:33

23                 MS. WEAVER:     I think that's Ms. Stein.            11:33

24     But maybe not.                                                   11:33

25                 MS. STEIN:     Sorry.   Sorry.                       11:33

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1                  THE WITNESS:     Oh.   Okay.                          11:33

2                  MS. STEIN:     I will -- I will mute.     The         11:33

3      gardeners are here.       Hazards of --                           11:33

4                  MS. WEAVER:     Yes.                                  11:33

5                  MS. STEIN:     -- of COVID.                           11:33

6      BY MS. WEAVER:                                                    11:33

7           Q.     I'm going to direct your attention just to            11:33

8      a few pages here.                                                 11:33

9           A.     Okay.                                                 11:33

10          Q.     Great.                                                11:33

11                 So what is facial recognition, the facial             11:33

12     recognition feature that's referred to in this                    11:34

13     document?                                                         11:34

14          A.     And do you want me to read what is defined            11:34

15     in this document or shall I tell you --                           11:34

16          Q.     Just tell me --                                       11:34

17          A.     -- what my understanding?                             11:34

18          Q.     -- your understanding.                                11:34

19                 Yes, sorry.                                           11:34

20          A.     So it's a -- it's a code that allows us to            11:34

21     understand who may be shown or seen in a picture, in              11:34

22     a photo.                                                          11:34

23          Q.     Okay.    And how does it work?                        11:34

24          A.     Technically?                                          11:34

25          Q.     Yes.                                                  11:34

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1             A.   Through a combination of pattern matching               11:34

2      and other characteristics.                                          11:34

3             Q.   Combination of?     I just didn't understand            11:34

4      you.    Could you repeat it again.                                  11:34

5             A.   Pattern matching.                                       11:34

6             Q.   Pattern --                                              11:34

7             A.   So we try to see patterns.                              11:34

8             Q.   Pattern -- pattern matching?                            11:34

9             A.   Yes.                                                    11:34

10            Q.   Okay.   And what patterns?      It's looking at         11:34

11     people's faces for those patterns; is that correct?                 11:34

12            A.   Yeah.   Would analyze certain                           11:34

13     characteristics of your face and try to, you know,                  11:34

14     create a matching with a pattern.        And then when we           11:35

15     see a similar pattern, we can associate this back to                11:35

16     you.                                                                11:35

17            Q.   Okay.   And so if you turn to the second                11:35

18     page here ending in 3431, do you see where it says                  11:35

19     "Graph Search"?     It's in bold.                                   11:35

20            A.   Yeah.                                                   11:35

21            Q.   Okay.   And then it says, "We're looking to             11:35

22     incorporate facial recognition results in Graph                     11:35

23     Search."                                                            11:35

24                 Do you see that?                                        11:35

25            A.   Yes.                                                    11:35

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1           Q.      Do you -- what is Graph Search?                           11:35

2           A.      Graph Search is our own version of                        11:35

3      searching within the graph.                                            11:35

4           Q.      And what do you mean by graph?                            11:35

5           A.      Everything at Facebook is the graph.          Any         11:35

6      entity, any connection that's affecting the part of                    11:35

7      the graph.                                                             11:35

8           Q.      Okay.   Is it a relational database?                      11:35

9           A.      It's not a -- a database per se.        The               11:35

10     graph is -- I don't know.      It's a -- it's an                       11:35

11     abstract thing that describes basically every single                   11:36

12     connection and entity on -- on the platform.                           11:36

13          Q.      Okay.   So if somebody is using Graph                     11:36

14     Search, they are searching all over Facebook's                         11:36

15     entire network; is that right?                                         11:36

16          A.      Sort of, because there may be exceptions                  11:36

17     to that.     Like people that opt out from --                          11:36

18          Q.      Okay.                                                     11:36

19          A.      -- from that they wouldn't have their                     11:36

20     results in that.                                                       11:36

21          Q.      If people opt out, are they still in the                  11:36

22     graph?                                                                 11:36

23          A.      They can opt out from being discovered                    11:36

24     through Graph Search.                                                  11:36

25          Q.      But they're still in the graph?                           11:36

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1           A.     But they are still in the graph, yes.                11:36

2           Q.     Is there any way to be removed from the              11:36

3      graph?                                                           11:36

4           A.     You have to delete your Facebook account.            11:36

5           Q.     Okay.   And if I go to delete my Facebook            11:36

6      account, what is deleted?     Is all the data relating           11:36

7      to me deleted?                                                   11:36

8           A.     Your interactions with public entities               11:36

9      will not be deleted.                                             11:36

10          Q.     So how do you identify all of the data to            11:37

11     delete?                                                          11:37

12          A.     My -- my response would be anything that             11:37

13     lives in the "Download Your Information" file is                 11:37

14     going to disappear.                                              11:37

15          Q.     What about all the rest of the data in the           11:37

16     graph?                                                           11:37

17          A.     Again, the only exception here would be,             11:37

18     you know, like, your interactions with public                    11:37

19     entities.    If you end -- ended up commenting on                11:37

20     United's page you didn't like their service, that                11:37

21     is, by default, public and is not personal                       11:37

22     information.     And, to some extent, it belongs also            11:37

23     to United because you did that on their entity.                  11:37

24          Q.     So --                                                11:37

25          A.     But pretty much every -- everything else             11:37

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1      that is associated to you will be deleted.                                11:37

2              Q.      Okay.     And when you say "is associated to              11:37

3      me," what do you mean?                                                    11:37

4              A.      Any kind of on-site or off-site activity.                 11:37

5              Q.      What about derived data?                                  11:37

6              A.      The derived data, again, if we are talking                11:38

7      about location?           Are we?                                         11:38

8              Q.      No.     Just in general.      Derived data in             11:38

9      general.                                                                  11:38

10             A.      Oh.     In general?                                       11:38

11             Q.      Yeah.                                                     11:38

12             A.      Derived data may be your interest like we                 11:38

13     discussed before that may be inferred from you                            11:38

14     liking Beyonce's page, that will show up in the DYI                       11:38

15     file.        So, yes, they will be deleted.                               11:38

16             Q.      Okay.     You -- you referred earlier to data             11:38

17     that is not associated with individuals.                   Do you         11:38

18     recall that?                                                              11:38

19             A.      I need to play back my -- you know, like,                 11:38

20     my sentence.           Okay.   What about it?                             11:38

21             Q.      You -- okay.        So there is data that is not          11:38

22     associated with individual users; is that right?                          11:38

23             A.      Overall?                                                  11:38

24             Q.      Yes.                                                      11:38

25             A.      Yes, we -- we do have some information                    11:38

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1     that is not associated with specific users.                      11:38

2          Q.    Right.                                                11:38

3          A.    Like United's page on Facebook is not                 11:38

4     associated with specific users.                                  11:38

5          Q.    Okay.    We'll put a pin in this and we'll            11:38

6     come back to it.     Because I think really drilling in          11:39

7     on what Facebook can identify about me specifically              11:39

8     is at the heart of this deposition.                              11:39

9




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1           Q.      Okay.    And do you know whether or not             11:39

2

                                                                        11:40

4           A.      I don't know.                                       11:40

5           Q.      Who would know?                                     11:40

6           A.      I don't know.                                       11:40

7           Q.      Who at Facebook was in charge for facial            11:40

8      tech -- recognition technology at this time?                     11:40

9           A.      I don't know.                                       11:40

10          Q.      Who is Emily Sharpe?                                11:40

11          A.      I -- I don't know.     I've heard that name         11:40

12     just recently.                                                   11:40

13          Q.      Okay.    So I'd like for you to turn to the         11:40

14     next page.     It says "Apps, Acquisition, and Creative          11:40

15     Labs" and it has the name of Travis Bright                       11:40

16     underneath it.       Do you see that?                            11:40

17          A.      Yes.                                                11:40

18          Q.      And this is page 3433.                              11:40

19                  Who is Travis Bright?                               11:40

20          A.      I don't know.                                       11:40

21          Q.




                                                                        11:41

25                  Do you see that?                                    11:41

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1           A.    And you said next page?                               11:41

2           Q.    I'm on the -- sorry.      I'm on the bottom           11:41

3      paragraph on the page ending with 3433.                          11:41

4           A.    Oh, okay.                                             11:41

5                 Sorry, which sentence?                                11:41

6           Q.    Well, let's do this.      Do you see where it         11:41

7      says "Data Integration"?                                         11:41

8           A.    Yes.                                                  11:41

9           Q.    Okay.   So there it says, "Facebook's data            11:41

10     is hugely valuable but comes with a lot of                       11:41

11     restrictions we've either placed on ourselves or by              11:41

12     external parties (regulators)."                                  11:41

13                Do you see that?                                      11:41

14          A.    Yes.                                                  11:41

15          Q.    And it says a little bit lower there,                 11:41

16     "Some apps want to take advantage of the data we                 11:41

17     have while some are trying to simplify their app by              11:41

18     running it independently."                                       11:41

19                Do you see that?                                      11:41

20          A.    Yes.                                                  11:41

21          Q.



                                                                        11:41

24                Do you see that?                                      11:42

25          A.    Yes.                                                  11:42

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1           Q.




                                                                        11:42

5           Q.    Got it.                                               11:42

6                 And then looking forward, it says,



                                                                        11:42

9                 Do you see that?                                      11:42

10          A.    Let me see.    Where are you now?                     11:42

11          Q.    I'm sorry.    It's two sentences -- here,             11:42

12     I'll go at the sentence ahead.       "You only need a            11:42

13     phone to create an account, aliases used in the app              11:42

14     aren't linked to Facebook profiles, and they are                 11:42

15     showing ads so don't even need demographic or                    11:42

16     aggregated data."                                                11:42

17                Do you see that?                                      11:42

18          A.    Yes.                                                  11:42

19          Q.    And then it says,



                                                                        11:42

22                Do you see that?                                      11:42

23          A.    Yes.                                                  11:42

24          Q.

                                                                        11:42

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1           A.     No.                                                  11:42

2           Q.     Okay.     Now, it -- it's referring to               11:42

3      Facebook extracting data for reporting and search                11:43

4      warrants.       Do you see that?                                 11:43

5           A.     Yes, I do see that.                                  11:43

6           Q.     Does Facebook do that?                               11:43

7           A.     Export data for search warrants?                     11:43

8           Q.     Yeah.                                                11:43

9           A.     I

                                                                        11:43

11          Q.     Okay.                                                11:43

12                                                                      11:43

13                 THE REPORTER:     I'm sorry.      By the --          11:43

14     BY MS. WEAVER:                                                   11:43

15          Q.     And when Facebook extracts data --                   11:43

16                 THE REPORTER:     I'm sorry.      I'm sorry.

                                                                        11:43

18                 THE WITNESS:     I'm sorry?                          11:43

19                 THE REPORTER:     You said something                 11:43

20                                                                      11:43

21                 THE WITNESS:

                                                                        11:43

23     BY MS. WEAVER:                                                   11:43

24          Q.                                                          11:43

25          A.     Yeah.                                                11:43

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1                 THE REPORTER:     Thank you.                          11:43

2      BY MS. WEAVER:                                                   11:43

3           Q.



                                                                        11:43

6           A.    I haven't been involved in the process, so            11:43

7      I don't know.                                                    11:43

8           Q.    Okay.



                                                                        11:44

11          A.    My understanding is that, yes, we do.                 11:44

12          Q.

                                                                        11:44

14          A.    I don't know.                                         11:44

15          Q.    Who would know?                                       11:44

16          A.    I don't know.                                         11:44

17          Q.    Okay.   So here, going back to the                    11:44

18     paragraph where we started, it says "The next step               11:44

19     up from this is sharing of anonymized, aggregated,               11:44

20     or hashed data."                                                 11:44

21                Do you see that?                                      11:44

22          A.    Yes.                                                  11:44

23          Q.    And what is anonymized data?                          11:44

24          A.    Anonymized is any data that cannot be                 11:44

25     associated with a specific user.                                 11:44

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1              Q.   Okay.   And how does Facebook anonymize                11:44

2      data?                                                               11:44

3              A.   That's a very broad question, but if you               11:44

4      want my high-level understanding, I'm happy to                      11:44

5      answer.                                                             11:45

6              Q.   Yes, please.                                           11:45

7              A.   So normally, we disassociate the data with             11:45

8      anybody's specific identity.         I'll -- I'll use maybe         11:45

9      the San Francisco example.         Without necessarily, you         11:45

10     know, like, suggesting who are the people that live                 11:45

11     in San Francisco who have created a cluster of some                 11:45

12     sort of the people that live in San Francisco.                      11:45

13                  MS. WEAVER:    I'm sorry, my realtime feed             11:45

14     is not working.      Could you read that answer back,               11:45

15     please.                                                             11:45

16                             (The record was read by the                 11:46

17                             court reporter, as requested)               11:46

18     BY MS. WEAVER:                                                      11:46

19             Q.   Okay.   Does every user get a user ID?                 11:46

20     Facebook user ID?                                                   11:46

21             A.   Everybody that has an account on the                   11:46

22     Facebook platform will have a user ID.                              11:46

23             Q.   Okay.   And are there -- does Facebook use             11:46

24     any other identifiers for individuals?                              11:46

25             A.   I think if we look at the beginning of the             11:46

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1      document, it's being suggested that we use things                    11:46

2      like IDFA, the Google ad ID --                                       11:46

3                   THE REPORTER:     I'm sorry.      We use                11:46

4      things --                                                            11:46

5                   MS. WEAVER:     Okay.                                   11:46

6                   THE REPORTER:     I'm sorry.      We use                11:46

7      things --                                                            11:46

8      BY MS. WEAVER:                                                       11:46

9              Q.   What's the longest --                                   11:46

10                  THE REPORTER:     I'm sorry.      We use things         11:46

11     like?                                                                11:46

12                  THE WITNESS:     IDFA and the Google ad ID.             11:46

13                  MS. WEAVER:     We should probably slow down            11:46

14     because we're making our court reporter's life                       11:46

15     miserable.                                                           11:46

16                  THE WITNESS:     Sorry.     I will -- I will.           11:46

17                  MS. WEAVER:     No.     It's my fault, too.             11:46

18             Q.   Okay.   What is the purpose of a user ID?               11:46

19                  MS. STEIN:     Objection to form.                       11:46

20                  THE WITNESS:     Are you talking specifically           11:47

21     about the Facebook user ID?                                          11:47

22     BY MS. WEAVER:                                                       11:47

23             Q.   Yes.                                                    11:47

24             A.   It's to uniquely identify a user within                 11:47

25     our own systems.                                                     11:47

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1           Q.    And among the data Facebook collects from                    11:47

2      apps developed with its API is -- is also app users'                    11:47

3      IP addresses, right?                                                    11:47

4           A.    The SDK will pass (inaudible) --                             11:47

5                 THE REPORTER:     I'm sorry.      One more time.             11:47

6                 THE WITNESS:     Sorry.    I'm talking                       11:47

7      technical terms here.      That's probably why.                         11:47

8                 The SDK will pass that information.                          11:47

9      BY MS. WEAVER:                                                          11:47

10          Q.    Okay.   So the platform that an app                          11:47

11     developer uses to send data will also send a user's                     11:47

12     IP address; is that correct?                                            11:47

13                MS. STEIN:     Objection to form.                            11:47

14                THE WITNESS:     It depends.                                 11:47

15     BY MS. WEAVER:                                                          11:47

16          Q.    Well, I was just trying to say -- instead                    11:47

17     of saying SDK, I was trying to put what you said                        11:47

18     into English, so...                                                     11:48

19          A.    Yes, but there is nuance here.            Because it         11:48

20     may be the IP address of the app's back-end servers                     11:48

21     or the IP address of the phone, depending on when                       11:48

22     the call, the API call is initiated from.                               11:48

23          Q.    Okay.   And the data Facebook collects from                  11:48

24     apps also includes this unique user-specific                            11:48

25     advertiser ID; is that right?                                           11:48

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1           A.    No.                                                   11:48

2           Q.    It does not?                                          11:48

3           A.    That's not correct.                                   11:48

4           Q.    What is incorrect?                                    11:48

5           A.    It's a time you log in with an app using              11:48

6      Facebook, there is a unique identifier that is                   11:48

7      mapped against your Facebook ID but is not the same.             11:48

8      And it's unique to the app.                                      11:48

9           Q.    Okay.     Fair enough.                                11:48

10                And what would you call that?                         11:48

11          A.    It's called app-scoped ID.                            11:48

12          Q.    Okay.     That's an app-scoped ID.                    11:48

13                And then are apps themselves also assigned            11:48

14     separate identifiers?                                            11:49

15          A.    Depends on their architecture.                        11:49

16          Q.    Okay.     So some do and some don't; is that          11:49

17     right?                                                           11:49

18          A.    Yeah.     For example, if an app only uses            11:49

19     Facebook as the only way to authenticate people,                 11:49

20     they may as well use the app-scope ID as their only              11:49

21     identifier.      But if an app uses different                    11:49

22     authentication systems from, like, Google or Apple,              11:49

23     or even email passwords, they would probably have an             11:49

24     additional identifier in order to capture all                    11:49

25     different ways of authentication.                                11:49

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1            Q.   Okay.   And when you say authenticate, what                11:49

2      do you mean?                                                          11:49

3            A.   Apps that require you to create an                         11:49

4      account, which allow you to create an account                         11:49

5      upfront, and then every time you try to log in back                   11:49

6      to that app will authenticate you based on that                       11:49

7      account you have created.                                             11:50

8            Q.   Okay.   So is all data that's associated                   11:50

9      with a user linked through that user's user ID?                       11:50

10                MS. STEIN:     Objection to form.                          11:50

11                THE WITNESS:     I'm sorry.      Is it in the              11:50

12     context of Facebook or third-party apps?                              11:50

13     BY MS. WEAVER:                                                        11:50

14           Q.   Let's do Facebook for now.                                 11:50

15           A.   And so all the data that we have been                      11:50

16     talking about this morning, native data, behavioral                   11:50

17     data, will be associated back to that Facebook user                   11:50

18     ID.                                                                   11:50

19           Q.   I'm sorry, I just didn't hear what...                      11:50

20           A.   The behavioral data --                                     11:50

21           Q.   Would be associated -- yes.          Okay.                 11:50

22     Perfect.                                                              11:50

23                And how is that mapping accomplished?           Is         11:50

24     every data point that's pulled in assigned to the                     11:50

25     user ID?                                                              11:50

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1                  MS. STEIN:     Objection to form.                        11:50

2                  THE WITNESS:     So in my -- so you use Word             11:50

3      With Friends and you have created an account using                   11:51

4      Facebook.    The app developer will make an API call                 11:51

5      the next time you try to open the app and                            11:51

6      authenticate yourself.       The information that they               11:51

7      are going to be passing back to us is your app-scope                 11:51

8      ID.                                                                  11:51

9      BY MS. WEAVER:                                                       11:51

10           Q.    Uh-huh.                                                  11:51

11           A.    And we are going to basically confirm to                 11:51

12     them, that, yes, this is a user; that you have                       11:51

13     previously authenticated successfully and they                       11:51

14     should be logged in.                                                 11:51

15           Q.    Okay.                                                    11:51

16           A.    Now, what -- what we are getting from the                11:51

17     app developer is your app-scoped ID.            And what we          11:51

18     basically do is map it on our end with the Facebook                  11:51

19     User ID.                                                             11:51

20           Q.    Okay.     And what about appended data?       Is         11:51

21     that mapped -- information received about users from                 11:51

22     third parties, what do you call that again?                          11:51

23     Off-site?    No, that's behavioral.                                  11:52

24           A.    Yeah, so this is --                                      11:52

25           Q.    Off-platform?                                            11:52

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1           A.      Off-platform, yes.                                  11:52

2           Q.      So is off-platform data received about              11:52

3      users attached to a Facebook user ID as well?                    11:52

4           A.      I'm trying to think.     No.    My                  11:52

5      understanding is that that's not the kind of data                11:52

6      that would be associated with a specific user                    11:52

7      profile because they are for the purposes of                     11:52

8      creating ad campaigns.                                           11:52

9           Q.      Okay.   So what we were about to get into           11:52

10     here, and we can read the document, but I'll just                11:52

11     ask you.     At some point Facebook aggregates data,             11:52

12     right?     It receives data from advertisers or data             11:52

13     brokers or apps about their activities off-site,                 11:52

14     correct?                                                         11:52

15          A.      Yes.                                                11:52

16          Q.      And then it also possesses information              11:52

17     about users, correct?                                            11:53

18          A.      The possession is not really the right              11:53

19     term, but I understand, I think, what you are                    11:53

20     saying.                                                          11:53

21          Q.      Okay.   And so how does -- and Facebook             11:53

22     also aggregates this data?        It brings the data             11:53

23     together; is that correct?                                       11:53

24          A.      Yes.                                                11:53

25                  MS. STEIN:   Objection to form.                     11:53

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1                   THE REPORTER:     I'm sorry, was there an                    11:53

2      objection?                                                                11:53

3                   MS. STEIN:     I said "Objection to form."                   11:53

4                   THE REPORTER:     Thank you.                                 11:53

5      BY MS. WEAVER:                                                            11:53

6           Q.      How does Facebook authenticate or match                      11:53

7      the data that it's receiving off-site to the data                         11:53

8      that it possesses on-site -- itself?                                      11:53

9           A.      Back to the previous example.             The ID of          11:53

10     that user will be mapped to a user ID.             If a third             11:53

11     party is sending information via SDK or a pixel and                       11:53

12     that association will be, I guess -- let me see.                          11:53

13     That's probably poor framing.                                             11:54

14                  The association will happen at the user ID                   11:54

15     level.                                                                    11:54

16          Q.      Okay.                                                        11:54

17                  So with a user ID you could -- you should                    11:54

18     be able to identify off-site data and data that                           11:54

19     Facebook already possessed because of Facebook                            11:54

20     activity, correct?                                                        11:54

21                  MS. STEIN:     Object to form.                               11:54

22                  THE WITNESS:     Yes, but that's not                         11:54

23     different from what's available in your DYI file.                         11:54

24                  MS. WEAVER:     I'll move to strike.          That's         11:54

25     not what I'm asking.                                                      11:54

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1            Q.     I'm just trying to understand how Facebook              11:54

2      aggregates data.                                                     11:54

3                   So what is a cross-app identifier?                      11:54

4            A.     Is it in the -- sorry.        I'm just looking.         11:54

5            Q.     No, no.     It is in the documents, but do              11:54

6      you know what a cross-app identifier is?                             11:54

7            A.     I think it refers to an identity that                   11:55

8      people have across their family of apps between                      11:55

9      Instagram, Facebook, Messenger, and WhatsApp.                        11:55

10           Q.     Okay.     So do you know what a hashed UID              11:55

11     is?                                                                  11:55

12           A.     In the context of audience network?                     11:55

13     Sorry.     In audiences, as we discussed, advertisers                11:55

14     can upload hashed email addresses or hashed phone                    11:55

15     numbers.     They will then be associated with specific              11:55

16     users on our platform to the extent that they have                   11:55

17     that information provided to us.                                     11:55

18           Q.     Okay.     So I'll ask you to just look at the           11:55

19     bottom of page 433.                                                  11:55

20           A.     Yes.                                                    11:55

21           Q.     Do you see where it begins -- it's in the               11:55

22     middle of the paragraph.        I apologize for this.     It         11:55

23     says "So if Bob sees an ad within a Firefox window."                 11:56

24     Do you see that?                                                     11:56

25           A.     Yes.                                                    11:56

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1           Q.     "So if Bob sees an ad within a Firefox                  11:56

2      window and then later makes a purchase within a                     11:56

3      Chrome window or via his phone, the ad server and                   11:56

4      measurement would not be able to link those actions                 11:56

5      together, leading to poor knowledge about what's                    11:56

6      driving people their purchases."         Do you see that?           11:56

7           A.     Yes, I see that.                                        11:56

8           Q.     And then it says "Facebook can solve this               11:56

9      by writing a hashed UID to the Atlas cookie."           Do          11:56

10     you see that?                                                       11:56

11          A.     Yes.                                                    11:56

12          Q.     And it says




                                                            Do you         11:56

16     see that?                                                           11:56

17          A.     Yes.                                                    11:56

18          Q.     So is this a practice that Facebook                     11:56

19     engaged in during -- from 2012 to 2017?                             11:56

20          A.                                                             11:56

21          Q.     No, in general.                                         11:57

22          A.     In general,




                                                                           11:57

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1

                                                                         11:57

3           Q.    Okay.     Is it true that the Facebook UID is          11:57

4      the same across all of the browsers and devices you               11:57

5      are logged into?                                                  11:57

6           A.    For what is -- for what is related to                  11:57

7      Facebook, yes, that's true.                                       11:57

8           Q.    Okay.     And then how does -- just to return          11:57

9      to our discussion of app-scoped IDs, how does                     11:57

10     mapping between user ID and app-scoped ID                         11:57

11     accomplished?      Is there a table?                              11:57

12          A.    So under your user settings you can see --             11:57

13     your Facebook user settings you can see which apps                11:57

14     you have logged in, right?       So there is an app-scope         11:57

15     ID for each one of those apps.         And it should also         11:57

16     appear on your user profile.                                      11:58

17                THE REPORTER:     I'm sorry, "also appear"...          11:58

18                THE WITNESS:     On the user profile.                  11:58

19     BY MS. WEAVER:                                                    11:58

20          Q.    I'm sorry, I've lost --                                11:58

21          A.    The user settings, whatever you want it.               11:58

22          Q.    Okay.     But it's not -- the DIY profile is           11:58

23     not doing the mapping.      Facebook is doing the                 11:58

24     mapping.   Where is that done?                                    11:58

25          A.    Facebook is doing the mapping ads and it's             11:58

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1      captured in the DYI files.                                             11:58

2           Q.      Okay.     Forget the DIY file.       Where -- how         11:58

3      does the mapping between the user ID and app-scoped                    11:58

4      ID happen?                                                             11:58

5                   MS. STEIN:     Objection to form.                         11:58

6                   THE WITNESS:     Which server?                            11:58

7      BY MS. WEAVER:                                                         11:58

8           Q.      Sorry?                                                    11:58

9           A.      Which server?     I can't answer that                     11:58

10     question.                                                              11:58

11          Q.      I don't -- what do you mean "which                        11:58

12     server"?                                                               11:58

13          A.      I mean I don't understand what -- there's                 11:58

14     no locations, yeah.                                                    11:58

15          Q.      Okay.     So how -- how is the mapping                    11:58

16     accomplished?        Is it an algorithm?                               11:58

17                  MS. STEIN:     Objection to form and --                   11:58

18     BY MS. WEAVER:                                                         11:58

19          Q.      Is there --                                               11:58

20                  MS. STEIN:     -- it's really beyond the                  11:58

21     scope of this deposition at this point.                                11:58

22                  MS. WEAVER:     Fully disagree.       We are              11:59

23     trying to figure out what data can be produced for                     11:59

24     nine plaintiffs.                                                       11:59

25                  MS. STEIN:     You're asking about mapping of             11:59

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1      IDs.                                                                11:59

2                  MS. WEAVER:        Exactly.     I know that you         11:59

3      don't -- well, anyway.                                              11:59

4             Q.   So let's continue.                                      11:59

5             A.   It's -- don't worry.                                    11:59

6             Q.   Thank you.                                              11:59

7             A.   This is -- this is actually not very                    11:59

8      complicated thing.       Because we are issuing the                 11:59

9      app-scope ID, so we don't need to do that mapping.                  11:59

10            Q.   I see.     Okay.     So it --                           11:59

11            A.   We do the mapping when -- the developer                 11:59

12     uses that app-scope ID when they make an API call.                  11:59

13     But we are the ones giving them the app-scope ID.                   11:59

14            Q.   Okay.     All right.     Good.     Thank you.           11:59

15                 Let me turn to one other -- I apologize,                11:59

16     but I want to just stick with this.                                 12:00

17                 Okay.     So let's talk about hashing then              12:00

18     for a second.       Is it true that Facebook -- well, is            12:00

19     hashing a one-way function?                                         12:00

20            A.   I don't understand what you mean by that.               12:00

21            Q.   Hashing is a process of assigning a                     12:00

22     particular piece of data to -- I think Facebook                     12:00

23     uses -- what's it called? -- shaw 256, which is an                  12:00

24     algorithm --                                                        12:00

25            A.   Yes.                                                    12:00

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1           Q.     -- to assign, right?       Okay.                     12:00

2                 So when Facebook hashes that data, is it              12:00

3      possible to reverse engineer and reidentify where                12:00

4      the data came from?                                              12:00

5           A.    I don't know.   I -- my technical knowledge           12:00

6      is not sufficient to answer that question.                       12:00

7           Q.    Okay.   Can hash data be reidentified using           12:00

8      data stored on Facebook systems?                                 12:00

9           A.    It's not meant to be, so I don't know.                12:00

10




                                                                        12:01

17          Q.    Okay.   Are you aware of a rule that data             12:01

18     is hashed after 90 days?                                         12:01

19          A.    In what context?                                      12:01

20          Q.    I -- never mind.     If you're not familiar           12:01

21     with it, it's fine.                                              12:01

22                Is a reidentifier assigned to hashed data?            12:01

23          A.    I think you may be referring -- I'm                   12:01

24     double-guessing.    So give me an honest -- if I'm               12:01

25     going through an account -- I think you are                      12:02

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1      referring to the deletion of an account and our                  12:02

2      ability to preserve the data for 90 days in this                 12:02

3      kind of semi state in case they change their minds.              12:02

4



                                                                        12:02

7      to people to change their minds within a certain                 12:02

8      time frame in case they want to restore in their                 12:02

9      Facebook account.                                                12:02

10



                                                                        12:02

13                MS. STEIN:     Objection to form.                     12:02

14                THE WITNESS:     I don't know.                        12:02

15                MS. WEAVER:     What was the objection?               12:02

16                MS. STEIN:     Objection to form.                     12:02

17                MS. WEAVER:     What was the basis?                   12:02

18                MS. STEIN:     I find your question confusing         12:02

19     and overbroad.                                                   12:02

20                MS. WEAVER:     Okay.   Just wanted to make           12:02

21     sure you weren't coaching the witness.                           12:02

22                MS. STEIN:     I'm saying "Objection to               12:02

23     form."                                                           12:02

24                Lesley, please stop with your coaching                12:02

25     objections.   I've not made a lot of objections and              12:03

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1      they're almost always just objection to form.                     12:03

2      BY MS. WEAVER:                                                    12:03

3           Q.      Are any outputs or products like interests           12:03

4      generated from hashed data?                                       12:03

5           A.      No.                                                  12:03

6           Q.      Is information collected from hashed data?           12:03

7           A.      The hashed data, at least in the context             12:03

8      of custom audiences we have been talking about, it's              12:03

9      not collected.       It's meant to allow us for analysis.         12:03

10          Q.      For analysis on it; is that right?                   12:03

11          A.      To create a custom audience.                         12:03

12          Q.      Okay.    And that would include, for                 12:03

13     example, interests -- is that right? -- an interest               12:03

14     category?                                                         12:03

15          A.      That depends on the advertiser.          The         12:03

16     advertiser may have the ability for themselves to                 12:03

17     create the custom audience based on interests that                12:03

18     they have collected on their ends but not on our --               12:03

19     on our end.                                                       12:03

20                  Just to make sure that we understand what            12:04

21     we're talking about here.       If you're actively                12:04

22     listening on Beyonce on Spotify, and you're probably              12:04

23     not the only one, Spotify can create a custom                     12:04

24     audience based on whoever listens to Beyonce's                    12:04

25     tracks.     That would be the custom audience based on            12:04

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1      any interest, but an interest that is specific to                     12:04

2      Spotify.                                                              12:04

3           Q.    Okay.                                                      12:04

4           A.    But we have no access to that.                             12:04

5           Q.    In your example, is the -- Beyonce, is                     12:04

6      that hashed data?                                                     12:04

7           A.    If Spotify decides to run a custom                         12:04

8      audience campaign on Facebook for everybody that has                  12:04

9      been listening to Beyonce on Spotify, it would come                   12:04

10     in the form of hashed email addresses that we                         12:04

11     wouldn't necessarily have the ability to identify                     12:04

12     with specific users.                                                  12:04

13          Q.    Okay.     So for creating custom audiences                 12:04

14     are hash -- is hashed data combined with nonhashed                    12:04

15     or identified data such as the user profile?                          12:04

16          A.    No.     Why would we do that?       It doesn't             12:05

17     make sense.      I mean from -- not even from a                       12:05

18     technical perspective.      But not even for the purpose              12:05

19     of running a successful campaign.                                     12:05

20                Spotify wants to target specific users                     12:05

21     that are already on their platform for the purpose                    12:05

22     of retargeting.      So there is no point in us, you                  12:05

23     know, like using any other data unless they                           12:05

24     specified into their app -- ad campaign.             But that         12:05

25     would be broader than just the custom audience.                       12:05

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1              Q.   Okay.    All right.     So back to -- we're          12:05

2      almost done with this, I hope.          And thank you for         12:05

3      your patience.       I know we're getting into lunchtime.         12:05

4                   Okay.    Turn, if you wouldn't mind, to the          12:05

5      next page.     It's ending on 434.                                12:05

6              A.   Yes.                                                 12:05

7              Q.   Just looking at the top paragraph there,             12:05

8      do you see where it says




                                                                         12:06

14             A.   Yes.                                                 12:06

15             Q.   Okay.



                                                                         12:06

18             A.   I'm sorry,

                                                     right?              12:06

20             Q.   Okay.    It could be.     We can start with          12:06

21     that.                                                             12:06

22             A.   No, this is the section that talks about             12:06

23     apps, positions and creative apps with Facebook's                 12:06

24     own properties.                                                   12:06

25             Q.                                                        12:06

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1

                                                                               12:06

3           A.      It depends.                                                12:06

4                   MS. STEIN:     Object to form.       You can talk          12:06

5      about the 2012 to 2017 time period.            Don't speculate          12:06

6      as to all times.                                                        12:07

7                   THE WITNESS:     Yeah, this is a very                      12:07

8      difficult question because it depends on the nature                     12:07

9      of the integration and the app in question.                             12:07

10     BY MS. WEAVER:                                                          12:07

11          Q.      What about Instagram?                                      12:07

12          A.      Instagram is almost fully integrated.                      12:07

13          Q.      Okay.   And when you say "almost," what is                 12:07

14     not integrated?                                                         12:07

15          A.      There are certain aspects of the Instagram                 12:07

16     platform that are unique to Instagram.             For example,         12:07

17     you can create an account on Instagram not using                        12:07

18     Facebook.                                                               12:07

19          Q.      In that case is your data still                            12:07

20     integrated?                                                             12:07

21                  MS. STEIN:     Objection to form.                          12:07

22                  THE WITNESS:     In what sense integrated?                 12:07

23     BY MS. WEAVER:                                                          12:07

24          Q.      In the sense that Facebook has access to                   12:07

25     all of it.                                                              12:07

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1              A.   If you go to your DYI file you wouldn't                    12:07

2      find any activity related to what you're doing on                       12:07

3      Instagram.                                                              12:07

4              Q.   That's -- I just -- you keep running to                    12:07

5      the DIY file and I'm not asking --                                      12:07

6              A.   I'm just using -- look, I understand.          But         12:07

7      I'm trying -- I'm just trying to, you know, have you                    12:08

8      understand that everything about you is in that                         12:08

9      file.                                                                   12:08

10             Q.   Except for categories you've identified                    12:08

11     previously?                                                             12:08

12             A.   I'm sorry, I don't understand your --                      12:08

13             Q.   So derived data is not contained in the                    12:08

14     DIY file, right?                                                        12:08

15                  MS. STEIN:     Objection.     Misstates your               12:08

16     testimony.                                                              12:08

17                  THE WITNESS:     I -- I disagree with that                 12:08

18     statement.                                                              12:08

19     BY MS. WEAVER:                                                          12:08

20



                                                                               12:08

23             Q.   Okay.                                                      12:08

24             A.

                                                                               12:08

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1




4           Q.     Okay.   I think we are done with this                    12:09

5      document.    I want to make sure.                                    12:09

6                  You can set aside Exhibit 3.          I don't            12:09

7      think we'll be returning to it, but I can't promise.                 12:09

8                  So we've discussed a vast amount of --                   12:09

9      well, strike that.                                                   12:09

10

                                                                            12:09

12                 MS. STEIN:     Objection.     Outside the scope.         12:09

13                 THE WITNESS:     I don't know.                           12:09

14     BY MS. WEAVER:                                                       12:09

15          Q.




                                                                            12:10

19          Q.     And do you recall how many current                       12:10

20     Facebook users there are in the United States?                       12:10

21          A.     Roughly, I think 200 million or something.               12:10

22          Q.     Okay.   And do you know how many users,                  12:10

23     U.S. users, there have been from 2007 to the                         12:10

24     present?                                                             12:10

25          A.     No, I don't know.                                        12:10

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1                    MS. STEIN:     Objection.     Outside the scope.         12:10

2      BY MS. WEAVER:                                                         12:10

3              Q.    Do you know where in general user data is                12:10

4      stored?      What's a UDB?     Are you familiar with the               12:10

5      term?                                                                  12:10

6              A.    No, but I suspect it means user database.                12:10

7              Q.    And what is it?                                          12:10

8              A.    I don't know.                                            12:10

9              Q.    Does Facebook have user databases?                       12:10

10             A.    We have different databases where we store               12:10

11     information.                                                           12:10

12             Q.    Okay.   Are you familiar with a database                 12:10

13     called MySQL database?                                                 12:11

14             A.    Yes.                                                     12:11

15             Q.    What is it?                                              12:11

16             A.    It's a database that stores different                    12:11

17     kinds of information.                                                  12:11

18             Q.    What kind of information?                                12:11

19             A.    Different entities from users to                         12:11

20     businesses and so on.                                                  12:11

21             Q.    Okay.   So what specific information about               12:11

22     users does MySQL database store?                                       12:11

23             A.    Anything related to your activity on the                 12:11

24     platform is stored in MySQL.                                           12:11

25             Q.    And how many databases support MySQL                     12:11

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1      database?     Is it one database or is it many?                   12:11

2           A.      So this is where I think where we are in             12:11

3      technical territory that I'm not well-placed to                   12:11

4      respond.     We are talking about database                        12:11

5      architecture, which is not my area of expertise.                  12:11

6           Q.      Okay.   Do you recall assisting -- well,             12:11

7      strike that.                                                      12:12

8                   Do you know what an interrogatory is?                12:12

9           A.      Someone that has been interrogated.                  12:12

10          Q.      Fair enough.     We received some written            12:12

11     responses about the location of user data, which is               12:12

12     at the square of this deposition.           And Facebook          12:12

13     identified a few databases where it says user data                12:12

14     is stored.     And I'm just asking if you are familiar            12:12

15     with them.                                                        12:12

16          A.      I'm aware of MySQL.       I'm aware of Tao.          12:12

17     I'm aware of Hive databases where different kinds of              12:12

18     information is stored.                                            12:12

19          Q.      Okay.   I'm just trying to understand what           12:12

20     is stored in each of them.                                        12:12

21          A.      Well, I can't tell you at a high level.              12:12

22                  MS. STEIN:     Lesley, he already testified          12:12

23     to this.     He told you that this is beyond the scope.           12:12

24                  MS. WEAVER:     Please do not state for him.         12:12

25     Please provide me the information.                                12:12

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1                 MS. STEIN:    No, Lesley, Lesley, I'm                 12:12

2      allowed to make my objection.       I'm not coaching the         12:12

3      witness.                                                         12:12

4                 MS. WEAVER:    And that's a fact?                     12:12

5                 MS. STEIN:    I'm about to tell you that the          12:12

6      interrogatories, the technical interrogatories, were             12:12

7      not verified by this witness.                                    12:12

8                 MS. WEAVER:    Who were they verified by?             12:13

9                 MS. STEIN:    The other individual who                12:13

10     verified the other portion of interrogatories.                   12:13

11     BY MS. WEAVER:                                                   12:13

12          Q.    So you're not prepared to testify about               12:13

13     the location of user data today; is that correct?                12:13

14                MS. STEIN:    That's an unfair                        12:13

15     characterization.    He is not testifying about the              12:13

16     architecture of his book systems.                                12:13

17                MS. WEAVER:    Well, we're going to have to           12:13

18     get somebody back for that.                                      12:13

19          Q.    So do you know what's contained in MySQL              12:13

20     database at all other than to say users' activities?             12:13

21          A.    Anything else related to the users                    12:13

22     activities on Facebook should be in MySQL database.              12:13

23     Certain -- certain aspects of those activities, for              12:13

24     example, their connection with other people or with              12:13

25     other entities would probably be captured in Tao                 12:13

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1      database.                                                        12:13

2              Q.   Okay.   And what is --                              12:13

3              A.   Their activities on Facebook or                     12:13

4      off-platform or API calls will be captured on Hive.              12:14

5      That's at a very high level how our database are                 12:14

6      architected.                                                     12:14

7              Q.   And what is Hive?                                   12:14

8              A.   It's a database that captures logs.                 12:14

9              Q.   And what are logs?                                  12:14

10             A.   It's an activity that you have taken on-            12:14

11     or off-platform made by a call that was made from an             12:14

12     app on your behalf.      The fact that you may have              12:14

13     liked someone's photo is something that lives in                 12:14

14     Hive.                                                            12:14

15             Q.   Okay.




                                                                        12:14

19             Q.   Okay.




                                                                        12:15

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1                                                                       12:15

2           Q.    Going back to Tao, is it Tao or Dow?                  12:15

3           A.    T-A-O.                                                12:15

4           Q.    Okay.    That stands for the associations             12:15

5      and optics server; is that right?                                12:15

6           A.    I don't remember what it stands for, but              12:15

7      it's definitely connections, database.                           12:15

8           Q.    Okay.    When you say it's the connections,           12:15

9      is it a relational database?                                     12:15

10          A.    Yes.                                                  12:15

11          Q.    Okay.                                                 12:15

12          A.    It identifies people's connections with               12:15

13     friends and other entities on the platform.                      12:16

14




                                                                        12:16

21          Q.    What is ZippyDB?     Do you know?                     12:16

22          A.    No, I don't really recall what -- ZippyDB.            12:16

23




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1




                                                                        12:17

10                MS. STEIN:     Object to form.                        12:17

11                THE WITNESS:     Yes.                                 12:17

12     BY MS. WEAVER:                                                   12:17

13




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1       1        Q.   Okay.     I'm not asking a good question.         12:17

        2   Let me try again.     Sorry.                                12:17

2       3             For on-site activity that is contained in         12:18

3




                                                                        12:19

23     23   BY MS. WEAVER:                                              12:19

24     24        Q.   Okay.     And so all of that is associated        12:19

25     25   with the Facebook user ID, correct?                         12:19

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1              A.    Because of activity that happens on the             12:19

2      platform, yes.                                                    12:19

3




                                                                         12:19

8              Q.    Like privacy controls should be in the DIY          12:19

9      file?                                                             12:19

10             A.    If you change the privacy controls you              12:19

11     mean?                                                             12:19

12             Q.    I -- in general what the settings are,              12:19

13     sure, yeah.      Is that in the DIY file?                         12:19

14             A.    It's a very broad question because depends          12:19

15     whether -- are you talking about specifically a post              12:19

16     that you made and the privacy controls for that or                12:19

17     privacy controls for a specific attribute on your                 12:19

18     user profile?                                                     12:20

19             Q.    Either.   You can answer both questions.            12:20

20                   MS. STEIN:     Objection to form.                   12:20

21                   THE WITNESS:     We -- we will know and the         12:20

22     DIY file should indicate whether your date of birth               12:20

23     is private information, i.e., only available to you               12:20

24     or available to your friends or available to the                  12:20

25     public.      Because we need to be able to control the            12:20

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1      access to that piece of information whenever someone             12:20

2      requests that information.                                       12:20

3                 And similarly --                                      12:20

4      BY MS. WEAVER:                                                   12:20

5           Q.    I don't mean to cut you off, but let me               12:20

6      just ask because I don't think we -- we want to have             12:20

7      as little time together as possible in some sense,               12:20

8      so let me just ask you what I'm trying to get at.                12:20

9




                                                                        12:21

16                THE REPORTER:    I'm sorry,

                                                                        12:21

18                THE WITNESS:



                                                                        12:21

21     BY MS. WEAVER:                                                   12:21

22          Q.




                                                                        12:21

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1




                                                                         12:22

18                MS. STEIN:   Objection to form.                        12:22

19     BY MS. WEAVER:                                                    12:22

20          Q.    Let me ask it again.      Let me ask it again.         12:22

21     It was just unclean.                                              12:22

22




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1




                                                                        12:23

15                MS. WEAVER:     The realtime is really not            12:23

16     working.   Could you please read his response back.              12:23

17                             (The record was read by the              12:24

18                             court reporter, as requested)            12:24

19     BY MS. WEAVER:                                                   12:24

20          Q.    So how in the DIY file does it appear?                12:24

21     What does that look like, last attempted effort to               12:24

22     reidentify with an app?                                          12:25

23                MS. STEIN:     Object to form.                        12:25

24                THE WITNESS:     You have the list of apps            12:25

25     that you have authenticated using Facebook log-in at             12:25

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1      the time, the last --                                                     12:25

2      BY MS. WEAVER:                                                            12:25

3




                                                                                 12:26

16                  MS. STEIN:     Objection to form.         Beyond the         12:26

17     scope.                                                                    12:26

18                  THE WITNESS:     I don't know.                               12:26

19     BY MS. WEAVER:                                                            12:26

20          Q.      Who would know?                                              12:26

21          A.      Someone with technical knowledge of                          12:26

22     databases.                                                                12:26

23



                                                                                 12:26

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1                                                                       12:26

2              Q.   Do you have a name of somebody in data              12:26

3      science?                                                         12:26

4              A.   No, I don't.                                        12:26

5              Q.   Could you find that out?                            12:26

6              A.   Are you asking me or the counsel?                   12:26

7              Q.   I'm asking Facebook, you.                           12:26

8              A.   I could.                                            12:26

9              Q.   Yeah.                                               12:26

10             A.   But I need -- I need to understand exactly          12:26

11     the technical, you know, aspects of your question                12:26

12     and make sure --                                                 12:26

13




                                                                        12:27

20             Q.   Do you know if that's occurred in this              12:27

21     case?                                                            12:27

22                  MS. STEIN:     I'm just going to object             12:27

23     because the witness just told you that he didn't                 12:27

24     know one way or the other and is guessing, so...                 12:27

25     BY MS. WEAVER:                                                   12:27

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1              Q.   Do you know if that's occurred in this              12:27

2      case?                                                            12:27

3              A.   I don't know what information is available          12:27

4      for your plaintiffs.                                             12:27

5              Q.   Yeah.   Do you know what's been collected           12:27

6      by Facebook relating to our plaintiffs out of the                12:27

7      Hive database?                                                   12:27

8              A.   I'm aware that they -- the DYI files of             12:27

9      those plaintiffs were made available to -- to the                12:27

10     plaintiffs.     Based on what you've told me, I assume           12:27

11     that's sufficient.                                               12:27

12




                                                                        12:28

24                  MS. STEIN:   I think now is a good time for         12:28

25     lunch.                                                           12:28

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1       1                 MS. WEAVER:     That's fine.     We can go to         12:28

        2      lunch and why don't we -- do you want a half an                  12:28

2       3      hour?                                                            12:28

3       4                 THE REPORTER:        Do you want to go off the        12:28

4       5      record first?                                                    12:28

5       6                 MS. WEAVER:     Yes, let's go off the record.         12:28

6       7                 THE VIDEOGRAPHER:        We are off the record        12:28

7                               12:28      8      at       p.m.

8      12:28

9       9              (Whereupon a luncheon recess was had.)                   12:28

10     10

11     11

12     12

13     13

14     14

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23     23

24     24

25     25

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1                      Tuesday, February 23, 2021                          01:15

2                                   1:19 P.M.                              01:15

3                                                                          01:15

4                   THE VIDEOGRAPHER:      We are on the record at         01:19

5      1:19 p.m.                                                           01:19

6                            EXAMINATION (resumed)                         01:19

7      BY MS. WEAVER:                                                      01:19

8              Q.   Good afternoon, K.P.        Do you understand          01:19

9      that you are still under oath?                                      01:19

10             A.   Yes, I do.     Thank you.                              01:19

11             Q.   Okay.     Let's change focus a little bit.             01:19

12                  What is News Feed?                                     01:20

13             A.   The easiest way to describe the News Feed              01:20

14     is a collection of stories published by pages you                   01:20

15     follow or your friends that you would see when you                  01:20

16     go to Facebook or when you open the Android or iOS,                 01:20

17     yeah.                                                               01:20

18             Q.   And does an algorithm determine the                    01:20

19     content that a user receives on News Feed?                          01:20

20             A.   Yes, it does.                                          01:20

21             Q.   It's an intelligent algorithm, right; so               01:20

22     it's constantly learning?                                           01:20

23             A.   It's an intelligent algorithm because the              01:20

24     purpose of the feed is to be relevant to the user.                  01:20

25             Q.   Right.     But -- so it's constantly                   01:20

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1      learning, right?                                                 01:20

2             A.   Yes, it will --                                      01:20

3             Q.   Changes --                                           01:20

4             A.   It updates itself periodically based on              01:20

5      information around your response to some of the                  01:20

6      stories that you see.                                            01:20

7             Q.   Okay.    And what are the inputs for the             01:20

8      algorithm so that it can be intelligent and learn?               01:20

9                  MS. STEIN:     Objection to form.                    01:21

10                 THE WITNESS:     Your interactions with              01:21

11     content that shows up on the News Feed informs how               01:21

12     the algorithm trains itselves -- itself.                         01:21

13     BY MS. WEAVER:                                                   01:21

14            Q.   And so when a user clicks on a story or              01:21

15     engages with it, does Facebook record that activity?             01:21

16            A.   There is a record of that activity, yes.             01:21

17            Q.   Fair enough.     Thank you.                          01:21

18                 So is one objective of News Feed to                  01:21

19     increase users interaction with varying courses of               01:21

20     content to learn what they are interested in?                    01:21

21            A.   The main objective of the News Feed is to            01:21

22     keep you informed about the things that matter to                01:21

23     you.                                                             01:21

24            Q.   Right.    And so how does News Feed                  01:21

25     determine what matters to you?                                   01:21

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1           A.    Based on your interactions with the                       01:21

2      comments that show up there, it trains itself.                       01:21

3           Q.    And is it true that the more the user                     01:22

4      engages on the platform, the more accurate News Feed                 01:22

5      will be?                                                             01:22

6           A.    The level --                                              01:22

7                 MS. STEIN:     Object to form.                            01:22

8                 THE WITNESS:     It's very subjective.                    01:22

9      BY MS. WEAVER:                                                       01:22

10          Q.    Okay.   But isn't it true that the more                   01:22

11     data points the algorithm has about users, the more                  01:22

12     it can correctly gauge whether or not it is giving                   01:22

13     users the content they want to see?                                  01:22

14                MS. STEIN:     Objection to form.                         01:22

15                THE WITNESS:     Like I think I said, the                 01:22

16     purpose of the News Feed is to connect you with                      01:22

17     information that's relevant to you.          And so there is         01:22

18     no element of accuracy in that sense.           It all goes          01:22

19     back to relevance.      And relevance --                             01:22

20     BY MS. WEAVER:                                                       01:22

21          Q.    Okay.                                                     01:22

22          A.     -- is very subjective.                                   01:22

23          Q.    And what does relevance mean to you?                      01:22

24          A.    Relevance is a way of being captured by                   01:22

25     the kind of interactions you have with that piece of                 01:23

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1      content.                                                                  01:23

2            Q.     Okay.   So when you say -- so Facebook is                    01:23

3      trying to give me a News Feed that I will find                            01:23

4      relevant; is that right?                                                  01:23

5            A.     Correct.                                                     01:23

6            Q.     And how does it find what is relevant to                     01:23

7      me?                                                                       01:23

8            A.     It's calculated in realtime, and based on                    01:23

9      the interactions you're going to have with the                            01:23

10     content that is displayed to you, we will determine                       01:23

11     whether content from the same entity or of the same                       01:23

12     kind would be relevant to you in a future instance.                       01:23

13           Q.     So is it Facebook's view that these data                     01:23

14     sets are necessary to determine the relevancy of                          01:23

15     these updates to users?                                                   01:23

16                  MS. STEIN:     Objection to form.         Beyond the         01:23

17     scope.                                                                    01:23

18                  THE WITNESS:     Are you talking about                       01:23

19     specific data sets?                                                       01:23

20     BY MS. WEAVER:                                                            01:23

21           Q.     In general, just in general at a high                        01:23

22     level.                                                                    01:23

23                  MS. STEIN:     Objection to form and beyond                  01:23

24     the scope.                                                                01:23

25                  THE WITNESS:     There are certain signals                   01:24

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1      that we are going to be using to determine how the                 01:24

2      future versions of the New Feeds would be relevant                 01:24

3      to you.                                                            01:24

4      BY MS. WEAVER:                                                     01:24

5           Q.      Okay.   And what signals are those?                   01:24

6           A.      Your affinity with the people that posting            01:24

7      those stories, so the business entity that is                      01:24

8      posting those stories to your previous response to                 01:24

9      content of the same type.                                          01:24

10          Q.      And all of this is data that Facebook                 01:24

11     collects about users while they're on and off the                  01:24

12     platform, correct?                                                 01:24

13          A.      We record --                                          01:24

14                  MS. STEIN:     Objection to form.                     01:24

15                  THE WITNESS:     We record the interactions           01:24

16     you have with that platform to inform the future                   01:24

17     (indecipherable) --                                                01:24

18                  THE REPORTER:     I'm sorry, I did not -- I'm         01:24

19     sorry, I did not understand.                                       01:24

20     BY MS. WEAVER:                                                     01:24

21          Q.      In order to inform?       I did not hear the          01:24

22     last part.                                                         01:24

23          A.      A future -- a future instance of the News             01:24

24     Feed that will remain relevant to you.                             01:24

25          Q.      Is there a standard set of documents or               01:24

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1      manuals that describes how News Feed operates?                   01:24

2           A.    There is nothing like that.                           01:25

3           Q.    Okay.   Does Facebook use internal training           01:25

4      manuals when a new hire comes on or do they point                01:25

5      just everybody to the public website?                            01:25

6           A.    For what purposes?                                    01:25

7           Q.    For -- let's say you hire an engineer who             01:25

8      is going to work on the algorithm for News Feed.                 01:25

9           A.    I haven't been through that training so I             01:25

10     don't have firsthand experience.                                 01:25

11          Q.    Okay.   When you started at Facebook did              01:25

12     they give you a training manual?                                 01:25

13          A.    What do you mean, like a book printed?                01:25

14          Q.    Yeah, or online, some kind of way to                  01:25

15     acclimate you to how Facebook operates.                          01:25

16          A.    Well, they're -- my obligations to                    01:25

17     Facebook are documented in different formats.       In           01:25

18     2012 I did not get a paper copy of that, but I was               01:25

19     given links to trainings that I had to undertake to              01:25

20     verify my understanding of the company's policies.               01:25

21          Q.    Okay.   So we discussed this earlier in the           01:26

22     morning.   But apps on Facebook's platform send                  01:26

23     information about users of those apps to Facebook,               01:26

24     right?                                                           01:26

25          A.    Apps on Facebook platform send information            01:26

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1      about those users back to Facebook, is that the                  01:26

2      question?                                                        01:26

3           Q.     Yes.                                                 01:26

4                  MS. STEIN:     Objection to form.                    01:26

5                  THE WITNESS:     They send certain pieces of         01:26

6      information about those users, the users' activities             01:26

7      to those --                                                      01:26

8      BY MS. WEAVER:                                                   01:26

9           Q.     Right.     Is it a true statement that app           01:26

10     developers share data with Facebook through the                  01:26

11     Facebook software development kit?                               01:26

12          A.     Different kinds of data, but yes.                    01:27

13          Q.     Yes?     The answer is "yes," isn't it?              01:27

14          A.     Yes.                                                 01:27

15          Q.     Okay.     So I'm just going to say, apps on          01:27

16     Facebook's platform send information about users of              01:27

17     those apps to Facebook, correct?                                 01:27

18                 MS. STEIN:     Objection.     The witness            01:27

19     clarified the statement for you.                                 01:27

20                 THE WITNESS:     Yeah, an app developer that         01:27

21     uses the SDK will send different pieces of                       01:27

22     information related to that user or the activity of              01:27

23     that user to that third-party app.                               01:27

24     BY MS. WEAVER:                                                   01:27

25          Q.     Okay.     Are you familiar with action               01:27

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1      importers?                                                           01:27

2              A.   Action importers?        Vaguely.                       01:27

3              Q.   Okay.   What's your recollection?                       01:27

4                   MS. STEIN:     Objection to form.                       01:27

5                   THE WITNESS:     I -- I don't want to answer            01:27

6      because I don't know in what context.                                01:27

7                   MS. WEAVER:     Are you instructing him not             01:27

8      to answer?                                                           01:27

9                   MS. STEIN:     Did you hear me instruct him             01:28

10     not to answer, Lesley?                                               01:28

11                  MS. WEAVER:     Okay.                                   01:28

12                  MS. STEIN:     The witness is testifying in             01:28

13     response to your question.           Why don't you listen to         01:28

14     him.                                                                 01:28

15                  MS. WEAVER:     I'd rather listen to him for            01:28

16     sure.                                                                01:28

17             Q.   What are -- what is action importers,                   01:28

18     K.P., please?                                                        01:28

19             A.   I need you to provide me a little bit more              01:28

20     context.                                                             01:28

21             Q.   What is your understanding of what action               01:28

22     importers is?                                                        01:28

23             A.   It was a feature, by my recollection, of                01:28

24     the platform that allowed the third party to do an                   01:28

25     import of all the actions taken by a user on a                       01:28

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1      third-party app.                                                           01:28

2              Q.      When you say --                                            01:28

3                      MS. WEAVER:     Could you repeat the last                  01:28

4      part?        Could you read back his response?            Realtime         01:28

5      is still not working.                                                      01:28

6                                   (The record was read by the                   01:28

7                                   court reporter, as requested)                 01:28

8      BY MS. WEAVER:                                                             01:28

9              Q.      Okay.   And when did action importers                      01:29

10     function?        Was it during the 2012 to 2017 time                       01:29

11     frame?                                                                     01:29

12             A.      I don't know.                                              01:29

13             Q.      Who would know?                                            01:29

14             A.      I don't know who would know.                               01:29

15             Q.      Can you, as testifying on behalf of                        01:29

16     Facebook today, say that you do not know who was                           01:29

17     involved with action importers?                                            01:29

18             A.      No, because my understanding of that                       01:29

19     feature -- my recollection, again, being before                            01:29

20     my -- you know, my date of arrival at Facebook.                            01:29

21



                                                                                  01:29

24                     MS. STEIN:     Objection to form.                          01:29

25                                                                                01:29

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1




                                                                        01:30

5      BY MS. WEAVER:                                                   01:30

6           Q.     What is data reciprocity, to your                    01:30

7      understanding?                                                   01:30

8           A.     Data in that context is very broad.     I'm          01:30

9      talking about specific obligations stemming out of               01:30

10     the platform policies that require a third-party                 01:30

11     developer to allow people to post activity from that             01:30

12     app back to Facebook.                                            01:30

13          Q.     No, I'm talking about Facebook and apps              01:30

14     sharing data with each other.       Facebook provided            01:30

15     data to apps and apps provided data back to                      01:30

16     Facebook.    Are you aware --                                    01:30

17                 MS. STEIN:   Objection.                              01:30

18     BY MS. WEAVER:                                                   01:30

19          Q.      -- of that occurring during the time                01:30

20     frame 2012 to 2017?                                              01:30

21                 MS. STEIN:   Objection to form.                      01:30

22




                                                                        01:30

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1      BY MS. WEAVER:                                                       01:30

2           Q.     I'm not talking about users --                           01:30

3                  MS. STEIN:     Lesley -- Lesley, let the                 01:31

4      witness finish his answer.                                           01:31

5                  MS. WEAVER:     He's not answering the right             01:31

6      question.                                                            01:31

7                  MS. STEIN:     He's answering -- just don't              01:31

8      cut off the witness when he's speaking.                              01:31

9      BY MS. WEAVER:                                                       01:31

10          Q.     K.P., this is what I'm asking.            Let me         01:31

11     rephrase the question.                                               01:31

12                 I'm not talking about users sharing data.                01:31

13     I'm talking about the apps providing data to                         01:31

14     Facebook and Facebook providing data to the apps.                    01:31

15                 Are you aware of that kind of data                       01:31

16     reciprocity occurring during 2012 through 2017?                      01:31

17                 MS. STEIN:     Objection to form.                        01:31

18                 THE WITNESS:     I think I'm trying to                   01:31

19     respond to the question, but I don't know that's --                  01:31

20     maybe it's my fault; I'm not making myself clear.                    01:31

21                 People that -- people that log in with a                 01:31

22     third-party app are making their Facebook data                       01:31

23     available to a third-party app.          And in response, a          01:31

24     third-party app can allow a user to publish back to                  01:31

25     Facebook.    That involves some sort of data setting                 01:31

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1      as well.     If that's what you're referring to, then             01:31

2      the answer is yes.                                                01:31

3      BY MS. WEAVER:                                                    01:31

4              Q.   Did Facebook provide user data to the                01:31

5      apps?                                                             01:31

6              A.   To the extent that user log in with                  01:32

7      Facebook, yes.                                                    01:32

8              Q.   Okay.   And at some point did you hear of            01:32

9      anyone saying they wanted to let apps crawl                       01:32

10     Facebook's APIs and access Facebook's data as long                01:32

11     as Facebook could call their APIs and crawl their                 01:32

12     website and access their data?          Were you aware of         01:32

13     that occurring?                                                   01:32

14                  MS. STEIN:     Objection to form.                    01:32

15                  THE WITNESS:     I think the way it was              01:32

16     stated is fundamentally wrong because there's no way              01:32

17     you can crawl an API.                                             01:32

18     BY MS. WEAVER:                                                    01:32

19



                                                                         01:32

22                  MS. STEIN:     Objection to form.                    01:32

23




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1




                                                                        01:33

18     BY MS. WEAVER:                                                   01:33

19          Q.    And what was the Apps Events tool?                    01:33

20          A.    I'm sorry, which one?                                 01:33

21          Q.    App Events.                                           01:33

22          A.    So App Event is an equivalent of a                    01:33

23     Facebook pixel.    Facebook pixel --                             01:33

24          Q.    Okay.                                                 01:34

25          A.    -- works on the web and App Event works in            01:34

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1      native iOS or Android app.                                         01:34

2           Q.    And are you aware, then, of a custom                    01:34

3      analytics -- well, are you aware of something called               01:34

4      Custom Events?                                                     01:34

5           A.    Yes, I'm aware.                                         01:34

6           Q.    What is that?                                           01:34

7           A.    And so Facebook provided a predetermined                01:34

8      list of events that any developer could use as an                  01:34

9      off-the-shelf solution, events like an app in store,               01:34

10     events like app registration, things like that,                    01:34

11     where -- predetermined list.      I think there were 18            01:34

12     of them.                                                           01:34

13                A custom app event is an event that an app              01:34

14     developer can create to track specific activity to                 01:34

15     that app that is for that app and that app only.        So         01:34

16     a custom event for a Nike app would be a run, which                01:34

17     is an event specific to this app.        Or for Spotify it         01:34

18     would be a track to listen to which is specific to                 01:34

19     Spotify.                                                           01:34

20          Q.    And then does Facebook use the information              01:35

21     it collects to provide analytics like aggregate its                01:35

22     statistics and insights for its advertisers and                    01:35

23     third-party partners?                                              01:35

24          A.    To the extent that -- sorry.                            01:35

25                THE REPORTER:     Was there an objection?               01:35

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1                 MS. STEIN:     I said "Objection to form."            01:35

2                 THE REPORTER:     Thank you.                          01:35

3                 THE WITNESS:     The purposes of us providing         01:35

4      this capability was to provide aggregated data back              01:35

5      to the third-party developers about usage patterns               01:35

6      on their apps.                                                   01:35

7      BY MS. WEAVER:                                                   01:35

8           Q.    And -- strike that.                                   01:35

9                 And did Facebook often obtain sensitive               01:35

10     data from app developers?                                        01:35

11                MS. STEIN:     Objection to form.                     01:35

12                THE WITNESS:     It depends.      What do you         01:35

13     mean by "sensitive data"?                                        01:35

14     BY MS. WEAVER:                                                   01:35

15          Q.    Did Facebook receive information about                01:35

16     diseases, medical conditions and injuries, or sexual             01:35

17     and reproductive health from apps?                               01:36

18          A.    By design, the app events, they do not                01:36

19     allow, you know, a third-party developer to be                   01:36

20     passing that information.                                        01:36

21          Q.    Okay.   Well, I don't know what you mean by           01:36

22     "by design," but the question is pretty simple.                  01:36

23                Is it your testimony today that Facebook              01:36

24     did not obtain data relating to diseases, medical                01:36

25     conditions and injuries, or sexual and reproductive              01:36

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1      health from apps?                                                01:36

2           A.    Well, it's a very broad question, so I'm              01:36

3      trying to respond to the best of my ability.                     01:36

4                 So by design, access to that information              01:36

5      was not available.      However, if the app developer            01:36

6      decided to tell us about an event that was a custom              01:36

7      event that may have disclosed some of that                       01:36

8      information, we would have discussed it.                         01:36

9           Q.    As you sit here today, do you know whether            01:36

10     or not Facebook received data that related to                    01:36

11     diseases, medical conditions and injuries, or sexual             01:37

12     and reproductive health?                                         01:37

13          A.    There was an incident we had a year or two            01:37

14     ago with period tracker apps that were sending app               01:37

15     events, custom app events, around the cycle of a                 01:37

16     certain user.      If that's what you mean by this               01:37

17     category, then the answer is yes.                                01:37

18          Q.    Okay.     And did those categories also               01:37

19     include mental health and psychological states,                  01:37

20     types of medical devices and health trackers,                    01:37

21     medical treatments, body specifications, bodily                  01:37

22     activities and biological cycles, among other                    01:37

23     things?                                                          01:37

24          A.    I don't know, but I don't think it's                  01:37

25     possible to do that.                                             01:37

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1           Q.    Were you part of the team that                         01:37

2      investigated this?                                                01:37

3           A.    No.                                                    01:37

4           Q.    Who was?                                               01:37

5           A.    I don't know.                                          01:37

6           Q.    Okay.   When Facebook did receive the                  01:37

7      sensitive information such as diseases, medical                   01:37

8      conditions, injuries, sexual and reproductive                     01:37

9      health, did that -- where did that data go?                       01:37

10                MS. STEIN:     Objection to form.                      01:37

11                THE WITNESS:     You're making an assumption           01:38

12     that we did receive.      I only referred to a specific           01:38

13     incident around period trackers.                                  01:38

14     BY MS. WEAVER:                                                    01:38

15          Q.    Okay.   So in that instance, where did --              01:38

16          A.    I can only respond to that.                            01:38

17          Q.    Okay.   In that instance, where did the                01:38

18     data go?                                                          01:38

19          A.    The data were aggregated and anonymized.               01:38

20          Q.    Okay.   But Facebook still retains it then;            01:38

21     is that right?                                                    01:38

22          A.    No, since we have deleted the data.       They         01:38

23     shouldn't have arrived --                                         01:38

24          Q.    How could you delete it if it was                      01:38

25     anonymized?                                                       01:38

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1              A.     What do you mean?                                          01:38

2              Q.     You just said "We deleted the data," but                   01:38

3      you described that data as anonymized.            So how did              01:38

4      you delete it if it was anonymized?           How did you                 01:38

5      identify which data to delete?                                            01:38

6              A.     This is a technical question.          But you can         01:38

7      imagine an app event that basically suggests period                       01:38

8      start.       It's somewhere locked, so I can -- not me                    01:38

9      personally, but we can identify probably app events                       01:38

10     that are associated with a specific action that                           01:38

11     shouldn't have been recorded that we will then have                       01:38

12     to delete.       And we would work with the developer to                  01:39

13     remove this kind of custom events from being sent.                        01:39

14




21             Q.     When was that data deleted?                                01:39

22             A.     I don't have an exact recollection of                      01:39

23     that.                                                                     01:39

24             Q.     Was it in 2018?                                            01:39

25             A.     It may be 2018, 2019, around that time                     01:39

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1      frame.                                                               01:39

2           Q.      Who made the decision to delete it?                     01:39

3           A.      I don't know.     I wasn't involved in this             01:39

4      investigation.                                                       01:39

5           Q.      Once that data is deleted can it be                     01:39

6      recovered?                                                           01:39

7                   MS. STEIN:     Objection.     Outside the scope         01:39

8      of this witness's knowledge.                                         01:39

9                   THE WITNESS:     I don't know.                          01:39

10     BY MS. WEAVER:                                                       01:39

11          Q.      But you knew that it was deleted; is that               01:40

12     right?                                                               01:40

13          A.      I know that's -- the data has been                      01:40

14     deleted, yes.                                                        01:40

15          Q.      How did you come to know that?                          01:40

16          A.      Because I was part of the communications                01:40

17     to the developer audience about the specific                         01:40

18     instance.                                                            01:40

19          Q.      And which developer are you thinking of?                01:40

20          A.      There were a number of period tracker apps              01:40

21     that have to comply.                                                 01:40

22          Q.      Can you identify some of them?                          01:40

23          A.      Not at the top of my mind.                              01:40

24          Q.      Flow Health?                                            01:40

25          A.      I don't recall that.                                    01:40

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1           Q.    How would you refresh your recollection?                    01:40

2           A.    I would have to look at the entire                          01:40

3      universe of apps that have been in scope that have                     01:40

4      been sending this kind of events.                                      01:40

5           Q.    Why did Facebook delete the data?                           01:40

6           A.    Because that's not the kind of data                         01:40

7      that's -- we want to have access to.                                   01:40

8           Q.    Were any regulators involved?                               01:40

9           A.    For that, I don't know.                                     01:41

10          Q.    Okay.   When Facebook receives information                  01:41

11     about an individual from an app, does Facebook                         01:41

12     associate that information with other information                      01:41

13     Facebook has collected about that individual through                   01:41

14     the Facebook user ID?                                                  01:41

15                MS. STEIN:     Objection to form.                           01:41

16                THE WITNESS:     Again, depends what kind of                01:41

17     data we're talking about here.                                         01:41

18     BY MS. WEAVER:                                                         01:41

19          Q.    Let's say sensitive health data like                        01:41

20     diseases, medical, injuries, sexual or reproductive                    01:41

21     health.                                                                01:41

22          A.    If the data has been communicated to us                     01:41

23     through app events, no.                                                01:41

24          Q.    Okay.   When is the answer yes?           When does         01:41

25     it connect it to other users?                                          01:41

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1           A.    If the user basically establishes that                01:41

2      they are suffering from a certain disease and they               01:41

3      decide to post on Facebook and tell their friends                01:41

4      about it, then yes.                                              01:41

5           Q.    So even if the post is to three of my                 01:41

6      friends, Facebook will collect that data; is that                01:41

7      right?                                                           01:41

8                 MS. STEIN:     Objection to form.                     01:42

9                 THE WITNESS:     Well, you're posting it to           01:42

10     Facebook, so, yes, Facebook will have an                         01:42

11     understanding of that.                                           01:42

12     BY MS. WEAVER:                                                   01:42

13          Q.    Even if it's to a restricted audience?                01:42

14          A.    That audience will have access to that                01:42

15     data, but someone has to host the data in order to               01:42

16     be able to sell it to that audience, and we provide              01:42

17     the service.                                                     01:42

18          Q.    And then does Facebook -- I'm sorry.                  01:42

19          A.    Sorry.   We provide the service, so yes.              01:42

20          Q.    So then does Facebook then use that                   01:42

21     information to create custom target audiences for                01:42

22     advertisers?                                                     01:42

23          A.    Are you talking broadly or about the                  01:42

24     specific things?                                                 01:42

25          Q.    Both.                                                 01:42

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1                  MS. STEIN:     Objection to form.                             01:42

2                  THE WITNESS:     Like -- it's a very broad                    01:42

3      question.    So I would say that if we know that you                      01:42

4      use -- if you play Candy Crush Saga 10 times a day,                       01:42

5      that may inform our targeting for U.S. potential                          01:42

6      audience for games of this same genre.                                    01:42

7                  If we have expressed -- or if we establish                    01:43

8      your affinity to Beyonce, again like I described                          01:43

9      before, we would use that information to target you                       01:43

10     with like R&B music.                                                      01:43

11     BY MS. WEAVER:                                                            01:43

12          Q.     So let's talk about custom audiences for a                    01:43

13     moment, though, please.                                                   01:43

14                 So if I posted to three friends that I had                    01:43

15     a medical condition and Facebook collects that                            01:43

16     information, does Facebook use that information to                        01:43

17     create a custom audience for advertisers if they are                      01:43

18     seeking something about a medical condition?                              01:43

19          A.     No, that's not how it works.                                  01:43

20          Q.     Why doesn't it work that way?             Why does it         01:43

21     only work for Beyonce but not a medical condition?                        01:43

22                 MS. STEIN:     Objection to form.                             01:43

23                 THE WITNESS:     Because a custom audience is                 01:43

24     an advertisement product that reengages with                              01:43

25     customers of an existing business.                                        01:43

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1      BY MS. WEAVER:                                                   01:43

2           Q.     Right.   I understand what it is.                    01:43

3                  So I'm a business and I come to Facebook             01:43

4      and I say "I want -- I want to target people with                01:43

5      this medical condition."     Does Facebook provide               01:44

6      that -- that custom audience?                                    01:44

7           A.     No, that's not how it works.        If you           01:44

8      really want to use custom audience, you need to                  01:44

9      provide with hashed email addresses or information               01:44

10     about the users that you have diagnosed to have                  01:44

11     suffered from that disease.                                      01:44

12          Q.     Could you repeat the last part of the                01:44

13     sentence?    I just didn't understand.                           01:44

14          A.     So let's say you use a medical app for the           01:44

15     sake of the argument.                                            01:44

16          Q.     Okay.                                                01:44

17          A.     And you have a thousand users that went              01:44

18     through a questionnaire and they have been diagnosed             01:44

19     with, say, alcoholism.     That's probably a bad                 01:44

20     example because I don't think -- but, anyhow, let's              01:44

21     use that.                                                        01:44

22                 Then to the extent that you can identify             01:44

23     those users because they have created an account                 01:44

24     with that medical app using their email address or               01:44

25     the phone number, you can upload the email addresses             01:44

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1      of those thousand users hashed to us and then we are                   01:44

2      going to create the custom audience ad campaign                        01:45

3      trying to find those 1,000 users on Facebook.                          01:45

4                   To the extent that they exist, they will                  01:45

5      see an ad.     But, again, the ad will compete with                    01:45

6      other ads, like we discussed before.            But it will be         01:45

7      a database provided by the third party hashed, so                      01:45

8      anonymized with specific people that have been                         01:45

9      diagnosed to suffer from a certain disease.                            01:45

10             Q.   Okay.   Let's talk for a moment about APIs.               01:45

11     We touched upon them this morning.           Do you recall             01:45

12     that?                                                                  01:45

13             A.   Yes.                                                      01:45

14             Q.   You're aware at some point that -- well,                  01:45

15     there was more than one version of Graph API over                      01:45

16     time; is that right?                                                   01:45

17             A.   Yes, Version 1 of the API, it's being --                  01:45

18     running from 2008 or 2009 until 2000 -- May 1st,                       01:45

19     2015.                                                                  01:46

20             Q.   It was accessible until April 2015 or                     01:46

21     May 2015?                                                              01:46

22             A.   I think it's May 1st, but it may be...                    01:46

23                  MS. WEAVER:   You should amend your rog                   01:46

24     responses, Deb.                                                        01:46

25             Q.   And by "accessible," that means third                     01:46

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1      parties could access data through it; is that                    01:46

2      correct?                                                         01:46

3              A.   Yes.                                                01:46

4              Q.   Okay.   And then Graph API Version 2 came           01:46

5      into being at some point; is that right?                         01:46

6              A.   Graph API V2 was launched on April 30,              01:46

7      2014.                                                            01:46

8              Q.   Okay.   And it was accessible until                 01:46

9      May 2020; is that right?                                         01:46

10             A.   The Version 2?     I'm sorry.                       01:46

11             Q.   Version 2, yeah.                                    01:46

12             A.   Are you talking about Version 2?                    01:46

13             Q.   Yes, Version 2 was accessible until                 01:46

14     May 2020; is that correct?                                       01:46

15             A.   I need to check because I don't know when           01:46

16     the last version -- the last Version 2 of the API                01:47

17     was final, approved.      Because we have Version 3              01:47

18     right now.                                                       01:47

19             Q.   Okay.   Right.   And Version 3 came into            01:47

20     effect May 2018; is that right?                                  01:47

21             A.   That seems about right.                             01:47

22             Q.   Okay.   And that was accessible -- it will          01:47

23     be accessible through August 2021; is that correct?              01:47

24             A.   So let me take a step back to explain a             01:47

25     little bit how the replacement process works because             01:47

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1      I think that may be helpful.                                     01:47

2                  An API is rolled out at a specific point             01:47

3      in time and the version of this API is successful                01:47

4      for the next 2-plus years.       Each time we release a          01:47

5      new version of the API, that means that the previous             01:47

6      would be accessible for the period of time between               01:47

7      that plus-2 years.    So the lifetime of the version             01:47

8      of the API would be 2-plus years, more or less two               01:47

9      to three months on top of the 2-year mark.                       01:47

10                 But we have versions that start from 2.0             01:47

11     to 2.1 all the way to 2.10 or 11, if I'm not                     01:48

12     mistaken.    And then we switch to Version 3.        And         01:48

13     Version 3.0 will be available for 2-plus years,                  01:48

14     Version 3.1 would be available for 2-plus years, so              01:48

15     on and so on.                                                    01:48

16          Q.     Understood.   You're familiar with the               01:48

17     phrase "Public APIs"?                                            01:48

18          A.     Yes.                                                 01:48

19          Q.     What is the difference between a public              01:48

20     API and a private API?                                           01:48

21          A.     A public API is an API that is available             01:48

22     in general availability, meaning that the                        01:48

23     third-party developer that wants to access this API              01:48

24     has to go through the process, we call it app                    01:48

25     review, where the developer will specifically ask                01:48

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1      for permission to access that API, and once                      01:48

2      approved, will be able to access that API.                       01:48

3           Q.    When was the process of app review first              01:48

4      implemented?                                                     01:48

5           A.    The introduction of Version 2 of the API              01:48

6      coincided with the introduction of the app review                01:48

7      process.                                                         01:49

8           Q.    So April of 2015?                                     01:49

9           A.    April 30, 2014.                                       01:49

10          Q.    2014?                                                 01:49

11          A.    Yes.                                                  01:49

12




                                                                        01:49

17          Q.    Okay.   And we discussed this before.     But         01:49

18     what is a capability?                                            01:49

19          A.    A capability is a way to provide access               01:49

20     control to a private API.                                        01:49

21          Q.    And what is a permission?                             01:49

22          A.    A permission is a way to gain user's                  01:49

23     consent for access to specific data points.                      01:49

24          Q.    Okay.   And what was -- at a very high                01:49

25     level, what was the difference between Graph API                 01:49

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1      Versions 1.0 and 2.0?                                            01:50

2             A.   At the very high level?                              01:50

3             Q.   Yes.                                                 01:50

4             A.   Access to friends' information was                   01:50

5      deprecated with introduction of Version 2 of the                 01:50

6      API.                                                             01:50

7             Q.   And what do you mean by "friends'                    01:50

8      information was deprecated"?                                     01:50

9             A.   And so in Version 1 of the API a user                01:50

10     could log in with a third-party app and allow access             01:50

11     to this app to their friends' photos or their                    01:50

12     friends' birthdays, things like that.                            01:50

13                 With Version 2 of the API, this feature              01:50

14     was completely deprecated.      So a user could only             01:50

15     allow a third-party app to have access to their own              01:50

16     birthday information and their own photos.                       01:50

17




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1




                                                                         01:51

9             Q.    What was Post-Search API?                            01:51

10            A.    An API that allowed a third party to                 01:51

11     search for public posts on Facebook.                              01:51

12            Q.    Did Post-Search API enable analytics via             01:51

13     listening tracking mentions of keywords and hashtags              01:51

14     over time?                                                        01:51

15                  MS. STEIN:     Objection to form.                    01:51

16                  THE WITNESS:     I want to understand a              01:52

17     little bit better.        Do you have a specific example          01:52

18     in mind?                                                          01:52

19     BY MS. WEAVER:                                                    01:52

20            Q.    I don't.     I was just asking the question.         01:52

21                  MS. STEIN:     Objection to form.                    01:52

22                  THE WITNESS:     I'm having hard time                01:52

23     understanding what sort of analytics you are looking              01:52

24     for.                                                              01:52

25     BY MS. WEAVER:                                                    01:52

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1           Q.     Do you know what sentiment analysis is?              01:52

2           A.     Yes.                                                 01:52

3           Q.     What is it?                                          01:52

4           A.     Normally brands do certain analysis to               01:52

5      understand how their brands are perceived in social              01:52

6      media.                                                           01:52

7           Q.     And so did Post-Search API enable                    01:52

8      sentiment analysis?                                              01:52

9           A.     I don't think that would be valuable, so             01:52

10     my answer is no.                                                 01:52

11          Q.     You're answering it didn't do that because           01:52

12     you don't think it would be valuable?                            01:52

13                 MS. STEIN:    Objection.     Argumentative.          01:52

14     BY MS. WEAVER:                                                   01:52

15          Q.     I don't understand the answer.                       01:52

16          A.     Post-Search on account of public posts.              01:52

17     And those are not necessarily posts that a brand                 01:52

18     would use to inform or to understand the sentiment               01:52

19     of people against that brand.                                    01:53

20          Q.     Okay.   So your testimony is that                    01:53

21     Post-Search API did not allow sentiment analysis or              01:53

22     enable sentiment analysis?                                       01:53

23          A.     I'm saying that the public posts may not             01:53

24     be relevant for a brand to establish sentiment                   01:53

25     analysis.                                                        01:53

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1           Q.    Did Facebook deprecate Post-Search API?                    01:53

2           A.    Yes.                                                       01:53

3                 MS. STEIN:     Objection.     Outside the scope.           01:53

4                 THE WITNESS:     Yes, we did.                              01:53

5      BY MS. WEAVER:                                                        01:53

6




15          Q.    So during the transition period from Graph                 01:53

16     API Version 1.0 to 2.0, did Facebook inform certain                   01:53

17     third parties that they would no longer access                        01:54

18     friends' data?                                                        01:54

19                MS. STEIN:     Objection to form.         And              01:54

20     objection to scope.                                                   01:54

21                This witness is not our corporate designee                 01:54

22     on communications with third parties.           He's the              01:54

23     designee on the topic ordered by Judge Corley.             So         01:54

24     he's not authorized to testify about communications                   01:54

25     that you are asking him about.                                        01:54

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1                  MS. WEAVER:     I don't think you understand.         01:54

2      This is what data was shared with third parties.                  01:54

3      Are you declining to allow the witness to testify                 01:54

4      what was shared with third parties?                               01:54

5                  MS. STEIN:     You're asking him about                01:54

6      communications with developers.          Do you want --           01:54

7                  MS. WEAVER:     No, I'm not.      I'm asking          01:54

8      about what was -- I'm leading into what data was                  01:54

9      shared with whitelisted third parties and others.                 01:54

10                 Are you going to impede -- continue to                01:54

11     impede this deposition?                                           01:54

12                 MS. STEIN:     Okay.   First of all, I'm not          01:54

13     impeding.    Second of all, that's not what you asked.            01:54

14     So if you'd like to ask what got shared with                      01:54

15     whitelisted apps --                                               01:54

16                 MS. WEAVER:     Would you please read back my         01:54

17     question.                                                         01:54

18                              (The record was read by the              01:55

19                              court reporter, as requested)            01:55

20     BY MS. WEAVER:                                                    01:55

21          Q.     Please answer.                                        01:55

22          A.     So on April 30, 2014, we hold our annual              01:55

23     conference called F8, and that's when we announced                01:55

24     introduction of Version 2 of the API.            So the           01:55

25     communications were broad about the deprecation of                01:55

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1      the Version 1 of the API and the deprecation of                  01:55

2      access to any of the friends' data.                              01:55

3           Q.    And so some third parties were allowed to             01:55

4      continue to access friends' data while others were               01:55

5      not; is that correct?                                            01:55

6           A.    After the deprecation of the Version 1 of             01:55

7      the API, the only integrations that maintain their               01:55

8      access to friends' data were device integrations.                01:55

9           Q.    And what is the phrase "whitelisting"?                01:55

10          A.    I would decline the opportunity to lecture            01:56

11     as on the use of white or blacklists right now, but              01:56

12     I would use the term "allow lists" for the purposes              01:56

13     of being politically correct from now on.                        01:56

14                You can use whatever term you would use,              01:56

15     but I will use the term "allow lists" to refer to                01:56

16     anything that you may use the term "whitelist."                  01:56

17          Q.    Okay.   During the time period 2012 to                01:56

18     2017, did Facebook use the term "whitelist"?                     01:56

19          A.    Yes.                                                  01:56

20          Q.    Did you?                                              01:56

21          A.    Yes.                                                  01:56

22          Q.    Okay.   And you said that Facebook only               01:56

23     whitelisted integration partners a moment ago,                   01:56

24     didn't you?                                                      01:56

25          A.    I didn't use that term in relation to                 01:56

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1      device integrations.                                                 01:56

2           Q.    Okay.                                                     01:56

3           A.    We can read back my statement, but I'm                    01:56

4      pretty certain that I said the only integrations                     01:56

5      that could access to friends' information were                       01:56

6      device integrations.                                                 01:56

7           Q.    Okay.   Was Oracle a device integrator?                   01:56

8           A.    I don't think so.                                         01:57

9           Q.    Was Salesforce?                                           01:57

10          A.    I don't think so.                                         01:57

11          Q.    Did Facebook whitelist Oracle and                         01:57

12     Salesforce?                                                          01:57

13          A.    If they have ever whitelisted Salesforce                  01:57

14     and Oracle, is that the question?                                    01:57

15          Q.    Did they at the time period that we're                    01:57

16     talking about whitelist Oracle and Salesforce?                       01:57

17                MS. STEIN:    Lesley, this is out of scope.               01:57

18     This deposition --                                                   01:57

19                MS. WEAVER:    It's not.     I'm trying to                01:57

20     understand what companies had access to user data.                   01:57

21                MS. STEIN:    No, friends of friends' data.               01:57

22                MS. WEAVER:    No.                                        01:57

23                MS. STEIN:    It's Salesforce -- stop.       This         01:57

24     deposition --                                                        01:57

25                MS. WEAVER:    You can instruct him -- you                01:57

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1      can instruct him not to answer or object to form, or               01:57

2      we can call Judge Corley.                                          01:57

3                 MS. STEIN:    We can call Judge Corley if               01:57

4      you want because you're asking merits questions.                   01:57

5      This deposition is supposed to be about what data                  01:57

6      Facebook collected and which of that data was                      01:57

7      accessible or shareable, and so far --                             01:57

8                 MS. WEAVER:    Exactly.     Maybe you don't             01:58

9      understand, Deb, but this goes to the heart of                     01:58

10     whether Salesforce and Oracle were receiving                       01:58

11     friends' data and when.     That is what I am trying to            01:58

12     figure out.                                                        01:58

13                MS. STEIN:    No, that's not what -- that is            01:58

14     not what this deposition is about.         This witness is         01:58

15     not testifying about specific apps.                                01:58

16                He's talking about what types and                       01:58

17     categories of data got collected and what could have               01:58

18     been -- could have been accessed or shared, right?                 01:58

19     This is supposed to be high level, not about, you                  01:58

20     know, who did what when.                                           01:58

21                MS. WEAVER:    Are you done?                            01:58

22                MS. STEIN:    Yes.                                      01:58

23     BY MS. WEAVER:                                                     01:58

24          Q.    Is Salesforce a device integrator?                      01:58

25          A.    It's not.                                               01:58

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1              Q.      Thank you.                                                       01:58

2                      So your testimony that only device                               01:58

3      integrators were whitelisted would not include                                   01:58

4      Salesforce or Oracle, would it?                                                  01:58

5                      MS. STEIN:     Objection to form.                                01:58

6                      THE WITNESS:     I think your use of the term                    01:58

7      "whitelist" in relation to user data is problematic                              01:58

8      here.        I'm not trying to criticize you.             I'm trying             01:58

9      to understand exactly what you mean.                Because                      01:59

10     whitelist is an access control or an allow list to                               01:59

11     an API.        That API doesn't necessarily need to allow                        01:59

12     access to user data.           It may be pages data.          Your               01:59

13     assumption is that --                                                            01:59

14                     THE REPORTER:     It may be what data?                           01:59

15                     THE WITNESS:     Pages data.                                     01:59

16                     MS. WEAVER:     Okay.   So let's move on.            The         01:59

17     documents will speak for themselves.                We can move                  01:59

18     on.                                                                              01:59

19                     THE WITNESS:     No, I want to continue my                       01:59

20     response if that's okay, because I want to make sure                             01:59

21     that it's covered.           I have the --                                       01:59

22     BY MS. WEAVER:                                                                   01:59

23             Q.      I don't think what you're saying is                              01:59

24     accurate, and I'd like to just move on, if you don't                             01:59

25     mind.                                                                            01:59

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1           A.      I have reasons to believe that my response              01:59

2      is 100 percent accurate.                                             01:59

3           Q.      Okay.   I understand.                                   01:59

4                   Were there third parties who were using                 01:59

5      friends' data for research also whitelisted?                         01:59

6                   MS. STEIN:     If the witness has something             01:59

7      that he needs to clarify now, we should do that now.                 01:59

8      I'm sure Judge Corley would want his testimony to be                 01:59

9      clarified in something that he's comfortable with.                   01:59

10     BY MS. WEAVER:                                                       01:59

11          Q.      What would you like to add?                             01:59

12                  MS. STEIN:     If there's a clarification you           02:00

13     need to make, let's make sure we have a clear                        02:00

14     record.                                                              02:00

15                  THE WITNESS:     Yes.     So I would like to            02:00

16     suggest that there are three -- three things that                    02:00

17     are -- is worth clarifying here.                                     02:00

18                  We have the data.       We have APIs that allow         02:00

19     access to the data.       And then we have access                    02:00

20     controls to that data.        Right?     What you're talking         02:00

21     about here is the allow list also known as                           02:00

22     whitelist.                                                           02:00

23                  That is very broad because it --                        02:00

24     BY MS. WEAVER:                                                       02:00

25          Q.      I was talking about friends' permissions,               02:00

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1      right?                                                              02:00

2              A.   Yes, but to the extent that the allow list             02:00

3      you're talking about are for APIs that are not                      02:00

4      exposing this kind of data, then I would argue that                 02:00

5      the question about Salesforce or Oracle is                          02:00

6      irrelevant.                                                         02:00

7              Q.   Okay.    You can argue that.                           02:00

8                   Back to my question.       Were there -- other         02:00

9      third parties who were using friends' data for                      02:00

10     research, were they also whitelisted?                               02:00

11                  MS. STEIN:     Objection to form.                      02:00

12                  THE WITNESS:     I have no recollection of             02:01

13     any other device integrations being access -- or                    02:01

14     having access to friends' information beyond May 1,                 02:01

15     2015.                                                               02:01

16     BY MS. WEAVER:                                                      02:01

17             Q.   Right.    But between the time when they               02:01

18     announced the transition and before 2015, were there                02:01

19     researchers who were whitelisted and given access to                02:01

20     friends' data?                                                      02:01

21             A.   They didn't need to be whitelisted because             02:01

22     that was also publically available through Version 1                02:01

23     of the API.                                                         02:01

24             Q.   Did that include Cambridge Analytica?                  02:01

25             A.   Cambridge Analytica was never a developer              02:01

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1      on the platform.                                                     02:01

2           Q.    Okay.   But I was just asking about                       02:01

3      researchers.   Do you recall that?                                   02:01

4           A.    If --                                                     02:01

5           Q.    Let me ask the question again.            So were         02:01

6      there certain third parties who were given friends'                  02:01

7      data for research who were also whitelisted?                         02:01

8                 MS. STEIN:     Objection to form.                         02:01

9                 THE WITNESS:     Access to public APIs                    02:01

10     doesn't come through a whitelist.         The access                 02:01

11     control that we use for access to public APIs is a                   02:01

12     process called app review.                                           02:02

13                Now, back in 2014, before even the app                    02:02

14     review was introduced, any third party could access                  02:02

15     anything from the -- that was made available through                 02:02

16     Version 1 of the API with the appropriate user's                     02:02

17     consent.                                                             02:02

18                There were a number of researchers, and I                 02:02

19     think I can double-guess if -- the name of the                       02:02

20     specific researcher that you have in mind that's                     02:02

21     built an application on our platform on the Version                  02:02

22     1 of the API, they requested and gained permission                   02:02

23     from users to access their data and their friends'                   02:02

24     data, and that's the end of it.                                      02:02

25

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1      BY MS. WEAVER:                                                   02:02

2           Q.    Okay.   Are you familiar with Crimson                 02:02

3      Hexagon?                                                         02:02

4           A.    I have an understanding of the company but            02:02

5      nothing more than that.                                          02:02

6           Q.    Do you know who does have information                 02:02

7      about what Crimson Hexagon accessed?                             02:02

8           A.    No.                                                   02:02

9                 MS. STEIN:   Objection to form.                       02:02

10     BY MS. WEAVER:                                                   02:02

11




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1




                                                                        02:04

7           Q.    Okay.   What is Groups API?                           02:04

8           A.    It's an API that allows third parties to              02:04

9      help group administrators manage the groups from                 02:04

10     posting contents to moderating or allowing members               02:04

11     to join the group and so on.                                     02:05

12          Q.    When was it launched?                                 02:05

13          A.    I don't remember the date it was launched.            02:05

14          Q.    Was it between 2012 to 2017?                          02:05

15          A.    Most likely, yes.                                     02:05

16          Q.    And then it was -- does Groups API still              02:05

17     exist?                                                           02:05

18          A.    I think that the Groups API was fully                 02:05

19     deprecated in May 2018.                                          02:05

20          Q.    And you were part of that decision, right?            02:05

21          A.    Yes.                                                  02:05

22          Q.    And why was it deprecated?                            02:05

23          A.    So I can answer from my perspective why               02:05

24     it's since been deprecated.                                      02:05

25                MS. STEIN:   If you don't know from the               02:05

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1      company's perspective, then I'm going to direct the                02:05

2      witness not to answer.                                             02:05

3                   MS. WEAVER:     I'm sorry, you're going to            02:05

4      have to be deposed again.                                          02:05

5              Q.   Do you have an understanding on behalf                02:05

6      company as to why Groups API was deprecated?                       02:05

7              A.   There are certain groups that are not                 02:06

8      public that want to make sure that third parties                   02:06

9      couldn't access its members.                                       02:06

10                  THE REPORTER:     I'm sorry, "Make sure               02:06

11     that"...                                                           02:06

12                  THE WITNESS:     -- third parties couldn't            02:06

13     access its members.                                                02:06

14     BY MS. WEAVER:                                                     02:06

15             Q.   Okay.    What is Live Video API?                      02:06

16             A.   It's an API that allows a third party to              02:06

17     broadcast live video on Facebook.                                  02:06

18             Q.   I'm sorry, I didn't hear that either.                 02:06

19             A.   Sorry.    It's an API -- I have changed my            02:06

20     headset.                                                           02:06

21             Q.   I know, I know.     It's me.      I'm kind of         02:06

22     deaf.                                                              02:06

23             A.   So it's an API that allows a third party              02:06

24     to broadcast live video on Facebook.                               02:06

25             Q.   Okay.    And when did it first come into              02:06

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1      being?                                                             02:06

2              A.   2015, 2016, maybe.                                    02:06

3              Q.   And what is an endpoint?                              02:06

4              A.   An endpoint in reference to an API?                   02:06

5              Q.   Uh-huh.                                               02:07

6              A.   It's -- how should I explain it?                      02:07

7              Q.   I can try, but don't make fun of me.                  02:07

8              A.   Please.                                               02:07

9              Q.   Is an endpoint an object that is accessed             02:07

10     through an API?                                                    02:07

11             A.   I -- I don't know that the endpoint refers            02:07

12     to the -- the object.        It refers to, I think, the            02:07

13     structure of the API.        But it may be used in both            02:07

14     ways.                                                              02:07

15             Q.   Okay.     And then what is a data field with          02:07

16     regard to API?                                                     02:07

17             A.   Okay.     So let me try to explain maybe in a         02:07

18     different way.                                                     02:07

19                  So there are objects and fields.                      02:07

20             Q.   Uh-huh.                                               02:07

21             A.   So an object can be, let's say, the Crate             02:07

22     & Barrel Facebook page.        A field can be the picture          02:07

23     that is being used on that page.                                   02:07

24                  So when you make an API call against that             02:07

25     object where you specify the object ID, you can add                02:07

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1      perimeters in the API request about what is it the                 02:08

2      API needs to respond to.        And you can respond that           02:08

3      in the field section.        You can specify that you want         02:08

4      the name of the page potentially, the profile                      02:08

5      picture of the page, or you can specify if you want                02:08

6      posts made against that page.                                      02:08

7           Q.    Thank you.    That's very helpful.                      02:08

8                 So is an object an endpoint in that                     02:08

9      description?     Are those the same?                               02:08

10          A.    An endpoint from the API perspective, you               02:08

11     know, the API that requests access to the page,                    02:08

12     there's just an API that requests access to, I don't               02:08

13     know, a friends connection.        That would be a                 02:08

14     different endpoint.                                                02:08

15          Q.    I see.    Okay.     So are you aware of an              02:08

16     endpoint Get Event ID Live Videos?                                 02:08

17          A.    No.                                                     02:08

18          Q.    Okay.    You prepared Facebook's                        02:08

19     interrogatory responses relating to capabilities and               02:09

20     permissions, right?                                                02:09

21                MS. STEIN:    Objection.     Form.                      02:09

22     BY MS. WEAVER:                                                     02:09

23          Q.    Was that you or was that someone else?                  02:09

24          A.    I'm supported the counsels in, you know,                02:09

25     like this response, but I don't recall exactly                     02:09

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1      what's that.                                                             02:09

2              Q.      I know.     I know.     And it's cute and you            02:09

3      worked very hard and we're grateful.                                     02:09

4                      MS. STEIN:     I'll add I believe that was               02:09

5      the other individual who verified part of it.                            02:09

6                      MS. WEAVER:     Okay.     So we're going to have         02:09

7      talk to him.           So I'll try --                                    02:09

8              Q.      So do you know -- let me just try this                   02:09

9      then.        For the call Get Event ID Live Video, do you                02:09

10     know what it was seeking and what it obtained?                           02:09

11             A.      I think it's associated with the live                    02:09

12     event, most likely, the live video that is being                         02:09

13     broadcast.        But I don't understand exactly the event               02:09

14     in connection with the live video.                                       02:09

15             Q.      Okay.     Do you know the difference between             02:10

16     "get" and "post"?                                                        02:10

17             A.      Yes.                                                     02:10

18             Q.      What's the difference?                                   02:10

19             A.      The one is a read and the other is a                     02:10

20     write.                                                                   02:10

21             Q.      Okay.     And so do you know what Get User ID            02:10

22     Live Videos is?                                                          02:10

23             A.      No, I don't -- I don't know the exact                    02:10

24     endpoints.                                                               02:10

25             Q.      Okay.     Do you know what Post User ID Live             02:10

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1      Videos is?                                                         02:10

2           A.      I don't, no.                                          02:10

3           Q.      Okay.   Does Facebook know which third                02:10

4      parties had access to Live Video API?                              02:10

5           A.      Historically, yes.                                    02:10

6           Q.      Okay.   What's Pages API?                             02:10

7           A.      I think I used that example earlier, so it            02:10

8      may be repetitive.        It's an API that allows and pays         02:11

9      administrator to manage the page with -- which may                 02:11

10     includes -- manage the pages, which may include                    02:11

11     posting content on the page, updating the profile                  02:11

12     picture on the page, responding to comments made by                02:11

13     users on the page, and so on.                                      02:11

14




                                                                          02:11

20                  MS. STEIN:     Objection to form.                     02:11

21




                                                                          02:12

25

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1      BY MS. WEAVER:                                                   02:12

2




                                                                        02:12

6           Q.     Do you know who would?                               02:12

7           A.     No.                                                  02:12

8




                                                                        02:12

13          Q.     Do you know what DataSift is?                        02:12

14          A.     I have heard that name, but I don't know             02:12

15     about it.                                                        02:12

16




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1




                                                                        02:15

14             Q.   Okay.   Is there -- so you said this                02:15

15     already, but just for foundation, what were private              02:15

16     APIs?                                                            02:15

17             A.   Private APIs are APIs that are not in               02:15

18     general availability and whose access control is                 02:15

19     maintained by partnerships.                                      02:15

20             Q.   By -- I'm sorry -- maintained by what?              02:15

21             A.   Partnerships.   So someone in partnerships          02:15

22     in the --                                                        02:15

23             Q.   Somebody in partnerships, okay.                     02:15

24             A.   -- would have to approve the access to              02:15

25     that given API.                                                  02:15

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1          Q.     Okay.   And when was the first private API           02:15

2     launched?                                                        02:15

3          A.     I -- I honestly don't know.                          02:15

4          Q.     Was it like 2012 or 2014 or --                       02:16

5          A.     I -- I believe that private APIs have                02:16

6     always been there since the invention of Facebook.               02:16

7




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1




10             Q.   Okay.    Do you know if there's a private           02:17

11     API associated with it?                                          02:17

12             A.   I don't.                                            02:17

13             Q.   So when an API is providing, in response            02:17

14     to a call, an object like a photo, does that photo               02:17

15     also come with metadata?                                         02:17

16             A.   Yes, it does.                                       02:17

17             Q.   Okay.    And what's an example of the kinds         02:17

18     of metadata that's attached?                                     02:17

19             A.   The time-stamp of the photo, when it was,           02:17

20     you know, taken, when it was uploaded.                           02:17

21             Q.   And --                                              02:17

22             A.   The location of the photo, if it was                02:17

23     started in the first place by the user, things like              02:17

24     that.                                                            02:17

25             Q.   Is there a metadata field for whether or            02:17

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1      not a photo is -- was for a restricted audience                  02:17

2      only, like public or private?                                    02:17

3




                                                                        02:18

18                           (The record was read by the                02:18

19                           court reporter, as requested)              02:18

20     BY MS. WEAVER:                                                   02:18

21




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1




                                                                        02:19

5           Q.    Okay.




                                                                        02:19

10          A.    Okay.

                                               right?                   02:19

12



                                                                        02:19

15          A.    Okay.

                                         , right?                       02:19

17          Q.    Yes.                                                  02:19

18          A.



                                                                        02:19

21          Q.    Right.                                                02:19

22          A.    Right?   That's the scenario?                         02:19

23          Q.    Right.                                                02:20

24          A.

                                                                        02:20

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1           Q.    Yes.                                                  02:20

2




                                                                        02:20

13          Q.    Okay.                                                 02:20

14




                                                                        02:21

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1

                                                                        02:21

3              A.   No.                                                 02:21

4              Q.




                                                                        02:21

9              Q.   Okay.



                                                                        02:22

12             A.




                                                                        02:22

16             Q.   And when you say "signature," what do you           02:22

17     mean?                                                            02:22

18             A.   I mean that loosely, like it comes with             02:22

19     some information that identifies the app --                      02:22

20             Q.   Okay.                                               02:22

21             A.   -- that makes that API request.                     02:22

22             Q.   What were extended APIs?                            02:22

23             A.   "Extended APIs" is a term we use to                 02:22

24     describe private APIs.                                           02:22

25             Q.   Okay.   Makes sense.    And then you're             02:22

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1      familiar with the phrase "PMD"?                                  02:23

2           A.     Yes.                                                 02:23

3           Q.     And what is that?                                    02:23

4           A.     I think it stands for preferred marketing            02:23

5      development.                                                     02:23

6           Q.     And give me an example of a preferred                02:23

7      marketing developer.                                             02:23

8           A.     I think Salesforce may be one of them.               02:23

9           Q.     So is that a kind of partner?                        02:23

10          A.     Yes, it would be partners mostly having              02:23

11     access to marketing APIs.       That's why it's called           02:23

12     preferred marketing developers, because of their                 02:23

13     access to the marketing APIs.                                    02:23

14          Q.     What's a marketing API?                              02:23

15          A.     APIs that allow a third party to run at              02:23

16     (indecipherable).                                                02:23

17          Q.     And how is that different than custom                02:23

18     audience?                                                        02:23

19          A.     Custom audience is a feature that is                 02:23

20     accessible through the market behavior.                          02:23

21          Q.     Okay.   What other features are available            02:23

22     on marketing APIs other than custom audience?                    02:23

23          A.     So this is not necessarily my expertise,             02:23

24     so I may be missing certain things.         But the              02:23

25     marketing API allows you to schedule a marketing                 02:24

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1      campaign on Facebook the way you would otherwise do                 02:24

2      it if you were going to facebook.com and doing it on                02:24

3      the platform.                                                       02:24

4                   MS. STEIN:     Hey, Lesley, when you get to a          02:24

5      good break point, can we take a short break?                        02:24

6                   MS. WEAVER:     I think it's time to take a            02:24

7      break now, if that's what's popular and democratic.                 02:24

8                   We can reconvene in ten minutes or so.                 02:24

9                   THE VIDEOGRAPHER:      We are off the record           02:24

10     at 2:24 p.m.                                                        02:24

11                  (Recess.)                                              02:24

12                  (Off record:     2:24 p.m.)                            02:24

13                  (On record:     2:37 p.m.)                             02:24

14                  THE VIDEOGRAPHER:      We are on the record at         02:37

15     2:37 p.m.                                                           02:37

16     BY MS. WEAVER:                                                      02:37

17             Q.   You understand you're still under oath?                02:37

18             A.   Yes, I do.                                             02:38

19             Q.   Okay.   Thank you.                                     02:38

20                  Who -- how were decisions made about what              02:38

21     third parties had access to data through private                    02:38

22     APIs?                                                               02:38

23                  MS. STEIN:     That's outside the scope of             02:38

24     about how decisions were made, but if you want to                   02:38

25     ask, you know, who had access, that's fine.                         02:38

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1      BY MS. WEAVER:                                                   02:38

2           Q.    Please answer.                                        02:38

3           A.




                                                                        02:39

16          Q.    What do you mean by "use case"?                       02:39

17          A.    For example, if the API is meant to give              02:39

18     access to a user's photos and it's a photo editing               02:39

19     app, that seems to be an obvious use case, right?                02:39

20                But if, let's say, the app is -- I don't              02:39

21     know -- let's say a fitness app requesting access to             02:39

22     Facebook user photos, it doesn't seem to, you know,              02:39

23     make a lot of sense, so we would have to make sure               02:39

24     that we understand exactly the use case that the                 02:39

25     fitness app wants to power that would make use of                02:40

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1      their access to users' photos.                                         02:40

2              Q.   And who was involved in making those                      02:40

3      decisions?                                                             02:40

4                   MS. STEIN:    Objection.     Outside the scope.           02:40

5                   MS. WEAVER:    You will not let me explore                02:40

6      who made those decisions so that we can figure out                     02:40

7      who to talk to about those issues?                                     02:40

8                   MS. STEIN:    Lesley, you weren't even                    02:40

9      supposed to be asking about decision-making.            But I          02:40

10     mean if you -- if you want to ask the witness if he                    02:40

11     knows who the right people are to talk about things,                   02:40

12     you can ask him for this particular question, but,                     02:40

13     please, why don't you focus on the topics that Judge                   02:40

14     Corley directed this deposition to be about.                           02:40

15     BY MS. WEAVER:                                                         02:40

16             Q.   During the time period 2012 to 2017, who                  02:40

17     decided which third parties would have extended                        02:40

18     permissions and therefore access to more third-party                   02:40

19     data?                                                                  02:40

20             A.   Again, depending on the API, it would be                  02:40

21     the product manager, the partnerships person.            Maybe         02:40

22     engineering and design may have been involved.                         02:41

23     Legal may have been involved.                                          02:41

24             Q.   I'm hoping for names.       Who were the                  02:41

25     project managers who had that authority?                               02:41

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1             A.



                                                                        02:41

4             Q.   How about               or                           02:41

5             A.

                                                                        02:41

7             Q.   I'm asking, who were the product managers            02:41

8      who were in charge of them?      Who decided whether or          02:41

9      not they would be whitelisted?                                   02:41

10            A.   The product managers are in charge of an             02:41

11     API.    So it's product manager that owns every one of           02:41

12     those APIs, and the question, would he have been                 02:41

13     part of the decision-making.      But it's not the               02:41

14     single product manager that would be responsible for             02:41

15     allowing access to Salesforce.                                   02:41

16            Q.   Can you identify a single person by name             02:41

17     who was involved in decision-making around which                 02:41

18     third parties would get extended permissions during              02:42

19     2012 to 2017?                                                    02:42

20            A.   So what do you mean by extended                      02:42

21     permissions?                                                     02:42

22            Q.   Private APIs.                                        02:42

23            A.   Again, the number of private APIs is                 02:42

24     significant for a single person to have been                     02:42

25     involved.                                                        02:42

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1




                                                                           02:42

5           Q.    Any name.                                                02:42

6           A.    I have been involved in some of that --                  02:42

7           Q.    Right.                                                   02:42

8           A.



                                                                           02:42

11          Q.    Was it so hard for you to come up with                   02:42

12     your own name?                                                      02:42

13          A.    See, it's confusing when you're dropping a               02:42

14     lot of different things in one sentence.                            02:42

15          Q.    Okay.



                                                                           02:42

18          A.    Again --                                                 02:42

19                MS. STEIN:     Objection.     Lesley, can we             02:43

20     please focus on the topics that Judge Corley ordered                02:43

21     this deposition to be about?       It is not about who              02:43

22     did what when.      He's not the person most                        02:43

23     knowledgeable on these issues.         He's here to testify         02:43

24     about what data gets collected by Facebook during                   02:43

25     2012 and 2017, what they had, and what could be                     02:43

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1      shared or accessed by third parties.                                  02:43

2      BY MS. WEAVER:                                                        02:43

3           Q.    Are you declining to identify even one                     02:43

4      name other than your own?                                             02:43

5                 MS. STEIN:     Asked and answered.         He gave         02:43

6      you a name.     You asked for one name.                               02:43

7                 MS. WEAVER:     Deb, I'm not asking --                     02:43

8                 MS. STEIN:     He gave it to you.                          02:43

9                 MS. WEAVER:     I can -- we can all read the               02:43

10     transcript.     I'm asking the witness.                               02:43

11          Q.    Can you identify one name other than your                  02:43

12     own who was involved in deciding what third parties                   02:43

13     had access to users' data during the time period                      02:43

14     2012 - 2017 through private APIs?                                     02:43

15          A.    User data and private APIs.          Not                   02:43

16     salesperson.                                                          02:43

17          Q.    Okay.                                                      02:43

18          A.    I'm trying -- I'm just trying to                           02:43

19     understand what you're looking for.                                   02:43

20                MS. WEAVER:     Will you read the question                 02:44

21     back, please?                                                         02:44

22                             (The record was read by the                   02:44

23                             court reporter, as requested)                 02:44

24                THE WITNESS:     I cannot remember anybody                 02:44

25     but myself at this point to give you answer to those                  02:44

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1      question.                                                           02:44

2




                                                                           02:45

15          Q.     Okay.    And we discussed briefly before                02:45

16     that friends permissions were deprecated.            Do you         02:45

17     recall that?                                                        02:45

18          A.     Yes.                                                    02:45

19          Q.     Roughly how many capabilities were related              02:45

20     to friends permissions that were deprecated?                        02:45

21          A.     Okay.    This is the question that I need               02:45

22     clarification.      What was deprecated was the access              02:45

23     to friends permission -- sorry -- friends data                      02:45

24     through the API.      As a consequence of the API being             02:45

25     deprecated, friends-related permissions were                        02:45

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1      deprecated as well, meaning that there was no point                 02:45

2      in us allowing a user to go through a consent flow                  02:45

3      for pieces of information that were no longer                       02:45

4      available, right?                                                   02:46

5                 Capabilities that gave access to the same                02:46

6      data through private APIs were not deprecated until                 02:46

7      later on in 2018 because it was the same                            02:46

8      capabilities that enabled device integrations to                    02:46

9      have access to that data for the purposes of                        02:46

10     replicating core Facebook functionality.                            02:46

11                THE REPORTER:     I'm sorry.      Core Facebook?         02:46

12                THE WITNESS:     Functionality.                          02:46

13                THE REPORTER:     Thank you.                             02:46

14     BY MS. WEAVER:                                                      02:46

15          Q.    So is it true that certain friends                       02:46

16     capabilities like friends about me, friends actions,                02:46

17     friends check-ins, friends online presence, friends                 02:46

18     photo video tags were deprecated when friends                       02:46

19     permissions were deprecated?                                        02:46

20          A.    So I think what you're referring to is                   02:46

21     capabilities.    And I think I answered that question,              02:46

22     that those capabilities had to be there because they                02:46

23     gated access to the corresponding APIs that powered                 02:47

24     device integrations.      And that doesn't happen until             02:47

25     late -- later on in 2018.                                           02:47

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1           Q.      Okay.     So those capabilities were not              02:47

2      deprecated, the ones I just listed?                                02:47

3           A.      I'm not aware of the specifics, but they              02:47

4      seem to be capabilities related to device                          02:47

5      integrations.        And, as such, they -- they -- they            02:47

6      wouldn't be deprecated before 2018.                                02:47

7           Q.      Who would know about what was deprecated              02:47

8      with regard to friends permissions?                                02:47

9           A.      With regards to friends permissions, I                02:47

10     think I --                                                         02:47

11          Q.      The issue that we're discussing right now,            02:47

12     you're saying --                                                   02:47

13          A.      I'm --                                                02:47

14          Q.      I'm sorry, just allow me to -- allow me to            02:47

15     ask the question.                                                  02:47

16                  The very issue we're discussing right now,            02:47

17     you just said you don't know specifically.             Who         02:47

18     would?                                                             02:47

19          A.      I think you're using different terms in               02:47

20     places that are very confusing.           Like I said,             02:47

21     friends permissions were deprecated by May 1, 2015.                02:47

22     APIs that were attached to those permissions have                  02:48

23     deprecated down at the same time.           Capabilities           02:48

24     which are -- are access controls to private APIs                   02:48

25     that expose similar information were not deprecated                02:48

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1      until 2018.                                                         02:48

2           Q.    Okay.   Thank you.     I understand.                     02:48

3



                                                                           02:48

6                 MS. STEIN:     Objection to form.                        02:48

7                 THE WITNESS:




                                                                           02:48

11     BY MS. WEAVER:                                                      02:48

12



                                                                           02:48

15                Who is knowledgeable on that topic?                      02:48

16                MS. STEIN:     Okay.   Lesley, this deposition           02:48

17     is not about that subject.                                          02:48

18     BY MS. WEAVER:                                                      02:49

19          Q.    Are you refusing to provide a name?                      02:49

20          A.    Look, I think that you -- what you're                    02:49

21     asking is not really what you intend to ask.         That's         02:49

22     why I'm really confused.      Because the question you              02:49

23     ask me is very different from the specification you                 02:49

24     provide to my counsel.                                              02:49

25                So can we actually be a little bit more                  02:49

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1      precise?     What you're asking is who can tell me?                   02:49

2      The developer docs can tell you.           That's the answer.         02:49

3      You don't need to reference a single human to                         02:49

4      actually give you the -- the truth.            Because the            02:49

5      developer docs and the change log there is the                        02:49

6      source of truth.                                                      02:49

7              Q.   Who created the developer docs and the                   02:49

8      change logs?                                                          02:49

9              A.   They are automatically generated by the                  02:49

10     code.                                                                 02:49

11             Q.   Who created the code?                                    02:49

12             A.   An engineer.                                             02:49

13             Q.   Do you know who the engineers are who                    02:49

14     created the code?                                                     02:49

15             A.   It's probably not a single engineer that                 02:49

16     created that code.                                                    02:49

17             Q.   Can you name one name?                                   02:49

18             A.   I don't remember a specific name of an                   02:49

19     engineer.                                                             02:49

20             Q.   Do you know whether or not auto granted                  02:50

21     friends videos was deprecated?                                        02:50

22             A.   No, I don't remember the exact date.                     02:50

23             Q.   Who would know?                                          02:50

24             A.   I really cannot tell you who would know.                 02:50

25             Q.   Is that in the developer pages?                          02:50

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1          A.    Private APIs are not documented in the                02:50

2     developer pages.                                                 02:50

3




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1              Q.   Yes.                                                02:52

2




                                                                        02:53

9              A.   I can see it, yes.                                  02:53

10             Q.   Okay.   Can you pull it up?                         02:53

11             A.   Yes.                                                02:53

12             Q.   And I'm just going to ask you about a               02:53

13     question there on the front page, but take your                  02:53

14     time.                                                            02:53

15                  (Pause while witness peruses document.)             02:54

16             A.   Okay.                                               02:54

17             Q.   Do you recognize Exhibit 4?                         02:54

18             A.   Yes.                                                02:54

19             Q.   What is it?                                         02:54

20             A.   It's an email exchange between myself and           02:54

21     four or five other people.                                       02:54

22             Q.   That includes Simon Cross; is that                  02:54

23     correct?                                                         02:54

24             A.   That's correct.                                     02:54

25             Q.   And the underlying email looks like he              02:54

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1      sent an email around January 29, 2015, to Steven                 02:54

2      Elia; is that right?                                             02:54

3           A.    Let me see.    I have to go back.                     02:54

4           Q.    Just look at the top of the page there.               02:54

5           A.    I think it's under chronological, the way             02:54

6      you look at it.    So the first thing, I'm looking               02:54

7      there at the bottom of the exhibit.                              02:54

8                 (Pause while witness peruses document.)               02:54

9           A.    Sorry, what -- how can I --                           02:54

10          Q.    Okay.   What does this document reflect?              02:54

11     Let me ask you a different question.                             02:55

12                MS. STEIN:    Form.                                   02:55

13     BY MS. WEAVER:                                                   02:55

14          Q.    Do you see where it says "Recent Activity"            02:55

15     and then it has a number there at the top of the                 02:55

16     email?                                                           02:55

17          A.    Yes.                                                  02:55

18          Q.    What does that refer to, in general?                  02:55

19          A.    I think that's a task number.                         02:55

20          Q.    Okay.   What is a task number?                        02:55

21          A.    So we used a tool that is called the task             02:55

22     monitor to track progress against specific things                02:55

23     that need to happen.                                             02:55

24          Q.    Okay.                                                 02:55

25          A.    It's a program management tool of some                02:55

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1      sort.                                                              02:55

2              Q.   Thank you.                                            02:55

3                   And just looking right at the very first              02:55

4      message under "Task Description," do you see it says               02:55

5      "Title," and then underneath that "Assigned to Eddie               02:55

6      O'Neil"?                                                           02:55

7              A.   Yes.                                                  02:55

8              Q.   And then do you see there it says                     02:55

9      "Creator" and then your name?                                      02:56

10             A.   Yes.                                                  02:56

11             Q.   What does that mean?                                  02:56

12             A.   Who has initiated the -- the task, that               02:56

13     would be the creator, and who the task is assigned                 02:56

14     to is the person that has the obligation to complete               02:56

15     the task.                                                          02:56

16             Q.   Okay.   And then when it says                         02:56

17     "Description," there's a description.           Do you see         02:56

18     that?                                                              02:56

19             A.   Yes.                                                  02:56

20             Q.   And is that a description that you wrote?             02:56

21             A.   Yes.                                                  02:56

22             Q.   Okay.   And so you wrote



                                                                          02:56

25                  Do you see that?                                      02:56

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1           A.     Yes.                                                 02:56

2           Q.     And you wrote



                                                                        02:56

5                  Do you see that?                                     02:56

6           A.     Yes.                                                 02:56

7           Q.



                                                                        02:56

10          Q.     Okay.    And then do you see the next                02:56

11     sentence,




                                                                        02:57

15                 Do you see that?                                     02:57

16          A.     Yes.                                                 02:57

17          Q.

                                                                        02:57

19          A.     I don't remember exactly what we did for             02:57

20

                                                                        02:57

22          Q.     Okay.

                                                                        02:57

24          A.     Yes.    I believe I already answer that              02:57

25     question.                                                        02:57

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1           Q.    Okay.




                                                                          02:57

6           Q.    Okay.



                                                                          02:58

9           Q.    Okay.




                                                                          02:58

15          Q.    Okay.




                                              No, I haven't heard         02:58

24     of that statement.                                                 02:58

25          Q.    Okay.   Okay.                                           02:58

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1




                                                                        02:59

7           A.    Yes.                                                  02:59

8           Q.                                                          02:59

9           A.    No.                                                   02:59

10          Q.




                                                                        02:59

16          A.    Possibly, but I don't know.                           02:59

17          Q.    Okay.

                                                                        02:59

19          A.    No.                                                   02:59

20          Q.                                                          02:59

21          A.    No.                                                   02:59

22          Q.




                                                                        03:00

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1           Q.    Do you have an understanding as to whether            03:00

2      it




                                                                        03:00

10          A.    Could you repeat that description?                    03:00

11          Q.    Sure, sure.                                           03:00

12



                                                                        03:00

15          A.    Okay.   I don't know that's --                        03:00

16          Q.    I'll try it this way.                                 03:01

17          A.    I don't know that.                                    03:01

18          Q.    A




                                                                        03:01

22          A.    I mean, I understand --                               03:01

23                MS. STEIN:     Objection to form.                     03:01

24                THE WITNESS:     Sorry.                               03:01

25                MS. STEIN:     Objection to form.                     03:01

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1                 THE WITNESS:     I




                                                                        03:01

5      BY MS. WEAVER:                                                   03:01

6           Q.




                                                                        03:01

10          A.    I don't know either.                                  03:01

11          Q.



                                                                        03:02

14                MS. STEIN:     Objection to form.                     03:02

15                THE WITNESS:     I don't know.                        03:02

16     BY MS. WEAVER:                                                   03:02

17          Q.



                                                                        03:02

20          Q.    Of the what?                                          03:02

21                THE REPORTER:        I'm sorry.



                                                                        03:02

24     BY MS. WEAVER:                                                   03:02

25          Q.    And what specifically,                                03:02

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1                                                                       03:02

2           A.    Okay.




                                                                        03:02

6           Q.    Uh-huh.                                               03:02

7           A.




                                                                        03:03

21          A.    I don't remember.                                     03:03

22          Q.                                                          03:03

23          A.    I don't remember.                                     03:03

24          Q.    So

                  Do you remember that?                                 03:03

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1              A.      Yes.                                                      03:03

2              Q.      So does Facebook use the data that it                     03:03

3      collects about users to identify the interests that                       03:03

4      they have?                                                                03:04

5              A.      Facebook identifies --                                    03:04

6                      MS. STEIN:     Object to form.       Objection to         03:04

7      form.                                                                     03:04

8                      THE WITNESS:     So Facebook identifies the               03:04

9      interest based on the user's action on the platform.                      03:04

10     I like (indecipherable).           It's a way for us to                   03:04

11     identify a user's interests.                                              03:04

12     BY MS. WEAVER:                                                            03:04

13             Q.      What -- Facebook also receives information                03:04

14     from other third parties like app developers and                          03:04

15     data brokers and other partners, correct?                                 03:04

16                     MS. STEIN:     Objection to form.                         03:04

17                     THE WITNESS:     I guess.     But as we                   03:04

18     discussed, the data that's -- is being given by                           03:04

19     third parties may be anonymized, may not be user                          03:04

20     data.        So I cannot answer that question without --                  03:04

21     BY MS. WEAVER:                                                            03:04

22             Q.      What -- what --                                           03:04

23             A.      -- a little bit more specificity.                         03:04

24             Q.      Why does Facebook collect data from other                 03:04

25     third parties?                                                            03:04

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1              A.     Why?                                                      03:04

2              Q.     Yes.                                                      03:04

3              A.     For many reasons.      For example, if you log            03:05

4      in with Facebook on a third-party app, there's no                        03:05

5      way for us not to be able to provide that data.                          03:05

6      It's part of the service.                                                03:05

7              Q.     Okay.   What's another reason?                            03:05

8              A.     For the purposes of allowing people to                    03:05

9      express themselves using a third-party app.              Again,          03:05

10     within 2020 -- sorry, 2012 and 2017, people could                        03:05

11     post back to Facebook using a third-party app.              That         03:05

12     is --                                                                    03:05

13             Q.     Does Facebook use any of the information                  03:05

14     it obtains from third parties to develop the                             03:05

15     interest categories through which users are                              03:05

16     targeted?                                                                03:05

17                    MS. STEIN:     Objection to form.                         03:05

18                    THE WITNESS:     I don't know.                            03:05

19     BY MS. WEAVER:                                                           03:05

20             Q.     You don't know?                                           03:05

21             A.     I don't think so.                                         03:05

22             Q.     What's the basis of your saying "I don't                  03:05

23     think so"?                                                               03:05

24             A.     Because, again, the question is very                      03:06

25     broad.       If you are talking about pixel data that are                03:06

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1      provided by third parties, yes, that informs the ads              03:06

2      targeting, but it doesn't form the interests.                     03:06

3           Q.    Can you identify for a user what interest              03:06

4      categories they have been placed in?                              03:06

5           A.    Those categories that have been placed in,             03:06

6      which I am not -- I'm not sure that I agree with                  03:06

7      that term -- would be identified for the user under               03:06

8      their app -- sorry, under their Facebook settings in              03:06

9      the DYI file.                                                     03:06

10          Q.    And that DIY file, is it completely                    03:06

11     historical?      So it will show me yesterday I was in            03:06

12     this interest category and five days ago I was in                 03:06

13     this category?      Or does it just list the categories           03:06

14     in general?                                                       03:06

15          A.    Just lists the categories in general.                  03:06

16          Q.    And if I'm no longer in a category, does               03:06

17     it list that category?                                            03:07

18          A.    No.                                                    03:07

19          Q.    And the lists of interest change over                  03:07

20     time, then, right?                                                03:07

21          A.    It depends on how you use the platform.                03:07

22     If you haven't used the platform for the last five                03:07

23     years, probably not.                                              03:07

24          Q.    Okay.     But let's just say it's you.    When         03:07

25     were you last on the platform?                                    03:07

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1              A.   I don't know.     Maybe during the lunch            03:07

2      break.                                                           03:07

3              Q.   Okay.   So do your interest categories              03:07

4      change over time?                                                03:07

5                   MS. STEIN:     We're talking about 2012 to          03:07

6      2017.                                                            03:07

7      BY MS. WEAVER:                                                   03:07

8              Q.   Did your interest categories change                 03:07

9      between 2012 and 2017?                                           03:07

10             A.   I'm pretty certain that they had.                   03:07

11             Q.   Okay.   And what causes them to change?             03:07

12             A.   The thought that they may have taken                03:07

13     action against certain entities that I have                      03:07

14     expressed an affinity about.                                     03:07

15             Q.   Do they change at all based on information          03:07

16     Facebook learns about whether those interests are --             03:07

17     provide for effective ad placement?                              03:08

18             A.   I'm almost certain that I'm confused right          03:08

19     now.     Can you repeat the question?                            03:08

20                  MS. WEAVER:     Please read it back.                03:08

21                               (The record was read by the            03:08

22                               court reporter, as requested)          03:08

23                  THE WITNESS:     I'm still having a hard            03:08

24     time, but let me try to answer the question the way              03:08

25     I understand, all right?                                         03:08

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1                   Are those interests used to inform ad               03:08

2      targeting criteria?     The answer is yes.                       03:08

3      BY MS. WEAVER:                                                   03:08

4              Q.   And Facebook provides analytic data to              03:08

5      advertisers about how effective its advertisements               03:08

6      are, correct?                                                    03:08

7              A.   Facebook provides performance data to the           03:08

8      advertisers, yes.                                                03:08

9              Q.   What is performance data?                           03:08

10             A.   It's an aggregated list of data that                03:08

11     suggests whether an ad has been viewed by certain                03:09

12     number of people that have seen -- visited the                   03:09

13     third-party website or took an action on the                     03:09

14     third-party website.                                             03:09

15             Q.   And when you say "an ad," what do you               03:09

16     mean?                                                            03:09

17             A.   An ad is being defined as a story that              03:09

18     shows up on your Facebook News Feed that is not                  03:09

19     necessarily generated by a friend or a page you                  03:09

20     follow but is sponsored by a third party.                        03:09

21             Q.   So an ad could include something that               03:09

22     wasn't -- well, strike that.                                     03:09

23                  So there's one category of ads that                 03:09

24     literally looks like an ad to the user, "Go buy                  03:09

25     these shoes"; is that correct?                                   03:09

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1           A.    Sure, yes.                                              03:09

2           Q.    Right.    And then there's -- there are                 03:09

3      other categories of ads that don't look like                       03:09

4      advertisements necessarily but it's something that                 03:09

5      shows up in the News Feed; is that right?                          03:09

6           A.    Every single ad unit that shows up on your              03:09

7      News Feed is clearly identified as an ad.                          03:09

8           Q.    Okay.    And how is it identified?                      03:09

9           A.    Kind of different, but I think in most                  03:10

10     cases you can see that this is a sponsored, you                    03:10

11     know, like story or something like that.                           03:10

12          Q.    Sponsored story?     Is that the language               03:10

13     from 2012 to 2017?                                                 03:10

14          A.    I cannot remember the exact language.         I         03:10

15     think I need to look up some historical, you know,                 03:10

16     like, UI treatment.                                                03:10

17          Q.    Are there documents at Facebook that                    03:10

18     describe how interests are created?                                03:10

19          A.    How interests are created?         I think I've         03:10

20     already responded to that question multiple times                  03:10

21     today.                                                             03:10

22                I think interests are associations for                  03:10

23     certain people with certain entities -- entities                   03:10

24     that exist on the Facebook platform -- and those                   03:10

25     entities are public figures, businesses, anything                  03:10

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1      that is not a friend.                                               03:10

2           Q.      The question that I asked is, are there                03:10

3      documents that describe how they're created?                        03:10

4           A.      I can only say one.                                    03:11

5           Q.      Are there web links or websites within                 03:11

6      Facebook that discuss how interests are being                       03:11

7      generated?                                                          03:11

8           A.      I haven't seen a public document about                 03:11

9      that, no.                                                           03:11

10          Q.      Is there a team that focuses -- let me                 03:11

11     just back up.                                                       03:11

12                  You've testified that interests change                 03:11

13     over time, right?                                                   03:11

14          A.      Yes.                                                   03:11

15          Q.      And how -- who decides what the new                    03:11

16     interests are and what the old interests are?                       03:11

17          A.      Okay.   So let's assume that between 2012              03:11

18     and 2017 I started liking more pages.           That's              03:11

19     something that will further expand the list of                      03:11

20     interests that I have.                                              03:11

21                  So if in 2012 I didn't like the Starbucks              03:11

22     page, but in 2015 I like the Starbucks page, that                   03:11

23     means my interests can be updated.          It is an action         03:11

24     that is driven and dialed by me.         It's not --                03:11

25          Q.      What is -- got it.    I understand.                    03:11

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1           A.    It's not something that the PM, or product                  03:12

2      manager, at Facebook or someone else will dictate.                     03:12

3      It's given by the user.                                                03:12

4           Q.    And there are algorithms that are running                   03:12

5      on the page to identify these interests; is that                       03:12

6      correct?                                                               03:12

7                 MS. STEIN:     Objection to form.                           03:12

8                 THE WITNESS:     A page will have a certain,                03:12

9      you know, like category associated with it.                            03:12

10     BY MS. WEAVER:                                                         03:12

11          Q.    What do you mean by "second category"?                      03:12

12          A.    A certain category.       So a page would be --             03:12

13     a page of a singer or a page of an actor or a page                     03:12

14     of a hairdresser or a page of a retailer.             That's           03:12

15     what derives the interest.                                             03:12

16          Q.    And so there's a historical record over                     03:12

17     time of what I have been interested in the past and                    03:12

18     I'm interested in today; is that fair?                                 03:12

19                MS. STEIN:     Objection to form.         Misstates         03:12

20     his testimony.                                                         03:12

21                THE WITNESS:     The -- the interests are                   03:12

22     derived from your association with Facebook pages.                     03:12

23     If that list gets -- remain unchanged throughout the                   03:13

24     years, that would mean that the interests' graph is                    03:13

25     the same, exactly the same as it was back in the                       03:13

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1      day.                                                               03:13

2                    If in that time period you have expanded             03:13

3      your affiliation by liking or interacting with more                03:13

4      pages or other entities that have, you know,                       03:13

5      associated with certain interests, that will                       03:13

6      obviously update your interests as well.                           03:13

7      BY MS. WEAVER:                                                     03:13

8             Q.     Where is the interest graph maintained?              03:13

9             A.     For a given user?                                    03:13

10            Q.     Yes.                                                 03:13

11            A.     It lives in the DYI file.                            03:13

12            Q.     Facebook doesn't access the DIY file,                03:13

13     right?      That's for users to access data?                       03:13

14            A.     Well, we provide the hosting of that file.           03:13

15            Q.     Right.    So where is the actual data that           03:13

16     is extracted through the DIY tool?            Where is the         03:13

17     actual data in the interest graph maintained?                      03:13

18            A.     I'm not sure I understand the question.              03:13

19            Q.     Okay.    The DIY file is created through a           03:14

20     tool to face the users, right?                                     03:14

21            A.     Yes.                                                 03:14

22            Q.     Okay.    If I'm an advertiser and I'm --             03:14

23     come to you and I say "I want to target people with                03:14

24     these interests," does Facebook go to the DIY tool?                03:14

25            A.     To do a lookup, no, that's not how.                  03:14

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1          Q.    Exactly.

                                                                       03:14

3                MS. STEIN:     Objection to form.                     03:14

4                Would you know let the witness explain,               03:14

5     Lesley?   He's clearly trying to tell you how this               03:14

6     works.                                                           03:14

7                THE WITNESS:     Okay.




                                                                       03:15

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1




                                                                          03:15

5      BY MS. WEAVER:                                                     03:15

6           Q.    Okay.   I understand that.       But I'm asking         03:15

7      you where --



                                                                          03:16

10          A.    Yes.                                                    03:16

11          Q.                                                            03:16

12          A.    The way you ask it, I would say

                                                                          03:16

14          Q.




                                                                          03:16

25          A.    No.                                                     03:16

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1           Q.      Why does Facebook allow advertisers to                      03:16

2      custom target advertising through the selection of                       03:16

3      interests?                                                               03:17

4                   MS. STEIN:    Objection to form.         Beyond the         03:17

5      scope.                                                                   03:17

6                   Are you really asking questions about                       03:17

7      targeting advertising?       Like that directly, Lesley?                 03:17

8      I know you've done half the depo on it, but now you                      03:17

9      want to know why Facebook does targeted advertising?                     03:17

10     BY MS. WEAVER:                                                           03:17

11          Q.      Please answer the question.                                 03:17

12          A.      Okay.    So there are a couple of                           03:17

13     differentials here.                                                      03:17

14                  The first one is, how does advertisement                    03:17

15     work in the first place?       So a business wants to                    03:17

16     advertise on platforms where they can get better                         03:17

17     ROI, better return on the investment for this                            03:17

18     advertisement.       A lot of businesses still advertise                 03:17

19     on TV.                                                                   03:17

20                  And let's use Super Bowl as an example                      03:17

21     because the audience that will attend Super Bowl is                      03:17

22     falling into the demographics of users that business                     03:17

23     is trying to attract.       That's -- that's why, I                      03:18

24     guess, you see a lot of car manufacturers or junk                        03:18

25     foods being advertised during Super Bowl.              Now,              03:18

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1      that's one way of doing advertisement.           It's mostly         03:18

2      brand.                                                               03:18

3                 THE REPORTER:    It's mostly what?        I'm             03:18

4      sorry.                                                               03:18

5                 THE WITNESS:    Brand.     Brand.     Brand.              03:18

6                 A modern way of doing advertisement is by                 03:18

7      effective advertising in platforms that can provide                  03:18

8      a little bit more clarity and on the intent.                         03:18

9      Because in that scenario you have higher chances of                  03:18

10     having a better ROI for your marketing spend.                        03:18

11                Facebook provides granular way for                        03:18

12     advertisers to hit the right audiences because that                  03:18

13     is very effective way for businesses and, therefore,                 03:18

14     actually contributes to our business model very                      03:18

15     effectively.     But at the same time we truly believe               03:18

16     that relevant ads have the opportunity to build a                    03:18

17     better product experience for the users as well.                     03:18

18                I can give you from my personal point of                  03:19

19     view my perspective of using Facebook and Instagram                  03:19

20     and all our products have become definitely better                   03:19

21     when the ads that I could see on those products are                  03:19

22     more relevant to me.                                                 03:19

23     BY MS. WEAVER:                                                       03:19

24          Q.    Do you believe that most users join                       03:19

25     Facebook because they want to receive ads?                           03:19

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1                 MS. STEIN:     Objection to form.         Lacks         03:19

2      foundation.   Beyond the scope.                                    03:19

3                 THE WITNESS:     It's really hard for me to             03:19

4      understand or be able to identify the intention of                 03:19

5      2.8 billion people.                                                03:19

6      BY MS. WEAVER:                                                     03:19

7



                                                                          03:19

10                MS. STEIN:     Objection to form.                       03:19

11     Argumentative.                                                     03:19

12                THE WITNESS:



                                                                          03:19

15     BY MS. WEAVER:                                                     03:19

16




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1




                                                                            03:21

22                MS. WEAVER:   Okay.    Why don't we take a                03:21

23     little break and I'll mark a few things.            I don't          03:21

24     think we'll be going that much longer.          Hold on just         03:21

25     a little longer.                                                     03:21

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1                  We can go off the record.                               03:21

2                  THE VIDEOGRAPHER:       We are off the record           03:21

3      at 3:21 p.m.                                                        03:21

4                  (Recess.)                                               03:34

5                  (Off record:     3:21 p.m.)                             03:34

6                  (On record:     3:34 p.m.)                              03:34

7                  THE VIDEOGRAPHER:       We are on the record at         03:34

8      3:34 p.m.                                                           03:34

9      BY MS. WEAVER:                                                      03:34

10          Q.     You understand you're still under oath?                 03:34

11          A.     Yes, I do.                                              03:34

12          Q.     Okay.   So were you involved in collecting              03:34

13     or looking for documents that Facebook possesses                    03:34

14     relating to the plaintiffs in this action?                          03:34

15          A.     No.                                                     03:34

16          Q.     Okay.   Do you know what Facebook did to                03:34

17     collect documents relating to the plaintiffs in this                03:34

18     action?                                                             03:34

19          A.     My understanding is that we made available              03:34

20     the DYI file for each of the plaintiffs.                            03:34

21                 MS. WEAVER:     Okay.    We'll mark Plaintiffs'         03:34

22     5 and 6, two Excel spreadsheets that were provided                  03:34

23     us by Facebook's counsel.       This may take a second.             03:34

24                              (Exhibit 5 was marked for                  03:34

25                              identification and attached.)              03:34

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1                               (Exhibit 6 was marked for               03:34

2                               identification and attached             03:34

3                               hereto.)                                03:34

4                  THE WITNESS:     Do you want me to do                03:34

5      anything?                                                        03:35

6      BY MS. WEAVER:                                                   03:35

7           Q.     Yes, will you pull them up?                          03:35

8           A.     Shall we start with 5?                               03:35

9           Q.     Sure.   Take a look at both Exhibits 5 and           03:35

10     6 and tell me if you've seen them before.                        03:35

11          A.     I'm just trying to understand what is the            03:35

12     file I'm looking at.                                             03:35

13                 (Pause while witness peruses document.)              03:35

14          A.     Okay.   Can I look at 6?                             03:35

15          Q.     Please do.                                           03:36

16                 (Pause while witness peruses document.)              03:36

17          A.     Okay.                                                03:36

18          Q.     Have you seen these documents before?                03:36

19          A.     No, I haven't.                                       03:36

20          Q.     Okay.   Do you -- are you aware of Facebook          03:36

21     searching Hive databases to obtain documents                     03:36

22     relating to the plaintiffs in this case?                         03:36

23                 MS. STEIN:     Objection to form.                    03:36

24                 THE WITNESS:     I don't know how to respond         03:36

25     to that question.     Are you talking about Hive                 03:36

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1      specifically?                                                        03:36

2      BY MS. WEAVER:                                                       03:36

3




                                                                            03:37

14          Q.     Okay.     Do you know why -- I guess if you              03:37

15     don't know anything about that, I guess we'll just                   03:37

16     have to come back.                                                   03:37

17                 MS. WEAVER:     I think we need to go off the            03:37

18     record again.       We'll be back.     We're off the record.         03:37

19                 THE VIDEOGRAPHER:        We are off the record           03:37

20     at 3:37 p.m.                                                         03:37

21                 (Recess.)                                                03:38

22                 (Off record:     3:37 p.m.)                              03:38

23                 (On record:     3:47 p.m.)                               03:38

24                 THE VIDEOGRAPHER:        We're on the record at          03:47

25     3:47 p.m.                                                            03:47

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1      BY MS. WEAVER:                                                        03:47

2              Q.   Returning just for a moment to Exhibits 5                03:47

3      and 6, K.P., if you wouldn't mind, let's just look                    03:47

4      at the columns on the left in those files.             And it         03:47

5      says "ds."     Do you know what that refers to?                       03:47

6              A.   Sorry, just for the record, I'm under                    03:47

7      oath.                                                                 03:47

8              Q.   Yes.   Good job.    Thank you.                           03:47

9              A.   And if you're talking about column A, by                 03:47

10     the format of the information there, I assume it's a                  03:48

11     date.                                                                 03:48

12             Q.   And then it says "userid."          Would you            03:48

13     understand that to be Facebook user ID?                               03:48

14             A.   I assume that's to be the case, yes.                     03:48

15             Q.   And what is "event tim"?                                 03:48

16             A.   I'm sorry, I'm opening all the fields so I               03:48

17     can understand from the comments.                                     03:48

18             Q.   That's fine.     It's column C.                          03:48

19             A.   Column C is probably when the specific                   03:48

20     activity took place.                                                  03:48

21             Q.   You think it's -- I mean, for example,                   03:48

22     there's an entry for 46:37.1.          That's not a time.             03:48

23     Do you think -- what does that refer to?                              03:48

24                  MS. STEIN:     I'm just going to object for              03:48

25     lack of foundation.                                                   03:48

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1                 THE WITNESS:     I don't know what it may be.         03:48

2      I can only look at the description, but I agree with             03:48

3      you, the format doesn't suggest -- it's like --                  03:48

4      BY MS. WEAVER:                                                   03:48

5           Q.



                                                                        03:49

8           A.    I don't know.                                         03:49

9                 MS. STEIN:     Objection to form.                     03:49

10     BY MS. WEAVER:                                                   03:49

11          Q.    Okay.   Are you aware of whether or not               03:49

12




                                                                        03:49

25          A.    My understanding of your question -- well,            03:49

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1



                                                                            03:50

4           Q.     And do you believe that's contained in the               03:50

5      DIY file?                                                            03:50

6           A.     So the DYI file would include information                03:50

7      about the -- sorry.      Let me take a step back just to             03:50

8      make sure that I answer the question appropriately.                  03:50

9                  So the DYI file would have information                   03:50

10     about a photo and when you uploaded that photo.          But         03:50

11     if you really want to check the privacy setting of                   03:50

12     that photo there is probably a link that will link                   03:50

13     you to the original post to check the privacy                        03:50

14     setting of that photo.                                               03:50

15          Q.     You say "probably."       Do you know?                   03:50

16          A.     I -- I think that's my understanding of                  03:50

17     what I would be looking at, the DYI file, if I had                   03:50

18     it in front of me.                                                   03:50

19



                                                                            03:50

22                 MS. STEIN:     Objection.     Lacks foundation.          03:51

23                 THE WITNESS:     I don't know what am I                  03:51

24     looking at here.                                                     03:51

25

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1      BY MS. WEAVER:                                                          03:51

2              Q.    Okay.   Let me -- let me --                               03:51

3              A.    I see the user ID --                                      03:51

4              Q.    Let me tell you that your counsel has                     03:51

5      represented that this -- the first table logs events                    03:51

6      related to the changes in user privacy settings,                        03:51

7      including the old value and the new value.                Is it         03:51

8      your understanding that that is contained in the DIY                    03:51

9      file?                                                                   03:51

10             A.    The change of the privacy settings doesn't                03:51

11     necessarily mean that the users has posted                              03:51

12     something.                                                              03:51

13             Q.    I don't understand your response.            I'm          03:51

14     just asking a simple question.                                          03:51

15             A.    Okay.   Your question is not that simple.                 03:51

16             Q.    Let me ask my question, okay?                             03:51

17                   Is the information contained in this --                   03:51

18     these logs in the DIY files for these people?                           03:51

19                   MS. STEIN:     Objection to form.         And the         03:51

20     witness should feel free to explain his answer as he                    03:51

21     was just trying to do.                                                  03:51

22                   THE WITNESS:     Okay.    So let's say you go             03:51

23     to Facebook and you go to the composer and you look                     03:51

24     at the privacy setting of your composer to be                           03:52

25     public.      And you decide that whatever you are                       03:52

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1      planning to post next is not relevant for the                      03:52

2      general public, but you only want to post it to your               03:52

3      friends or you want to be accessible by your                       03:52

4      friends.                                                           03:52

5                   Then you click on the option and you                  03:52

6      change the privacy setting.         That is locked.    But         03:52

7      you haven't made the post yet.           If you made the           03:52

8      post, that's when the information can actually be                  03:52

9      available in the DYI file.                                         03:52

10                  So every time you change your app settings            03:52

11     or your settings in the composer doesn't mean that                 03:52

12     you create an entry that will be available in the                  03:52

13     DYI file.                                                          03:52

14     BY MS. WEAVER:                                                     03:52

15          Q.      I'm just asking a very specific question.             03:52

16          A.      And I'm answering with the best of my                 03:52

17     ability because what you are saying here is                        03:52

18     different.                                                         03:52

19          Q.      Yeah.   Is the answer that you don't know             03:52

20     whether or not this information is in the DIY file?                03:52

21                  MS. STEIN:     Objection.     Form.                   03:52

22                  THE WITNESS:     My -- my answer is that this         03:52

23     information there is not always associated with the                03:52

24     user posting a piece of content on Facebook, and as                03:53

25     a consequence of that, that is not going to be                     03:53

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1      broadly available in the DYI file.                                  03:53

2      BY MS. WEAVER:                                                      03:53

3              Q.   Thank you.                                             03:53

4




                                                                           03:53

8              A.   Didn't you ask me that question before?                03:53

9      And my answer was I don't know.                                     03:53

10             Q.   Okay.    Has the data made available through           03:53

11     the DYI tool changed over time?                                     03:53

12             A.   It's a very broad question.         Are you            03:53

13     talking about specific individual?                                  03:53

14             Q.   I'm talking from 2012 to 2017, what -- how             03:53

15     has data made available in the DIY tool changed over                03:53

16     time?                                                               03:53

17             A.   I think the DYI file presents activity                 03:53

18     that you have on the platform, and that's problem.                  03:53

19     Because people are doing different things on the                    03:54

20     platform than they did in 2012.                                     03:54

21             Q.   Right.    I'm not talking about the content;           03:54

22     I'm talking about the capabilities.           So how has it         03:54

23     over time changed what users could obtain about                     03:54

24     their activity through the DYI tool?                                03:54

25             A.   Again, the content is available if the                 03:54

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1      features are available.         In that sense, yes, the                03:54

2      data would have changed.                                               03:54

3              Q.      Did the fields change?                                 03:54

4              A.      The fields described pieces of data, so                03:54

5      yes, they would have changed.                                          03:54

6              Q.      Okay.   Well, did the -- what I'm asking               03:54

7      is, in 2012 could I search for privacy settings, but                   03:54

8      in 2017 I could not?                                                   03:54

9              A.      No, that's -- that wouldn't have changed.              03:54

10             Q.      Are the same categories of information                 03:54

11     available in the DYI tool in 2012 as it was in 2017?                   03:54

12             A.      Again, for the sake of the argument, if                03:54

13     you were able to see photos posted in 2017, that                       03:55

14     meant that the composer allowed you to post photos                     03:55

15     on Facebook.        If in 2012 you could only post text,               03:55

16     that means that you wouldn't be able to see any                        03:55

17     photos because you wouldn't be able to post any                        03:55

18     photos.                                                                03:55

19             Q.      We are not understanding each other.                   03:55

20                     I understand that my content changes over              03:55

21     time.        The question is whether the categories of                 03:55

22     objects collected and made available in the DYI tool                   03:55

23     changed over time.                                                     03:55

24                     MS. STEIN:   And, Lesley, I actually -- and            03:55

25     I'm not trying to be combative.            I actually think he         03:55

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1      was answering your question.         So I don't want -- I            03:55

2      don't want to repeat what the witness said.                          03:55

3                   But, K.P., why don't you try again.                     03:55

4                   THE WITNESS:    I'll try one more time.                 03:55

5                   The way the question is framed suggests                 03:55

6      that nothing would change.         And I'm answering the             03:55

7      question by saying, yes, it would change because the                 03:55

8      features are available and the comment that can be                   03:55

9      posted in the app will change.          As a consequence of          03:55

10     that, the data that shows up in the DYI will be                      03:55

11     different.     2017 --                                               03:55

12     BY MS. WEAVER:                                                       03:55

13          Q.      Do you --                                               03:56

14          A.      Between 2012 and 2017, Facebook -- the                  03:56

15     Facebook app provided different capabilities to the                  03:56

16     users.    Some of them may have been deprecated since.               03:56

17     Some of them may be still available.             But the way         03:56

18     your DYI file looked in 2012 cannot be the same as                   03:56

19     the way it looks in 2017.                                            03:56

20                  And I'm not just talking about the same                 03:56

21     things that you did in 2012 and repeated in 2017.                    03:56

22     I'm talking about the enhancement with additional                    03:56

23     pieces of information that may not have been                         03:56

24     possible in 2012.                                                    03:56

25          Q.      So who decided what data is collected in                03:56

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1      the DYI tool?                                                         03:56

2           A.    I -- I don't know.                                         03:56

3                 MS. WEAVER:     Okay.   I think we have no                 03:56

4      more questions at this time.       This deposition                    03:56

5      remains open.    There are a number of questions that                 03:56

6      were not answered.                                                    03:56

7           Q.    Oh, I have one more question.             How long         03:56

8      has the DYI tool existed?                                             03:57

9           A.    I believe since 2012-2013 or something                     03:57

10     around that time frame.                                               03:57

11     BY MS. WEAVER:                                                        03:57

12          Q.    So for data prior to that time, is there                   03:57

13     any record for users of what data Facebook                            03:57

14     maintained on them?                                                   03:57

15          A.    The DYI files shouldn't show data for                      03:57

16     those users even prior to the date the tool was                       03:57

17     available to users.      I'm talking about the data that              03:57

18     the tool was exposed to users.                                        03:57

19          Q.    When did the DYI tool begin collecting                     03:57

20     data about users?                                                     03:57

21                MS. STEIN:     Objection to form.                          03:57

22                THE WITNESS:     I think everybody that has a              03:57

23     Facebook account since forever, they would be able                    03:57

24     to download the DYI file and find that information                    03:57

25     to be available in the DYI file.                                      03:57

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1                 The question is when can they -- when have              03:57

2      they started downloading that file?          And it's my           03:57

3      understanding is that they -- the ability for people               03:57

4      to download information that Facebook had on their                 03:57

5      behalf started in 2012-2013 time frame.                            03:58

6                 MS. WEAVER:     Okay.   I think we have no              03:58

7      further questions.      And, again, the deposition                 03:58

8      remains open.                                                      03:58

9                 We can go off the record.                               03:58

10                MS. STEIN:     Well, I don't want to go off             03:58

11     the record yet because I would like to say that we                 03:58

12     disagree and object to the idea that this deposition               03:58

13     is being held open.                                                03:58

14                And, you know, we'll just express our                   03:58

15     disappointment that, you know, the witness spent a                 03:58

16     lot of time preparing for this deposition on the                   03:58

17     topics that Judge Corley ordered this deposition to                03:58

18     be on, and, you know, we're disappointed that, you                 03:58

19     know, there wasn't time spent on those topics.                     03:58

20                MS. WEAVER:     We disagree.      This deponent         03:58

21     does not know where user data is maintained and did                03:58

22     not -- could not even address the spreadsheets that                03:58

23     obtained user data that we sent to you ahead of                    03:58

24     time, and I think it was an unfortunate waste of all               03:58

25     of our time.    We can go off the record.                          03:58

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1                 THE VIDEOGRAPHER:      We are off the record          03:58

2      at 3:58 p.m., and this concludes data testimony                  03:58

3      given by Konstantinos Papamiltiadis.           The total         03:58

4      number of media units used was six and will be                   03:59

5      retained by Veritext Legal Solutions.                            03:59

6                 MS. WEAVER:    Thank you very much, Mr.               03:59

7      Papamiltiadis.                                                   03:59

8                 THE WITNESS:    Thank you for having me.              03:59

9              (At the time of 3:58 p.m., the deposition                04:00

10             was concluded.)

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1                     PENALTY OF PERJURY CERTIFICATE
2
3               I hereby declare I am the witness in the within
4      matter, that I have read the foregoing transcript and
5      know the contents thereof; that I declare that the same
6      is true to my knowledge, except as to the matters which
7      are therein stated upon my information or belief, and
8      as to those matters, I believe them to be true.
9               I declare being aware of the penalties of
10     perjury, that the foregoing answers are true and
11     correct.
12
13
14
15     Executed on the ______ day of _______________, 20__, at
16     _______________________, __________________.
17           (CITY)                            (STATE)
18
19                         __________________________________
20                            KONSTANTINOS PAPAMILTIADIS
21                           FACEBOOK INC. REPRESENTATIVE
22
23
24
25

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1                             CERTIFICATE OF REPORTER
2           I, ASHALA TYLOR, CSR No. 2436, in and for the State
3      of California, do hereby certify:
4           That the foregoing proceedings were taken before me
5      at the time and place herein set forth; that any
6      witnesses in the foregoing proceedings, prior to
7      testifying, were placed under oath; that a verbatim
8      record of the proceedings were made by me using machine
9      shorthand which was thereafter transcribed under my
10     direction; further that the foregoing is an accurate
11     transcription thereof.
12          That before the completion of the deposition,
13     review of the transcript was not requested.
14          I further certify that I am neither financially
15     interested in this action nor a relative or employee of
16     any attorney or any of the parties hereto.
17          In compliance with Section 8016 of the Business and
18     Professions Code, I certify under penalty of perjury
19     that I am a Certified Shorthand Reporter with
20     California License No. 2436 in full force and effect.
21     WITNESS my hand this 26th day of February, 2021.
22
23
24                   <%11625,Signature%>
25                   Ashala Tylor, CSR #2436, RPR, CRR, CLR

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
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SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
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